     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 1 of 54




                              No. 23-35014

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT


               MONTANA MEDICAL ASSOCIATION, et al.,
                       Plaintiffs-Appellee,

                   MONTANA NURSES ASSOCIATION,
                    Intervenor-Plaintiff-Appellee,

                                     v.

       AUSTIN KNUDSEN, Montana Attorney General, et al.,
                   Defendants-Appellants,

       Appeal from the United States District Court for the
                      District of Montana
     No. D.C. No. 9:21-cv-00108-DWM (Hon. Don W. Molloy)

     APPELLANTS’ FURTHER EXCERPTS OF RECORD
                            VOLUME 1 OF 1

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Montana Attorney General                    Solicitor General

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         Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 2 of 54




                                               INDEX

                                                                                                PAGE

Providence Health and Services – Joint Commission Final
Accreditation Report, Defendants’ Trial Exhibit 222,
Docket No. 159-67 (Filed October 26, 2022) ........................................................... 3

Montana Nurses Association Position Statement Regarding
Vaccinations May 18, 2021, Defendants’ Trial Exhibit 215,
Docket No. 159-62 (Filed October 26, 2022) ......................................................... 50
            Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 3 of 54
          Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 1 of 47




     JF       The Joint Commission
            Final Accreditation
            Final Accreditation Report
                                Report

  Providence
  Providence Health
              Health and
                      and Services
                           Services -- Montana
                                       Montana
             500 West
             500  West Broadway
                        Broadway
             Missoula,
             Missoula, MTMT 59802
                             59802


  Organization Identification
  Organization  Identification Number:
                               Number: 9306
                                          9306
Unannounced Full
Unannounced   Full Event:
                   Event: 6/21/2022
                           6/21/2022 -- 7/20/2022
                                        7/20/2022


                 Program
                 Program Surveyed
                          Surveyed
                      Hospital
                      Hospital




                                                                 Final Report:
                                                                 Final Report: Posted
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                                                                                    PL 236



                                        FER_3                                          TRIAL EXHIBIT 222
                                                                                             Page 1 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 4 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 2 of 47

                                                  The
                                                  The Joint
                                                       Joint Commission
                                                              Commission
                                                     Table
                                                     Table of
                                                            of Contents
                                                               Contents

Executive  Summary
Executive Summary                                                                                                        33
What's Next
What’s   Next -- Follow-up
                 Follow-up Activity
                           Activity                                                                                      44
Hospital
Hospital                                                                                                                 z7
  •+ SAFER™
     SAFER™ Matrix
            Matrix                                                                                                       7
                                                                                                                         7
  •» The
     The Centers
         Centers for
                 for Medicaid
                     Medicaid and
                              and Medicare
                                  Medicare Services
                                           Services (CMS)
                                                    (CMS) Summary
                                                          Summary                                                        9
                                                                                                                         9
  •* Requirements
     Requirements for
                  for Improvement
                      Improvement (RFI)
                                  (RFI)                                                                                 11
                                                                                                                        11
Appendix
Appendix                                                                                                               33
                                                                                                                       33
  •» The
     The Centers
         Centers for
                 for Medicaid
                     Medicaid and
                              and Medicare
                                  Medicare Services
                                           Services (CMS)
                                                    (CMS) Conditions
                                                          Conditions of
                                                                     of Participation
                                                                        Participation (CoP)
                                                                                      (CoP)                             33
                                                                                                                        33
  •» Standards/Elements
     Standards/Elements of
                        of Performance
                           Performance (EP)
                                       (EP) Language
                                            Language                                                                    36
                                                                                                                        36
  •* Report
     Report Section
              Section Descriptions
                        Descriptions                                                                                    45
                                                                                                                        45
  •* Clarification
     Clarification Instructions
                    Instructions                                                                                        47
                                                                                                                        47




Organization
Organization Identification
             Identification Number:
                            Number: 9306
                                    9306                          2 of
                                                                  2 of 47
                                                                       47                         Final
                                                                                                  Final Report:
                                                                                                        Report: Posted
                                                                                                                Posted 7/21/2022
                                                                                                                       (/21/2022
                                                                                                                     PL 237

                                                                    FER_4                                  TRIAL EXHIBIT 222
                                                                                                                 Page 2 of 47
                                Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 5 of 54
                              Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 3 of 47

                                                         The
                                                         The Joint
                                                              Joint Commission
                                                                    Commission
                                                           Executive Summary
                                                          Executive   Summary

                   Survey
Program            Survey             Event
                                      Event Outcome
                                            Outcome | Follow-up
                                                      Follow-up Activity
                                                                Activity             Follow-up
                                                                                     Follow-up Time
                                                                                               Time Frame
                                                                                                    Frame or
                                                                                                          or Submission
                                                                                                             Submission Due
                                                                                                                        Due Date
                                                                                                                            Date
                   Dates
Hospital           06/21/2022
                   06/21/2022 --      Requirements
                                      Requirements for
                                                   for    Clarification (Optional)   Submit
                                                                                     Submit within
                                                                                            within 10
                                                                                                   10 Business
                                                                                                      Business Days
                                                                                                               Days from
                                                                                                                    from the
                                                                                                                         the final
                                                                                                                             final posted
                                                                                                                                   posted report
                                                                                                                                          report date
                                                                                                                                                 date
                   06/24/2022,
                   06/24/2022,        Improvement
                                      Improvement
                   07/19/2022 --
                   07/19/2022                             Evidence
                                                          Evidence of
                                                                   of Standards
                                                                      Standards      Submit
                                                                                     Submit within
                                                                                            within 60
                                                                                                   60 Calendar
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                   07/20/2022
                   07/20/2022                             Compliance (ESC)
                                                          Compliance  (ESC)




      Organization
      Organization Identification
                   Identification Number:
                                  Number: 9306
                                          9306                          3 of
                                                                        3 of 47
                                                                             47                                       Final
                                                                                                                      Final Report:
                                                                                                                            Report: Posted
                                                                                                                                    Posted 7/21/2022
                                                                                                                                           (/21/2022
                                                                                                                                           PL 238



                                                                      FER_5                                                  TRIAL EXHIBIT 222
                                                                                                                                   Page 3 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 6 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 4 of 47

                                                           The
                                                            The Joint
                                                                 Joint Commission
                                                                        Commission
                                                     What’s Next
                                                     What’s  Next -- Follow-up
                                                                     Follow-up Activity
                                                                               Activity
Program: Hospital
Program: Hospital
                                                                Included
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                                                                               the
                                                                Evidence
                                                                Evidence of of
                          SAFER™
                          SAFER ™        CoP           Tag      Standard
                                                                Standard
Standard
Standard            EP
                          Placement
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                                                                Compliance
                                                                Compliance
                                                                (within 60
                                                                (within 60
                                                                calendar days)
                                                                calendar   days)
EC.02.02.01
EC.02.02.01         12
                    12    Low // Limited
                          Low    Limited | §482.41
                                           §482.41     A-0701
                                                       A-0701            v
                                           (a)
                                           (a)
                    5
                    5     Moderate //
                          Moderate       §482.41
                                         §482.41       A-0701
                                                       A-0701            v
                          Limited
                          Limited        (a)
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EC.02.03.01
EC.02.03.01         12
                    12    Moderate //
                          Moderate       §482.51
                                         §482.51       A-0951
                                                       A-0951            v
                          Limited
                          Limited        (b)
                                         (b)
EC.02.03.05
EC.02.03.05         28
                    28    Low //
                          Low          §482.41
                                       §482.41         A-0710
                                                       A-0710            v
                          Widespread | (b)(1)(i)
                          Widespread   (b)(1)(i)
EC.02.05.01
EC.02.05.01         15
                    15    Moderate //
                          Moderate       §482.41
                                         §482.41       A-0724
                                                       A-0724            v
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                    16
                    16    Low // Limited
                          Low    Limited | §482.41
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                                           (d)(4)
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                    23    Moderate //
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                                         §482.41       A-0724
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                    24    Low // Limited
                          Low    Limited | §482.41
                                           §482.41     A-0724
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                    9     Low // Limited
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                                           §482.41     A-0701
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EC.02.05.02
EC.02.05.02         3
                    3     Moderate //
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EC.02.05.03         1
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EC.02.05.05
EC.02.05.05         5
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EC.02.05.09
EC.02.05.09         1"
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                                           (d)(2)



        Organization
        Organization Identification
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                                    Number: 9306
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                                                                                4 of 47
                                                                                     47               Final
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                                                                                                            Report: Posted
                                                                                                                    Posted 7/21/2022
                                                                                                                           (/21/2022
                                                                                                                         PL 239

                                                                              FER_6                        TRIAL EXHIBIT 222
                                                                                                                 Page 4 of 47
                                      Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 7 of 54
                                    Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 5 of 47

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LS.02.01.10
LS.02.01.10         1     Low
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                    4     Low // Limited
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                                           (b)(1)(i)
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NPSG.06.01.01       3
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                          Limited
NPSG.15.01.01
NPSG.15.01.01       1
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PC.01.02.03
PC.01.02.03         3
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                          Limited
                    5
                    5     Moderate
                          Moderate //      §482.24      A-0461
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                          Pattern          (c)(4)(i)(B)
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        Organization
        Organization Identification
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                                            9306                                                  5 of
                                                                                                  5 of 47
                                                                                                       47   Final
                                                                                                            Final Report:
                                                                                                                  Report: Posted
                                                                                                                          Posted 7/21/2022
                                                                                                                                 (/2 1/2022
                                                                                                                                PL 240

                                                                                                FER_7            TRIAL EXHIBIT 222
                                                                                                                       Page 5 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 8 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 6 of 47

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                                                                      Joint Commission
                                                                            Commission
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                                                                                  the
                                                                   Evidence
                                                                   Evidence of of
                          SAFER™
                          SAFER ™          CoP          Tag        Standard
                                                                   Standard
Standard
Standard            EP
                          Placement
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PC.01.02.07
PC.01.02.07         8     Moderate //
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                          Limited
PC.01.03.01
PC.01.03.01         22    Low // Limited
                          Low    Limited |
PC.02.01.11
PC.02.01.11         22    High
                          High //                                           v
                          Pattern
                          Pattern
PC.02.02.03         11    Low / Limited

PC.03.01.03
PC.03.01.03         11    High //
                          High             §482.52
                                           §482.52     | A-1002
                                                         A-1002             v
                          Pattern
                          Pattern          (b)
                                           (b)
RC.02.01.01         2     Low / Pattern

RI.01.03.01
RI.01.03.01         11    Low // Limited
                                 Limited | §482.24
                                             §482.2     A-0466
                                                        A-0466              v
                                           (c)(4)(v)
                                           (c)(4)(v)




        Organization
        Organization Identification
                     Identification Number:
                                    Number: 9306
                                            9306                                   6 of
                                                                                   6 of 47
                                                                                        47            Final
                                                                                                      Final Report:
                                                                                                            Report: Posted
                                                                                                                    Posted 7/21/2022
                                                                                                                           (/2 1/2022
                                                                                                                          PL 241



                                                                                FER_8                       TRIAL EXHIBIT 222
                                                                                                                  Page 6 of 47
                                                        Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 9 of 54
                                                      Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 7 of 47

                                                                         The
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                                                                             SAFER™
                                                                             SAFER™ Matrix
                                                                                      Matrix
              to harm
   Likelihood to
   Likelihood                      Visitor // Staff
                        Patient // Visitor
                      a Patient
                 harm a                       Staff                             Program: Hospital
                                                                                Program: Hospital




Organization
Organization Identification
             Identification Number:
                            Number: 9306
                                    9306                                              7 of
                                                                                      7 of 47
                                                                                           47                              Final
                                                                                                                           Final Report:
                                                                                                                                 Report: Posted
                                                                                                                                         Posted 7/21/2022
                                                                                                                                                (/2 1/2022
                                                                                                                                               PL 242

                                                                                    FER_9                                       TRIAL EXHIBIT 222
                                                                                                                                      Page 7 of 47
                          Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 10 of 54
                        Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 8 of 47

                                                   The
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                                                       Joint Commission
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               ITHS
                                                        PC.02.01.11 EP
                                                        PC.02.01.11 EP 2
                                                                       2
                                                        PC.03.01.03 EP
                                                        PC.03.01.03 EP 11


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               High




                          EC.02.02.01 EP
                          EC.02.02.01  EP 55            EC.02.05.01 EP
                                                        EC.02.05.01 EP 15
                                                                        15
                          EC.02.03.01 EP
                          EC.02.03.01  EP 12
                                           12           EC.02.05.02 EP
                                                        EC.02.05.02 EP 33
                          EC.02.05.01 EP
                          EC.02.05.01  EP 23
                                           23           EC.02.06.01 EP
                                                        EC.02.06.01 EP 11
                          EC.02.05.03 EP
                          EC.02.05.03  EP 11            PC.01.02.03 EP
                                                        PC.01.02.03 EP 55
                          EC.02.05.09 EP
                          EC.02.05.09  EP 22
             Moderate     EC.02.05.09 EP
                          EC.02.05.09  EP 12
                                           12
            Moderate
                          1C.02.01.01 EP
                          IC.02.01.01 EP 2
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                          1C.02.02.01 EP
                          IC.02.02.01 EP 2
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                          NPSG.06.01.01 EP
                          NPSG.06.01.01    EP 3
                                              3
                          NPSG.15.01.01 EP
                          NPSG.15.01.01    EP 11
                          PC.01.02.03 EP
                          PC.01.02.03  EP 33
                          PC.01.02.07 EP
                          PC.01.02.07  EP 88
                          EC.02.02.01 EP
                          EC.02.02.01  EP 1212          RC.02.01.01 EP
                                                        RC.02.01.01 EP 2
                                                                       2         EC.02.03.05 EP
                                                                                 EC.02.03.05 EP 28
                                                                                                28
                          EC.02.05.01 EP
                          EC.02.05.01  EP 99
                          EC.02.05.01 EP
                          EC.02.05.01  EP 1616
                          EC.02.05.01 EP
                          EC.02.05.01  EP 2424
                          EC.02.05.05 EP
                          EC.02.05.05  EP 55
                          EC.02.05.05 EP
                          EC.02.05.05  EP 66
                          EC.02.05.09 EP
                          EC.02.05.09  EP 1111
               Low
               Low        1C.01.02.01 EP
                          IC.01.02.01 EP 11
                          LS.02.01.10 EP
                          LS.02.01.10  EP 11
                          LS.02.01.10 EP
                          LS.02.01.10  EP 14
                                           14
                          LS.02.01.35 EP
                          LS.02.01.35  EP 44
                          LS.02.01.35 EP
                          LS.02.01.35  EP 14
                                           14
                          PC.01.03.01 EP
                          PC.01.03.01  EP 2222
                          PC.02.02.03 EP
                          PC.02.02.03  EP 1111
                          R1.01.03.01 EP
                          RI.01.03.01 EP 11
                                        Limited
                                        Limited                        Pattern
                                                                       Pattern             Widespread
                                                                                           Widespread

                                                              Scope
                                                              Scope


Organization
Organization Identification
             Identification Number:
                            Number: 9306
                                    9306                     8 of
                                                             8 of 47
                                                                  47                                 Final
                                                                                                     Final Report:
                                                                                                           Report: Posted
                                                                                                                   Posted 7/21/2022
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                                                                                                                         PL 243



                                                          FER_10                                           TRIAL EXHIBIT 222
                                                                                                                 Page 8 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 11 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 9 of 47

                                           The Joint
                                           The Joint Commission
                                                     Commission
                  The Centers
                  The Centers for
                              for Medicaid
                                  Medicaid and
                                           and Medicare
                                               Medicare Services
                                                         Services (CMS)
                                                                  (CMS) Summary
                                                                        Summary
Program: Hospital
Program: Hospital

CoP(s)                            Tag                 CoP Score    Corresponds to:
 §482.13                          A-0115              Standard     HAP
    §482.13(c)(2)                 A-0144              Standard     HAP/NPSG.15.01.01/EP1
 §482.24                          A-0431              Standard     HAP
         §482.24(c)(4)(i)(B)      A-0461              Standard     HAP/PC.01.02.03/EP5

I    §482.24(c)(4)(v)
 §482.25
                                  Le
                                  A-0466
                                  A-0489
                                                      CE
                                                      Standard
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                                                                   HAP/RI.01.03.01/EP1
                                                                   HAP
    §482.25(b)(1)                 A-0501              Standard     HAP/EC.02.06.01/EP1

EE
 §482.41
  §482.41(a)
  §482.41(a)
                                  A-0700
                                  A-0701
                                                      Standard
                                                      Standard
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                                                                   HAP/EC.02.06.01/EP1
                                                                   HAP/EC.02.02.01/EP5
                                                                   HAP/EC.02.02.01/EP5
                                                                   HAP/EC.02.02.01/EP12
                                                                   HAP/EC.02.02.01/EP12
                                                                   HAP/EC.02.05.01/EP9
                                                                   HAP/EC.02.05.01/EP9
                                                                   HAP/EC.02.06.01/EP1
                                                                   HAP/EC.02.06.01/EP1
     §482.41(b)(1)(i)
     §482.41(b)(1)(i)             A-0710              Standard
                                                      Standard     HAP/EC.02.03.05/EP28
                                                                   HAP/EC.02.03.05/EP28
                                                                   HAP/LS.02.01.10/EP1
                                                                   HAP/LS.02.01.10/EP1
                                                                   HAP/LS.02.01.10/EP14
                                                                   HAP/LS.02.01.35/EP4
                                                                   HAP/LS.02.01.35/EP4
                                                                   HAP/LS.02.01.35/EP14
    §482.41(d)(2)
    §482.41(d)(2)                 A-0724              Standard
                                                      Standard     HAP/EC.02.05.01/EP15
                                                                   HAP/EC.02.05.01/EP15
                                                                   HAP/EC.02.05.01/EP23
                                                                   HAP/EC.02.05.01/EP23
                                                                   HAP/EC.02.05.01/EP24
                                                                   HAP/EC.02.05.01/EP24
                                                                   HAP/EC.02.05.05/EP5
                                                                   HAP/EC.02.05.05/EP5
                                                                   HAP/EC.02.05.05/EP6
                                                                   HAP/EC.02.05.05/EP6
                                                                   HAP/EC.02.05.09/EP2
                                                                   HAP/EC.02.05.09/EP2
                                                                   HAP/EC.02.05.09/EP11
                                                                   HAP/EC.02.05.09/EP11


wmeam                          [ame Jowws |wescosowes
                                                                   HAP/EC.02.05.02/EP3
                                                                   HAP/EC.02.05.02/EP3
    §482.41(d)(4)                 A-0726              Standard     HAP/EC.02.05.01/EP16

EE
 §482.42
    §482.42(a)(2)
                                 LR
                                  A-0747
                                  A-0749
                                                      Standard
                                                      Standard
                                                                   HAP
                                                                   HAP/IC.02.02.01/EP2
    §482.42(a)(3)                 A-0750              Standard     HAP/IC.02.01.01/EP2


           Organization
           Organization Identification
                        Identification Number:
                                       Number: 9306
                                               9306                9 of
                                                                   9 of 47
                                                                        47                               Final
                                                                                                         Final Report:
                                                                                                               Report: Posted
                                                                                                                       Posted 7/21/2022
                                                                                                                              (/2 1/2022
                                                                                                                             PL 244

                                                                  FER_11                                      TRIAL EXHIBIT 222
                                                                                                                    Page 9 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 12 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 10 of 47

                                                         The
                                                         The Joint
                                                             Joint Commission
                                                                   Commission
CoP(s)                           Tag
                                   g                 CoP Score   Corresponds to:
§482.51                           -0940
                                 A-0940              Standard    HAP
  §482.51(b)                     A-0951
                                 A                   Standard    HAP/EC.02.03.01/EP12
§482.52                          A -1000
                                 A-1000              Standard    HAP
  §482.52(b)                     A-1002              Standard    HAP/PC.03.01.03/EP1




          Organization
          Organization Identification
                       Identification Number:
                                      Number: 9306
                                              9306                10 of
                                                                  10 of 47
                                                                        47                            Final
                                                                                                      Final Report:
                                                                                                            Report: Posted
                                                                                                                    Posted 7/21/2022
                                                                                                                           (/2 1/2022
                                                                                                                          PL 245



                                                                 FER_12                                     TRIAL EXHIBIT 222
                                                                                                                 Page 10 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 13 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 11 of 47

                                                             The Joint
                                                             The Joint Commission
                                                                        Commission
                                                       Requirements for
                                                       Requirements   for Improvement
                                                                          Improvement
Program: Hospital
Program: Hospital
                               ™
                     SAFER™
Standard
Standard      EP     SAFER             EP
                                       EP Text
                                          Text                                                                     Observation
                                                                                                                   Observation                                                              CoP                    CoP
                                                                                                                                                                                                                   CoP Score
                                                                                                                                                                                                                       Score
                     Placement
                     Placement

EC.02.02.01
EC.02.02.01   5      Moderate
                     Moderate          The hospital
                                       The  hospital minimizes
                                                      minimizes risks
                                                                  risks associated
                                                                        associated with
                                                                                    with                           1)) Observed
                                                                                                                       Observed in  in Building
                                                                                                                                        Building Tour
                                                                                                                                                    Tour atat Providence
                                                                                                                                                               Providence Health
                                                                                                                                                                             Health         §482.41(a)
                                                                                                                                                                                            §482.41(a)             Standard
                                                                                                                                                                                                                   Standard
                     Limited
                     Limited           selecting, handling,
                                       selecting,  handling, storing,
                                                             storing, transporting,
                                                                       transporting, using,
                                                                                     using, and
                                                                                            and                    and
                                                                                                                   A” Services
                                                                                                                         Services -- Montana
                                                                                                                                       Montana (500  (500 West
                                                                                                                                                           West Broadway,
                                                                                                                                                                    Broadway,
                                       disposing
                                       disposing ofof hazardous
                                                      hazardous chemicals.
                                                                  chemicals.                                       Missoula, MT)
                                                                                                                   Missoula,     MT) site
                                                                                                                                       site .. In
                                                                                                                                               In the
                                                                                                                                                  the SPD
                                                                                                                                                       SPD decontamination
                                                                                                                                                               decontamination
                                                                                                                   area the
                                                                                                                   area   the eyewash
                                                                                                                               eyewash station
                                                                                                                                            station was
                                                                                                                                                      was in in a
                                                                                                                                                                a bathroom
                                                                                                                                                                   bathroom behind
                                                                                                                                                                              behind
                                                                                                                   closed
                                                                                                                   closed door.
                                                                                                                             door. Observed
                                                                                                                                    Observed by    by the
                                                                                                                                                       the facility
                                                                                                                                                            facility staff..
                                                                                                                                                                     staff..
EC.02.02.01
EC.02.02.01   12     Low
                     Low               The hospital
                                       The   hospital labels
                                                        labels hazardous
                                                                 hazardous materials
                                                                             materials andand waste.
                                                                                               waste.              1)
                                                                                                                   1) Observed
                                                                                                                       Observed in in Building
                                                                                                                                       Building Tour
                                                                                                                                                   Tour at at Providence
                                                                                                                                                               Providence Health
                                                                                                                                                                            Health   §482.41(a)
                                                                                                                                                                                     §482.41(a)                    Standard
                                                                                                                                                                                                                   Standard
                     Limited
                     Limited           Labels
                                       Labels identify
                                                identify the
                                                           the contents
                                                                contents and
                                                                          and hazard
                                                                               hazard warnings.
                                                                                         warnings. **              and
                                                                                                                   and Services
                                                                                                                         Services -- Montana
                                                                                                                                       Montana (500 (500 West
                                                                                                                                                           West Broadway,
                                                                                                                                                                   Broadway,
                                       Footnote *:
                                       Footnote    *: The
                                                       The Occupational
                                                             Occupational Safety
                                                                            Safety and
                                                                                     and Health
                                                                                           Health                  Missoula,
                                                                                                                   Missoula, MT)MT) site
                                                                                                                                      site .. Container
                                                                                                                                              Container of   of whiteboard
                                                                                                                                                                whiteboard cleaner
                                                                                                                                                                             cleaner
                                       Administration's (OSHA)
                                       Administration’s      (OSHA) Bloodborne
                                                                       Bloodborne Pathogens
                                                                                     Pathogens and and             in
                                                                                                                   in the
                                                                                                                      the lab
                                                                                                                           lab was
                                                                                                                               was not
                                                                                                                                     not labeled
                                                                                                                                           labeled with
                                                                                                                                                      with health
                                                                                                                                                             health hazard
                                                                                                                                                                     hazard
                                       Hazard Communications
                                       Hazard    Communications Standards
                                                                       Standards and
                                                                                   and thethe                      warnings. Observed
                                                                                                                   warnings.    Observed by    by the
                                                                                                                                                  the lab
                                                                                                                                                        lab manager.
                                                                                                                                                              manager.
                                       National Fire
                                       National   Fire Protection
                                                         Protection Association
                                                                      Association (NFPA)
                                                                                    (NFPA) provide
                                                                                              provide
                                       details on
                                       details  on labeling
                                                     labeling requirements.
                                                                requirements. (See
                                                                                (See also
                                                                                       also
                                       IC.02.01.01, EP
                                       IC.02.01.01,     EP 6)6)
EC.02.03.01
EC.02.03.01   12     Moderate
                     Moderate           When flammable
                                       When       flammable germicides
                                                                 germicides or   or antiseptics
                                                                                      antiseptics are are used
                                                                                                            used   1) Observed
                                                                                                                   1)  Observed in    in Tracer
                                                                                                                                          Tracer Activities
                                                                                                                                                     Activities at at Providence
                                                                                                                                                                        Providence               §482.51(b)        Standard
                     Limited
                     Limited            during surgeries
                                       during      surgeries utilizing
                                                                utilizing electrosurgery,
                                                                            electrosurgery, cautery,
                                                                                                  cautery, or or   Health
                                                                                                                   Health andand Services
                                                                                                                                    Services -- Montana
                                                                                                                                                    Montana (500   (500 West
                                                                                                                                                                           West
                                        lasers, the
                                       lasers,     the following
                                                        following areare required:
                                                                           required:                               Broadway,
                                                                                                                   Broadway, Missoula,
                                                                                                                                    Missoula, MT)  MT) site
                                                                                                                                                          site .. During
                                                                                                                                                                  During observation
                                                                                                                                                                              observation
                                       -- Nonflammable
                                            Nonflammable packaging
                                                                packaging                                          of
                                                                                                                   of the
                                                                                                                      the prep
                                                                                                                            prep andand time-out
                                                                                                                                          time-out process
                                                                                                                                                        process for  for aa patient
                                                                                                                                                                             patient who who
                                       -- Unit-dose
                                            Unit-dose applicators
                                                         applicators                                               was
                                                                                                                   was toto undergo
                                                                                                                             undergo a     a vascular
                                                                                                                                             vascular surgery,
                                                                                                                                                           surgery, the  the circulating
                                                                                                                                                                               circulating
                                       -- Preoperative
                                            Preoperative "time-out"
                                                             "time-out" prior
                                                                            prior toto the
                                                                                        the initiation
                                                                                             initiation ofof any
                                                                                                             any   RN,
                                                                                                                   RN, who
                                                                                                                         who prepped
                                                                                                                                prepped the   the patient
                                                                                                                                                    patient with
                                                                                                                                                               with anan alcohol
                                                                                                                                                                           alcohol basedbased
                                        surgical procedure
                                       surgical      procedure to  to verify
                                                                       verify the
                                                                               the following:
                                                                                      following:                   skin prep,
                                                                                                                   skin  prep, called
                                                                                                                                  called outout the
                                                                                                                                                 the drying
                                                                                                                                                        drying time
                                                                                                                                                                  time needed
                                                                                                                                                                          needed to    to wait
                                                                                                                                                                                          wait
                                          -- Application
                                             Application site
                                                            site is
                                                                  is dry
                                                                     dry prior
                                                                           prior to
                                                                                  to draping
                                                                                       draping andand use
                                                                                                        use ofof   prior
                                                                                                                   prior to
                                                                                                                          to draping
                                                                                                                              draping the the patient.
                                                                                                                                                patient. TheThe surgeon
                                                                                                                                                                   surgeon had    had
                                        surgical equipment
                                       surgical      equipment                                                     completed the
                                                                                                                   completed       the draping
                                                                                                                                         draping priorprior to
                                                                                                                                                             to that
                                                                                                                                                                 that time
                                                                                                                                                                        time interval.
                                                                                                                                                                                interval. The
                                                                                                                                                                                            The
                                          -- Pooling
                                             Pooling of of solution
                                                           solution hashas not
                                                                             not occurred
                                                                                  occurred or   or has
                                                                                                    has been
                                                                                                           been    prep was
                                                                                                                   prep   was completed
                                                                                                                                 completed at     at 11:47
                                                                                                                                                       11:47 and
                                                                                                                                                               and 23 23 seconds,
                                                                                                                                                                           seconds, and   and
                                        corrected
                                       corrected                                                                   the RN
                                                                                                                   the  RN called
                                                                                                                              called outout that
                                                                                                                                             that draping
                                                                                                                                                    draping should
                                                                                                                                                                 should waitwait until
                                                                                                                                                                                    until 11:50
                                                                                                                                                                                           11:50
                                          -- Solution-soaked
                                             Solution-soaked materials
                                                                    materials have
                                                                                 have been been removed
                                                                                                  removed          and 53
                                                                                                                   and   53 seconds.
                                                                                                                              seconds. The  The draping,
                                                                                                                                                   draping, including
                                                                                                                                                                 including an   an occlusive
                                                                                                                                                                                     occlusive
                                       from
                                        from thethe operating
                                                      operating room
                                                                   room prior
                                                                           prior toto draping
                                                                                       draping andand useuse of
                                                                                                              of   plastic
                                                                                                                   plastic sheet,
                                                                                                                             sheet, waswas completed
                                                                                                                                              completed by     by 11:50
                                                                                                                                                                    11:50 and and 56 56
                                       surgical
                                        surgical devices
                                                     devices                                                       seconds. This
                                                                                                                   seconds.     This waswas confirmed
                                                                                                                                               confirmed by     by the
                                                                                                                                                                    the OROR director
                                                                                                                                                                                 director
                                        (For full
                                       (For    full text,
                                                    text, refer
                                                           refer to
                                                                  to NFPA
                                                                      NFPA 99-2012:
                                                                               99-2012: 15.13)15.13)               assisting
                                                                                                                   assisting in in the
                                                                                                                                    the tracer.
                                                                                                                                          tracer.




       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                                  11 of
                                                                                                 11 of 47
                                                                                                       47                                                                   Final Report:
                                                                                                                                                                            Final Report: Posted
                                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                                 (/2 1/2022
                                                                                                                                                                                                              PL 246

                                                                                             FER_13                                                                                  TRIAL EXHIBIT 222
                                                                                                                                                                                          Page 11 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 14 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 12 of 47

                                                                        The
                                                                        The Joint
                                                                            Joint Commission
                                                                                  Commission
                               ™
                     SAFER™
Standard
Standard      EP     SAFER             EP
                                       EP Text
                                          Text                                                                       Observation
                                                                                                                     Observation                                                      CoP               CoP
                                                                                                                                                                                                        CoP Score
                                                                                                                                                                                                            Score
                     Placement
                     Placement

EC.02.03.05
EC.02.03.05   28     Low
                     Low               Documentation
                                        Documentation of       of maintenance,
                                                                  maintenance, testing, testing, and
                                                                                                   and               1)) Observed
                                                                                                                         Observed in   in Document
                                                                                                                                          Document Review
                                                                                                                                                     Review at  at Providence
                                                                                                                                                                   Providence         §482.41(b)(1)(i)
                                                                                                                                                                                      §482.41(b)(1)(i) | Standard
                                                                                                                                                                                                         Standard
                     Widespread
                     Widespread         inspection activities
                                       inspection      activities for for Standard
                                                                            Standard EC.02.03.05,
                                                                                         EC.02.03.05, EPs   EPs      Health
                                                                                                                     An and    and Services
                                                                                                                                     Services - Montana
                                                                                                                                                Montana (500 (500 West
                                                                                                                                                                   West
                                       1–20,
                                        1-20, 2525 (including
                                                     (including fire fire alarm
                                                                            alarm and
                                                                                   and fire
                                                                                          fire protection
                                                                                               protection            Broadway,
                                                                                                                     Broadway, Missoula,
                                                                                                                                     Missoula, MT)
                                                                                                                                               MT) site
                                                                                                                                                    site .. Annual
                                                                                                                                                            Annual fire
                                                                                                                                                                     fire
                                        systems) includes
                                       systems)       includes the the following:
                                                                          following:                                 extinguisher
                                                                                                                     extinguisher maintenance
                                                                                                                                       maintenance did
                                                                                                                                                    did not
                                                                                                                                                         not include
                                                                                                                                                               include inventory
                                                                                                                                                                          inventory
                                       -- Name
                                          Name of  of the
                                                       the activity
                                                             activity                                                of
                                                                                                                     of each
                                                                                                                         each extinguisher.
                                                                                                                                extinguisher. This
                                                                                                                                               This was
                                                                                                                                                    was observed
                                                                                                                                                            observed by by the
                                                                                                                                                                            the
                                       -- Date
                                          Date ofof the
                                                     the activity
                                                           activity                                                  facilities director.
                                                                                                                     facilities  director.
                                       -- Inventory
                                          Inventory of  of devices,
                                                            devices, equipment,
                                                                           equipment, or   or other
                                                                                              other items
                                                                                                      items
                                       -- Required
                                          Required frequency
                                                        frequency of     of the
                                                                             the activity
                                                                                 activity
                                       -- Name
                                          Name and and contact
                                                          contact information,
                                                                       information, including
                                                                                        including affiliation,
                                                                                                     affiliation,
                                       of
                                        of the
                                           the person
                                                person who  who performed
                                                                   performed the   the activity
                                                                                         activity
                                       -- NFPA
                                          NFPA standard(s)
                                                   standard(s) referenced
                                                                      referenced for  for the
                                                                                           the activity
                                                                                                activity
                                       -- Results
                                          Results of of the
                                                         the activity
                                                               activity
                                       Note:
                                        Note: For
                                                For additional
                                                      additional guidance
                                                                      guidance on   on documenting
                                                                                         documenting
                                       activities,
                                        activities, see
                                                      see NFPA
                                                             NFPA 25-2011:
                                                                       25-2011: 4.3;4.3; 4.4;
                                                                                           4.4; NFPA
                                                                                                 NFPA 72- 72-
                                        2010: 14.2.1;
                                       2010:     14.2.1; 14.2.2;
                                                            14.2.2; 14.2.3;
                                                                        14.2.3; 14.2.4.
                                                                                  14.2.4.
EC.02.05.01
EC.02.05.01   9      Low
                     Low               The hospital
                                       The   hospital labels
                                                          labels utility
                                                                    utility system
                                                                             system controls
                                                                                        controls to  to facilitate
                                                                                                        facilitate   1) Observed
                                                                                                                     1) Observed in in Building
                                                                                                                                        Building Tour
                                                                                                                                                    Tour at at Providence
                                                                                                                                                               Providence Health
                                                                                                                                                                             Health   §482.41(a)
                                                                                                                                                                                      §482.41(a)        Standard
                                                                                                                                                                                                        Standard
                     Limited
                     Limited           partial or
                                       partial  or complete
                                                    complete emergency
                                                                   emergency shutdowns.
                                                                                      shutdowns.                     and Services
                                                                                                                     and  Services -- Montana
                                                                                                                                        Montana (500 (500 West
                                                                                                                                                            West Broadway,
                                                                                                                                                                    Broadway,
                                       Note 1:
                                       Note   1: Examples
                                                  Examples of     of utility
                                                                      utility system
                                                                               system controls
                                                                                           controls that
                                                                                                       that          Missoula, MT)
                                                                                                                     Missoula,  MT) site
                                                                                                                                       site .. In
                                                                                                                                               In lab
                                                                                                                                                  lab breaker
                                                                                                                                                       breaker 1CRGB
                                                                                                                                                                  1CRGB had had 33
                                       should be
                                       should    be labeled
                                                      labeled areare utility
                                                                        utility source
                                                                                  source valves,
                                                                                            valves, utility
                                                                                                       utility       breakers listed
                                                                                                                     breakers  listed asas spare
                                                                                                                                            spare that
                                                                                                                                                     that were
                                                                                                                                                           were inin the
                                                                                                                                                                     the "ON"
                                                                                                                                                                         "ON"
                                       system main
                                       system     main switches
                                                          switches and   and valves,
                                                                                valves, andand individual
                                                                                                 individual          position. Observed
                                                                                                                     position. Observed by    by the
                                                                                                                                                  the facility
                                                                                                                                                       facility manager.
                                                                                                                                                                manager.
                                       circuits in
                                       circuits  in an
                                                     an electrical
                                                          electrical distribution
                                                                         distribution panel.
                                                                                          panel.
                                       Note
                                       Note 2:2: For
                                                  For example,
                                                        example, the   the fire
                                                                             fire alarm
                                                                                   alarm system’s
                                                                                            system’s circuit
                                                                                                          circuit
                                       is
                                       is clearly
                                          clearly labeled
                                                    labeled as  as Fire
                                                                     Fire Alarm
                                                                            Alarm Circuit;
                                                                                      Circuit; the
                                                                                                 the
                                       disconnect method
                                       disconnect       method (that(that is,
                                                                            is, the
                                                                                 the circuit
                                                                                      circuit breaker)
                                                                                               breaker) is   is
                                       marked
                                       marked in  in red;
                                                      red; and
                                                             and access
                                                                    access is   is restricted
                                                                                    restricted toto authorized
                                                                                                      authorized
                                       personnel. Information
                                       personnel.      Information regarding
                                                                          regarding the  the dedicated
                                                                                              dedicated
                                       branch circuit
                                       branch    circuit for
                                                           for the
                                                               the fire
                                                                      fire alarm
                                                                            alarm panel
                                                                                      panel isis located
                                                                                                  located in   in
                                       the control
                                       the  control unit.
                                                       unit. For
                                                              For additional
                                                                     additional guidance,
                                                                                     guidance, see see NFPA
                                                                                                          NFPA
                                       101-2012: 18/19.3.4.1;
                                       101-2012:       18/19.3.4.1; 9.6.1.3;
                                                                          9.6.1.3; NFPANFPA 72-2010:
                                                                                                72-2010:
                                       10.5.5.2.
                                       10.5.5.2.




       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                                   12 of
                                                                                                  12 of 47
                                                                                                        47                                                               Final Report:
                                                                                                                                                                         Final Report: Posted
                                                                                                                                                                                       Posted 7/21/2022
                                                                                                                                                                                              (/2 1/2022
                                                                                                                                                                                                   PL 247

                                                                                              FER_14                                                                             TRIAL EXHIBIT 222
                                                                                                                                                                                      Page 12 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 15 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 13 of 47

                                                                          The
                                                                          The Joint
                                                                              Joint Commission
                                                                                    Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                                  Observation
                                                                                                                             Observation                                                                     CoP             CoP
                                                                                                                                                                                                                             CoP Score
                                                                                                                                                                                                                                 Score
                     Placement
                     Placement

EC.02.05.01
EC.02.05.01   15     Moderate
                     Moderate       In
                                    In critical
                                        critical care
                                                   care areas
                                                            areas designed
                                                                      designed to       to control
                                                                                             control airborne
                                                                                                         airborne            1)) Observed
                                                                                                                                 Observed in      in Medication
                                                                                                                                                     Medication Management
                                                                                                                                                                       Management Tracer Tracer at  at       §482.41(d)(2)
                                                                                                                                                                                                             §482.41(d)(2)   Standard
                                                                                                                                                                                                                             Standard
                     Pattern
                     Pattern        contaminants
                                    contaminants (such     (such as  as biological
                                                                           biological agents,agents, gases,
                                                                                                          gases,             Proves Health
                                                                                                                             Providence        Health and  and Services - MontanaMontana (500 (500
                                    fumes,
                                    fumes, dust),
                                                dust), thethe ventilation
                                                                 ventilation system system provides
                                                                                                  provides                   West
                                                                                                                             West Broadway,
                                                                                                                                      Broadway, Missoula,
                                                                                                                                                        Missoula, MT)   MT) site
                                                                                                                                                                             site .. The
                                                                                                                                                                                     The anteroom
                                                                                                                                                                                          anteroom
                                    appropriate
                                    appropriate pressure
                                                       pressure relationships,
                                                                       relationships, air-exchange
                                                                                                 air-exchange                to
                                                                                                                             to the
                                                                                                                                 the medication
                                                                                                                                      medication compounding
                                                                                                                                                         compounding buffer   buffer room
                                                                                                                                                                                       room hadhad not
                                                                                                                                                                                                     not
                                    rates,
                                    rates, filtration
                                              filtration efficiencies,
                                                             efficiencies, temperature,
                                                                                  temperature, and       and                 passed
                                                                                                                             passed the the specifications
                                                                                                                                               specifications for    for positive
                                                                                                                                                                          positive air
                                                                                                                                                                                     air pressure
                                                                                                                                                                                         pressure
                                    humidity. For
                                    humidity.      For new new andand existing
                                                                          existing health health care
                                                                                                    care facilities,
                                                                                                             facilities,     relationship
                                                                                                                             relationship to    to the
                                                                                                                                                    the corridor/pharmacy.
                                                                                                                                                          corridor/pharmacy. The      The most
                                                                                                                                                                                            most
                                    or
                                    or altered,
                                        altered, renovated,
                                                     renovated, or      or modernized
                                                                              modernized portions  portions of   of          recent report
                                                                                                                             recent    report from from February
                                                                                                                                                          February 2022  2022 showed
                                                                                                                                                                                showed thatthat while
                                                                                                                                                                                                  while
                                    existing systems
                                    existing     systems or     or individual
                                                                     individual components
                                                                                       components                            the space
                                                                                                                             the   space was was confirmed
                                                                                                                                                     confirmed as   as classified
                                                                                                                                                                         classified ISOISO 7,7, the
                                                                                                                                                                                                the airair
                                    (constructed
                                    (constructed or      or plans
                                                              plans approved
                                                                        approved on        on oror after
                                                                                                    after July
                                                                                                            July 5, 5,       pressure to
                                                                                                                             pressure      to the
                                                                                                                                               the pharmacy
                                                                                                                                                      pharmacy was    was only
                                                                                                                                                                            only 0.0124
                                                                                                                                                                                  0.0124 instead
                                                                                                                                                                                             instead
                                    2016), heating,
                                    2016),     heating, cooling,
                                                              cooling, and   and ventilation
                                                                                    ventilation are   are in  in             of 0.02
                                                                                                                             of  0.02 mmH20.
                                                                                                                                        mmH20. The     The facilities
                                                                                                                                                              facilities department
                                                                                                                                                                           department had  had been
                                                                                                                                                                                                 been
                                    accordance
                                    accordance with     with NFPA
                                                                NFPA 99-2012,
                                                                           99-2012, which    which includes
                                                                                                       includes              working to
                                                                                                                             working     to correct
                                                                                                                                              correct this
                                                                                                                                                         this issue,
                                                                                                                                                                issue, including
                                                                                                                                                                          including contracting
                                                                                                                                                                                       contracting
                                    2008
                                    2008 ASHRAE
                                             ASHRAE 170,      170, or or state
                                                                          state design
                                                                                     design requirements
                                                                                                  requirements ifif          with
                                                                                                                             with anan outside
                                                                                                                                        outside vendor,
                                                                                                                                                      vendor, but but had
                                                                                                                                                                        had not
                                                                                                                                                                              not been
                                                                                                                                                                                   been able
                                                                                                                                                                                          able toto
                                    more
                                    more stringent.
                                             stringent.                                                                      correct
                                                                                                                             correct itit at
                                                                                                                                           at the
                                                                                                                                               the time
                                                                                                                                                     time of of the
                                                                                                                                                                the survey.
                                                                                                                                                                       survey.
                                    Note
                                    Note 1:  1: For
                                                 For hospitals
                                                       hospitals that  that use use Joint
                                                                                       Joint Commission
                                                                                                 Commission
                                    accreditation
                                    accreditation for     for deemed
                                                                deemed status  status purposes:
                                                                                            purposes: Existing
                                                                                                             Existing
                                    facilities may
                                    facilities    may elect
                                                          elect to to implement
                                                                       implement a          a Centers
                                                                                               Centers for   for
                                    Medicare
                                    Medicare &      & Medicaid
                                                       Medicaid ServicesServices (CMS)   (CMS) categorical
                                                                                                     categorical
                                    waiver to
                                    waiver     to reduce
                                                   reduce their their relative
                                                                         relative humidity
                                                                                        humidity to   to 20%
                                                                                                           20% in  in
                                    operating
                                    operating rooms rooms and   and other
                                                                       other anesthetizing
                                                                                  anesthetizing locations.locations.
                                    Should
                                    Should the  the facility
                                                      facility elect
                                                                  elect the the waiver,
                                                                                  waiver, itit mustmust be  be
                                    included in
                                    included      in its
                                                      its Basic
                                                            Basic Building
                                                                      Building Information
                                                                                      Information (BBI),  (BBI), andand
                                    the
                                    the facility’s
                                          facility’s equipment
                                                        equipment and      and supplies
                                                                                   supplies must   must be  be
                                    compatible with
                                    compatible        with the the humidity
                                                                     humidity reduction.
                                                                                     reduction. For    For further
                                                                                                              further
                                    information on
                                    information        on waiver
                                                             waiver and and equivalency
                                                                                 equivalency requests,requests, see    see
                                    https://www_.jointcommission.org/resources/patient-
                                    https://www.jointcommission.org/resources/patient-
                                    safety-topics/the-physical-environment/life-safety-
                                    safety-topics/the-physical-environment/life-safety-
                                    code-information-and-resources/.
                                    code-information-and-resources/.
                                    Note
                                    Note 2: 2: For
                                                 For hospitals
                                                       hospitals that  that use use Joint
                                                                                       Joint Commission
                                                                                                 Commission
                                    accreditation
                                    accreditation for     for deemed
                                                                deemed status  status purposes:
                                                                                            purposes: Existing
                                                                                                             Existing
                                    facilities may
                                    facilities    may comply
                                                          comply with  with the the 2012
                                                                                       2012 NFPA NFPA 99   99
                                    ventilation
                                    ventilation requirements
                                                     requirements or          or the
                                                                                  the ventilation
                                                                                         ventilation
                                    requirements
                                    requirements in        in the
                                                               the edition
                                                                     edition of   of the
                                                                                       the NFPA
                                                                                              NFPA code code
                                    previously adopted
                                    previously       adopted by     by CMS
                                                                         CMS at     at the
                                                                                         the time
                                                                                               time of of installation
                                                                                                           installation
                                    (for
                                    (for example,
                                          example, 1999    1999 NFPANFPA 99).   99).
                                                                                                                             2) Observed
                                                                                                                             2) Observed in   in Document
                                                                                                                                                 Document ReviewReview at  at Providence
                                                                                                                                                                              Providence      §482.41(d)(2)
                                                                                                                                                                                              §482.41(d)(2)                  Standard
                                                                                                                                                                                                                             Standard
                                                                                                                             Health
                                                                                                                             Health and
                                                                                                                                      and Services
                                                                                                                                            Services -- Montana
                                                                                                                                                          Montana (500 (500 West
                                                                                                                                                                              West
                                                                                                                             Broadway, Missoula,
                                                                                                                             Broadway,     Missoula, MT) MT) site
                                                                                                                                                               site .. Corrective
                                                                                                                                                                       Corrective actions
                                                                                                                                                                                    actions
                                                                                                                             were
                                                                                                                             were not
                                                                                                                                    not documented
                                                                                                                                         documented in    in the
                                                                                                                                                             the OROR atat times
                                                                                                                                                                            times when
                                                                                                                                                                                   when the
                                                                                                                                                                                         the
                                                                                                                             relative
                                                                                                                             relative humidity
                                                                                                                                       humidity waswas below
                                                                                                                                                         below 30%.
                                                                                                                                                                  30%. This
                                                                                                                                                                          This was
                                                                                                                                                                                was observed
                                                                                                                                                                                     observed
                                                                                                                             by the
                                                                                                                             by  the facilities
                                                                                                                                     facilities director.
                                                                                                                                                 director.




       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                                        13 of
                                                                                                       13 of 47
                                                                                                             47                                                                             Final Report:
                                                                                                                                                                                            Final Report: Posted
                                                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                                                 (/2 1/2022
                                                                                                                                                                                                                        PL 248

                                                                                                   FER_15                                                                                             TRIAL EXHIBIT 222
                                                                                                                                                                                                           Page 13 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 16 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 14 of 47

                                                                    The
                                                                    The Joint
                                                                        Joint Commission
                                                                              Commission
                     SAFER™ ™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                   Observation
                                                                                                              Observation                                                               CoP             CoP
                                                                                                                                                                                                        CoP Score
                                                                                                                                                                                                            Score
                     Placement
                     Placement

                                                                                                              3)
                                                                                                              3) Observed
                                                                                                                 Observed in   in Building
                                                                                                                                   Building TourTour at at Providence
                                                                                                                                                            Providence Health
                                                                                                                                                                            Health | §482.41(d)(2)
                                                                                                                                                                                       §482.41(d)(2)    Standard
                                                                                                                                                                                                        Standard
                                                                                                              po Services
                                                                                                              and  Services - Montana
                                                                                                                                   Montana (500  (500 West
                                                                                                                                                        West Broadway,
                                                                                                                                                                Broadway,
                                                                                                              Missoula,
                                                                                                              Missoula, MT)MT) site
                                                                                                                                  site .. In
                                                                                                                                          In the
                                                                                                                                             the OR OR thethe CV
                                                                                                                                                              CV Storage
                                                                                                                                                                    Storage Area
                                                                                                                                                                               Area
                                                                                                              was
                                                                                                              was measured
                                                                                                                    measured as    as negative
                                                                                                                                       negative pressure
                                                                                                                                                     pressure withwith the
                                                                                                                                                                         the door
                                                                                                                                                                              door
                                                                                                              closed
                                                                                                              closed and
                                                                                                                       and the
                                                                                                                            the door
                                                                                                                                   door was
                                                                                                                                          was propped
                                                                                                                                                  propped openopen with
                                                                                                                                                                      with
                                                                                                              magnetic door
                                                                                                              magnetic    door hardware.
                                                                                                                                  hardware. This  This space
                                                                                                                                                          space must
                                                                                                                                                                  must be  be
                                                                                                              maintained
                                                                                                              maintained as  as positive
                                                                                                                                  positive airair pressure
                                                                                                                                                   pressure differential
                                                                                                                                                                differential toto the
                                                                                                                                                                                   the
                                                                                                              corridor. Observed
                                                                                                              corridor.  Observed by     by the
                                                                                                                                             the facility
                                                                                                                                                   facility manager.
                                                                                                                                                             manager.
EC.02.05.01
EC.02.05.01   16     Low
                     Low            In
                                    In non–critical
                                       non-critical care
                                                     care areas,
                                                            areas, the
                                                                     the ventilation
                                                                         ventilation system
                                                                                      system      1)
                                                                                                  1) Observed
                                                                                                     Observed in     in Building
                                                                                                                         Building Tour
                                                                                                                                     Tour at
                                                                                                                                           at Providence
                                                                                                                                               Providence Health
                                                                                                                                                               Health | §482.41(d)(4)
                                                                                                                                                                        §482.41(d)(4)                   Standard
                                                                                                                                                                                                        Standard
                     Limited
                     Limited        provides required
                                    provides   required pressure
                                                          pressure relationships,
                                                                      relationships,              and Services
                                                                                                  and   Services -- Montana
                                                                                                                        Montana (500  (500 West
                                                                                                                                            West Broadway,
                                                                                                                                                    Broadway,
                                    temperature, and
                                    temperature,    and humidity.
                                                          humidity.                               Missoula, MT)
                                                                                                  Missoula,     MT) sitesite .. Patient
                                                                                                                                Patient room
                                                                                                                                          room FMCFMC 1, 1, an
                                                                                                                                                            an
                                    Note:
                                    Note: Examples
                                           Examples of  of non–critical
                                                           non-critical care
                                                                          care areas
                                                                                areas are
                                                                                        are       isolation
                                                                                                  isolation patient
                                                                                                              patient room,
                                                                                                                          room, waswas observed
                                                                                                                                         observed withwith aa postive
                                                                                                                                                               postive
                                    general
                                    general care
                                              care nursing
                                                    nursing units;
                                                              units; clean
                                                                      clean and
                                                                             and soiled
                                                                                  soiled utility
                                                                                          utility pressure
                                                                                                  pressure and and negative
                                                                                                                       negative pressure
                                                                                                                                    pressure switching
                                                                                                                                                switching device.
                                                                                                                                                             device.
                                    rooms
                                    rooms inin acute
                                               acute care
                                                      care areas;
                                                             areas; laboratories,
                                                                      laboratories,               FGI
                                                                                                  FGI 2010
                                                                                                       2010 air air flow
                                                                                                                    flow table
                                                                                                                            table notes
                                                                                                                                    notes that
                                                                                                                                            that airborne
                                                                                                                                                  airborne isolation
                                                                                                                                                              isolation
                                    pharmacies,
                                    pharmacies, diagnostic
                                                   diagnostic andand treatment
                                                                       treatment areas,
                                                                                   areas, food
                                                                                            food  patient
                                                                                                  patient rooms
                                                                                                            rooms cannot
                                                                                                                       cannot be  be both
                                                                                                                                      both negative
                                                                                                                                             negative and/or
                                                                                                                                                        and/or
                                    preparation
                                    preparation areas,
                                                  areas, and
                                                           and other
                                                                 other support   departments. | positive
                                                                        support departments.      positive and
                                                                                                             and cannot
                                                                                                                    cannot be   be switched.
                                                                                                                                    switched. TheThe Director
                                                                                                                                                       Director ofof
                                                                                                  Facilities
                                                                                                  Facilities confirmed
                                                                                                               confirmed the    the observation.
                                                                                                                                     observation.
EC.02.05.01
EC.02.05.01   23     Moderate
                     Moderate       Power strips
                                    Power     strips in
                                                      in aa patient
                                                             patient care
                                                                       care vicinity
                                                                              vicinity are
                                                                                         are only
                                                                                               only used
                                                                                                      used | 1) 1) Observed
                                                                                                                   Observed in    in Tracer
                                                                                                                                      Tracer Activities
                                                                                                                                               Activities at at Providence
                                                                                                                                                                 Providence             §482.41(d)(2)
                                                                                                                                                                                        §482.41(d)(2)   Standard
                                                                                                                                                                                                        Standard
                     Limited
                     Limited        for components
                                    for  components of     of movable
                                                               movable electrical
                                                                            electrical equipment
                                                                                          equipment             Health and
                                                                                                                Health    and Services
                                                                                                                                Services -- Montana
                                                                                                                                               Montana (500  (500 West
                                                                                                                                                                   West
                                    used for
                                    used   for patient
                                                 patient care
                                                            care that
                                                                  that have
                                                                         have been
                                                                                 been assembled
                                                                                         assembled by     by | Broadway,
                                                                                                                Broadway, Missoula,
                                                                                                                                Missoula, MT) MT) site
                                                                                                                                                    site .. In
                                                                                                                                                            In operating
                                                                                                                                                                operating roomroom
                                    qualified
                                    qualified personnel.
                                                 personnel. TheseThese power
                                                                           power strips
                                                                                     strips meet
                                                                                             meet UL  UL        #4,
                                                                                                                #4, the
                                                                                                                     the operating
                                                                                                                          operating room room table
                                                                                                                                                table power
                                                                                                                                                        power cordcord was
                                                                                                                                                                         was
                                    1363A or
                                    1363A     or ULUL 60601-1.
                                                      60601-1. Power Power strips
                                                                               strips used
                                                                                        used outside
                                                                                               outside of  of | plugged
                                                                                                                plugged intointo aa Relocatable
                                                                                                                                     Relocatable PowerPower Tap(RPT)
                                                                                                                                                                Tap(RPT) which which
                                    a
                                    a patient
                                       patient care
                                                  care vicinity,
                                                        vicinity, but
                                                                    but within
                                                                         within the
                                                                                  the patient
                                                                                        patient care
                                                                                                  care          was
                                                                                                                was part
                                                                                                                      part ofof an
                                                                                                                                an assembly
                                                                                                                                     assembly on  on anan IVIV pole
                                                                                                                                                                pole to
                                                                                                                                                                      to supply
                                                                                                                                                                          supply
                                    room,
                                    room, meet
                                             meet UL UL 1363.
                                                           1363. InIn non–patient
                                                                       non—patient care  care rooms,
                                                                                                rooms,          power
                                                                                                                power to to two
                                                                                                                             two pieces
                                                                                                                                   pieces ofof medical
                                                                                                                                                medical equipment
                                                                                                                                                            equipment attached
                                                                                                                                                                           attached
                                    power
                                    power strips
                                              strips meet
                                                      meet other
                                                               other ULUL standards.
                                                                            standards. (For (For full   text, | to
                                                                                                  full text,    to that
                                                                                                                   that pole.
                                                                                                                         pole. The
                                                                                                                                 The OR OR director
                                                                                                                                             director confirmed
                                                                                                                                                        confirmed this this finding.
                                                                                                                                                                             finding.
                                    refer to
                                    refer  to NFPA
                                               NFPA 99-2012:
                                                        99-2012: 10.2.3.6;
                                                                      10.2.3.6; 10.2.4;
                                                                                    10.2.4; NFPA
                                                                                               NFPA 70-  70-
                                    2011: 400-8;
                                    2011:    400-8; 590.3(D);
                                                      590.3(D); Tentative
                                                                     Tentative Interim
                                                                                    Interim Amendment
                                                                                              Amendment
                                    [TIA] 12-5)
                                    [TIA]   12-5)
                                                                                                              2) Observed
                                                                                                              2) Observed inin Building
                                                                                                                                Building TourTour at
                                                                                                                                                   at Providence
                                                                                                                                                       Providence Health
                                                                                                                                                                       Health | §482.41(d)(2)
                                                                                                                                                                                §482.41(d)(2)           Standard
                                                                                                                                                                                                        Standard
                                                                                                              and
                                                                                                              and Services
                                                                                                                   Services -- Montana
                                                                                                                               Montana (500   (500 West
                                                                                                                                                    West Broadway,
                                                                                                                                                           Broadway,
                                                                                                              Missoula, MT)
                                                                                                              Missoula,  MT) site
                                                                                                                               site .. In
                                                                                                                                       In the
                                                                                                                                           the OR
                                                                                                                                                OR a a Bear
                                                                                                                                                       Bear Hugger
                                                                                                                                                              Hugger device
                                                                                                                                                                         device
                                                                                                              was
                                                                                                              was plugged
                                                                                                                   plugged into
                                                                                                                            into anan RPT
                                                                                                                                        RPT that
                                                                                                                                               that was
                                                                                                                                                     was not
                                                                                                                                                          not part
                                                                                                                                                               part ofof an
                                                                                                                                                                         an
                                                                                                              equipment
                                                                                                              equipment assembly.
                                                                                                                          assembly. Observed
                                                                                                                                          Observed by  by the
                                                                                                                                                           the facility
                                                                                                                                                                facility
                                                                                                              manager.
                                                                                                              manager.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                             14 of
                                                                                            14 of 47
                                                                                                  47                                                                    Final
                                                                                                                                                                        Final Report:
                                                                                                                                                                              Report: Posted
                                                                                                                                                                                      Posted 7/21/2022
                                                                                                                                                                                             (/2 1/2022
                                                                                                                                                                                                   PL 249

                                                                                         FER_16                                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                                       Page 14 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 17 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 15 of 47

                                                                   The
                                                                   The Joint
                                                                       Joint Commission
                                                                             Commission
                     SAFER™ ™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                 Observation
                                                                                                            Observation                                                             CoP             CoP
                                                                                                                                                                                                    CoP Score
                                                                                                                                                                                                        Score
                     Placement
                     Placement

EC.02.05.01
EC.02.05.01   24
              24     Low
                     Low            Extension
                                    Extension cords
                                                 cords areare not
                                                               not used
                                                                   used asas a
                                                                             a substitute
                                                                                substitute forfor       1)) Observed
                                                                                                            Observed in   in Building
                                                                                                                              Building TourTour atat Providence
                                                                                                                                                      Providence HealthHealth | §482.41(d)(2)
                                                                                                                                                                                  §482.41(d)(2)     Standard
                                                                                                                                                                                                    Standard
                     Limited
                     Limited        fixed wiring
                                    fixed wiring inin a
                                                      a building.
                                                         building. Extension
                                                                    Extension cords
                                                                                 cords used
                                                                                         used           2 Services
                                                                                                        and   Services - Montana
                                                                                                                              Montana (500  (500 West
                                                                                                                                                  West Broadway,
                                                                                                                                                           Broadway,
                                    temporarily
                                    temporarily are
                                                  are removed
                                                        removed immediately
                                                                    immediately uponupon                Missoula,
                                                                                                        Missoula, MT) MT) site
                                                                                                                             site .. In
                                                                                                                                     In the
                                                                                                                                         the Main
                                                                                                                                              Main Operating
                                                                                                                                                      Operating Room Room
                                    completion
                                    completion of of the
                                                      the intended
                                                            intended purpose.
                                                                       purpose. (For
                                                                                  (For full
                                                                                        full text,
                                                                                             text,      area,
                                                                                                        area, Cath
                                                                                                                Cath Lab
                                                                                                                       Lab 11 waswas observed
                                                                                                                                        observed with with aa an
                                                                                                                                                               an electrical
                                                                                                                                                                    electrical
                                    refer
                                    refer to
                                          to NFPA
                                              NFPA 99-2012:
                                                       99-2012: 10.2.3.6;
                                                                   10.2.3.6; 10.2.4;
                                                                              10.2.4; NFPA
                                                                                       NFPA 70-   70- | box
                                                                                                        box that
                                                                                                             that provided
                                                                                                                    provided 4    4 receptacles
                                                                                                                                     receptacles and  and were
                                                                                                                                                            were observed
                                                                                                                                                                    observed
                                    2011: 400-8;
                                    2011:   400-8; 590.3(D);
                                                     590.3(D); Tentative
                                                                  Tentative Interim
                                                                              Interim Amendment
                                                                                       Amendment] supplied
                                                                                                        supplied power
                                                                                                                    power from from the
                                                                                                                                      the single
                                                                                                                                            single ceiling
                                                                                                                                                     ceiling outlet.
                                                                                                                                                               outlet. NoNo
                                    [TIA] 12-5)
                                    [TIA]  12-5)                                                        cord strain
                                                                                                        cord   strain relief
                                                                                                                       relief devices
                                                                                                                                devices werewere visible
                                                                                                                                                    visible during
                                                                                                                                                             during the the
                                                                                                        survey process
                                                                                                        survey    process and  and the
                                                                                                                                     the devices
                                                                                                                                           devices were
                                                                                                                                                      were notnot UL1363
                                                                                                                                                                    UL1363 or  or
                                                                                                        UL60601 the
                                                                                                        UL60601      the devices
                                                                                                                           devices werewere being
                                                                                                                                               being utilized
                                                                                                                                                        utilized toto supply
                                                                                                                                                                       supply
                                                                                                        permanent power
                                                                                                        permanent      power for  for patient
                                                                                                                                       patient equipment
                                                                                                                                                 equipment
                                                                                                        components.
                                                                                                        components. The    The Facilities
                                                                                                                                  Facilities Manager
                                                                                                                                                Manager and  and the
                                                                                                                                                                   the Facility
                                                                                                                                                                         Facility
                                                                                                        Representatives
                                                                                                        Representatives confirmed
                                                                                                                                confirmed the  the observation.
                                                                                                                                                     observation.
EC.02.05.02
EC.02.05.02   3      Moderate
                     Moderate       The
                                     The individual
                                           individual oror team
                                                            team responsible
                                                                  responsible for      for the
                                                                                            the water
                                                                                                  water           1)
                                                                                                                  1) Observed
                                                                                                                     Observed in  in Document
                                                                                                                                     Document Review
                                                                                                                                                  Review at  at Providence
                                                                                                                                                                 Providence         §482.41(d)(2)
                                                                                                                                                                                    §482.41(d)(2)   Standard
                                                                                                                                                                                                    Standard
                     Pattern
                     Pattern        management
                                     management programprogram manages
                                                                  manages the      the following:
                                                                                         following:               Health
                                                                                                                  Health and
                                                                                                                          and Services
                                                                                                                                Services -- Montana
                                                                                                                                            Montana (500 (500 West
                                                                                                                                                                West
                                    -- Documenting
                                       Documenting results
                                                         results of
                                                                  of all
                                                                      all monitoring
                                                                            monitoring activities
                                                                                             activities           Broadway,
                                                                                                                  Broadway, Missoula,
                                                                                                                                Missoula, MT)
                                                                                                                                           MT) site
                                                                                                                                                 site .. Legionella
                                                                                                                                                         Legionella was was
                                    -- Corrective
                                       Corrective actions
                                                     actions and
                                                               and procedures
                                                                     procedures to       to follow
                                                                                             follow ifif a  test| tested
                                                                                                          a test  tested periodically;
                                                                                                                          periodically; however
                                                                                                                                         however monitoring
                                                                                                                                                     monitoring protocols
                                                                                                                                                                     protocols
                                    result
                                     result outside
                                             outside ofof acceptable
                                                           acceptable limitslimits isis obtained,
                                                                                         obtained,                were
                                                                                                                  were not
                                                                                                                        not conducted
                                                                                                                             conducted andand no
                                                                                                                                               no documentation
                                                                                                                                                    documentation that   that
                                     including when
                                    including    when a   a probable
                                                            probable or   or confirmed
                                                                              confirmed waterborne
                                                                                               waterborne | corrective
                                                                                                                  corrective actions
                                                                                                                              actions taken
                                                                                                                                       taken when
                                                                                                                                               when control
                                                                                                                                                       control limits
                                                                                                                                                                  limits are
                                                                                                                                                                         are not
                                                                                                                                                                              not
                                     pathogen(s) indicates
                                    pathogen(s)      indicates action
                                                                 action is   is necessary
                                                                                 necessary                        maintained. Observed
                                                                                                                  maintained.    Observed by by the
                                                                                                                                                the facility
                                                                                                                                                      facility manager.
                                                                                                                                                                manager.
                                    -- Documenting
                                       Documenting corrective
                                                         corrective actions
                                                                       actions takentaken whenwhen control
                                                                                                       control
                                     limits are
                                    limits  are not
                                                 not maintained
                                                      maintained
                                    Note:
                                     Note: See
                                             See EC.04.01.01,
                                                  EC.04.01.01, EP    EP 11 for for the
                                                                                    the process
                                                                                          process of   of
                                    monitoring,
                                     monitoring, reporting,
                                                    reporting, and
                                                                 and investigating
                                                                         investigating utilityutility system
                                                                                                      system
                                    issues.
                                     issues.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                            15 of
                                                                                           15 of 47
                                                                                                 47                                                                   Final
                                                                                                                                                                      Final Report:
                                                                                                                                                                            Report: Posted
                                                                                                                                                                                    Posted 7/21/2022
                                                                                                                                                                                           (/21/2022
                                                                                                                                                                                               PL 250

                                                                                        FER_17                                                                                 TRIAL EXHIBIT 222
                                                                                                                                                                                    Page 15 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 18 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 16 of 47

                                                                       The
                                                                       The Joint
                                                                           Joint Commission
                                                                                 Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                           Observation
                                                                                                                      Observation                                                                        CoP           CoP
                                                                                                                                                                                                                       CoP Score
                                                                                                                                                                                                                           Score
                     Placement
                     Placement

EC.02.05.03
EC.02.05.03   1      Moderate
                     Moderate       For
                                     For facilities
                                           facilities that
                                                       that were
                                                               were constructed,
                                                                       constructed, or    or had
                                                                                              had a  a change
                                                                                                        change | 1) 1) Observed
                                                                                                                       Observed in     in Building
                                                                                                                                           Building Tour  Tour at  at Providence
                                                                                                                                                                       Providence Health    Health
                     Limited
                     Limited        in
                                     in occupancy
                                         occupancy type, type, or or have
                                                                      have undergone
                                                                              undergone an     an electrical
                                                                                                    electrical     and
                                                                                                                   i” Services
                                                                                                                         Services -- Montana
                                                                                                                                           Montana (500    (500 West
                                                                                                                                                                   West Broadway,
                                                                                                                                                                             Broadway,
                                    system
                                     system upgrade
                                                upgrade since since 1983,
                                                                       1983, the
                                                                               the hospital
                                                                                      hospital has has a   Type | Missoula,
                                                                                                         a Type    Missoula, MT)  MT) sitesite .. During
                                                                                                                                                    During the  the survey
                                                                                                                                                                      survey process
                                                                                                                                                                                   process the   the
                                    11 or
                                        or Type
                                            Type 3  3 essential
                                                      essential electrical
                                                                     electrical system
                                                                                   system in   in                  essential
                                                                                                                   essential electrical
                                                                                                                                 electrical systemsystem was   was observed
                                                                                                                                                                      observed not      not
                                    accordance
                                     accordance with  with NFPANFPA 99, 99, 2012
                                                                             2012 edition.
                                                                                      edition. This
                                                                                                  This             designed
                                                                                                                   designed and  and installed
                                                                                                                                         installed to   to code
                                                                                                                                                             code requirements
                                                                                                                                                                      requirements for       for
                                     essential electrical
                                    essential      electrical system
                                                                  system mustmust be be divided
                                                                                          divided intointo         health care
                                                                                                                   health   care facilities.
                                                                                                                                     facilities. The The essential
                                                                                                                                                             essential electrical
                                                                                                                                                                             electrical system
                                                                                                                                                                                             system
                                    three
                                    three branches,
                                              branches, including
                                                              including thethe life
                                                                                life safety
                                                                                       safety branch,
                                                                                                 branch,           was
                                                                                                                   was not
                                                                                                                         not divided
                                                                                                                              divided into   into three
                                                                                                                                                    three branches,
                                                                                                                                                              branches, including
                                                                                                                                                                               including the   the
                                     critical branch,
                                    critical   branch, and and equipment
                                                                   equipment branch.
                                                                                  branch. Both Both thethe life
                                                                                                            life | life
                                                                                                                   life safety
                                                                                                                        safety branch,
                                                                                                                                  branch, critical
                                                                                                                                                 critical branch,
                                                                                                                                                            branch, and   and equipment
                                                                                                                                                                                  equipment
                                     safety branch
                                    safety     branch and and thethe critical
                                                                      critical branch
                                                                                branch are  are kept
                                                                                                  kept             branch. Each
                                                                                                                   branch.    Each branchbranch did   did not
                                                                                                                                                            not have
                                                                                                                                                                  have at  at least
                                                                                                                                                                               least one one
                                     independent of
                                    independent         of all
                                                            all other
                                                                 other wiring
                                                                         wiring and
                                                                                  and equipment,
                                                                                         equipment, and    and | automatic
                                                                                                                   automatic transfer
                                                                                                                                   transfer switch.
                                                                                                                                                  switch. The The life
                                                                                                                                                                     life safety
                                                                                                                                                                           safety and  and critical
                                                                                                                                                                                              critical
                                    they transfer
                                    they    transfer within
                                                        within 10  10 seconds
                                                                       seconds of   of electrical
                                                                                        electrical                 branches were
                                                                                                                   branches      were not  not keptkept independent
                                                                                                                                                          independent of        of all
                                                                                                                                                                                     all other
                                                                                                                                                                                          other
                                    interruption.
                                     interruption. EachEach branch
                                                                branch has has atat least
                                                                                     least one       automatic | wiring
                                                                                             one automatic         wiring and
                                                                                                                            and equipment
                                                                                                                                    equipment and      and hadhad shared
                                                                                                                                                                     shared main   main
                                    transfer
                                    transfer switch.
                                                 switch. For For additional
                                                                   additional guidance,
                                                                                 guidance, see          NFPA | emergency
                                                                                                  see NFPA         emergency distribution
                                                                                                                                     distribution panels panels and  and normal
                                                                                                                                                                             normal
                                     99-2012: 6.4.2.2.
                                    99-2012:       6.4.2.2.                                                        distribution
                                                                                                                   distribution panels.
                                                                                                                                     panels. An    An emergency
                                                                                                                                                        emergency electricalelectrical
                                                                                                                   generator system
                                                                                                                   generator      system was    was replaced
                                                                                                                                                        replaced duringduring 2010 2010 and  and
                                                                                                                   was
                                                                                                                   was upgraded,
                                                                                                                         upgraded, new     new main main electrical
                                                                                                                                                             electrical equipment
                                                                                                                                                                             equipment with     with
                                                                                                                   upgraded equipment
                                                                                                                   upgraded       equipment and       and controls
                                                                                                                                                             controls and  and doesdoes NOT NOT
                                                                                                                   have at
                                                                                                                   have   at least
                                                                                                                              least one one automatic
                                                                                                                                                automatic transfer
                                                                                                                                                                 transfer switch
                                                                                                                                                                               switch and  and waswas
                                                                                                                   observed not
                                                                                                                   observed       not divided
                                                                                                                                        divided into  into 3 3 branches
                                                                                                                                                                branches of      of electrical
                                                                                                                                                                                      electrical
                                                                                                                   power. The
                                                                                                                   power.    The Generator
                                                                                                                                     Generator power    power source
                                                                                                                                                                   source was  was not  not
                                                                                                                   separate
                                                                                                                   separate and and independent
                                                                                                                                        independent from       from thethe normal
                                                                                                                                                                              normal power power
                                                                                                                   source.
                                                                                                                   source. TheThe electrical
                                                                                                                                      electrical sources
                                                                                                                                                       sources (normal
                                                                                                                                                                     (normal utilityutility and
                                                                                                                                                                                             and
                                                                                                                   emergency
                                                                                                                   emergency generator)
                                                                                                                                     generator) were    were observed
                                                                                                                                                                 observed with    with a  a switch
                                                                                                                                                                                             switch
                                                                                                                   gear
                                                                                                                   gear configuration.
                                                                                                                          configuration. No        No electrical
                                                                                                                                                        electrical branch
                                                                                                                                                                        branch division/s
                                                                                                                                                                                     division/s
                                                                                                                   are present
                                                                                                                   are  present on   on thethe system
                                                                                                                                                  system and   and ItIt did
                                                                                                                                                                         did not
                                                                                                                                                                               not havehave anyany
                                                                                                                   devices that
                                                                                                                   devices    that areare defined
                                                                                                                                             defined by    by ULUL 1008-8
                                                                                                                                                                      1008-8 for   for transfer
                                                                                                                                                                                         transfer
                                                                                                                   switch equipment.
                                                                                                                   switch   equipment. The        The design
                                                                                                                                                         design engineer
                                                                                                                                                                     engineer was    was
                                                                                                                   contacted
                                                                                                                   contacted duringduring the  the survey
                                                                                                                                                     survey process
                                                                                                                                                                 process and   and couldcould notnot
                                                                                                                   provide any
                                                                                                                   provide    any additional
                                                                                                                                      additional documentation
                                                                                                                                                        documentation to          to support
                                                                                                                                                                                       support the the
                                                                                                                   electrical
                                                                                                                   electrical design
                                                                                                                                 design modifications
                                                                                                                                              modifications related  related to   to NFPA
                                                                                                                                                                                       NFPA 99   99
                                                                                                                   2012
                                                                                                                   2012 andand diddid not
                                                                                                                                        not provide
                                                                                                                                               provide any  any other
                                                                                                                                                                    other documents
                                                                                                                                                                             documents The       The
                                                                                                                   Director
                                                                                                                   Director of of Engineering
                                                                                                                                    Engineering confirmed confirmed the    the observation.
                                                                                                                                                                                  observation.
                                                                                                                   NFPA 110
                                                                                                                   NFPA     110 2010;
                                                                                                                                    2010; NFPA NFPA 99    99 -- 2012
                                                                                                                                                                 2012




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                   16 of
                                                                                                  16 of 47
                                                                                                        47                                                                             Final
                                                                                                                                                                                       Final Report:
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                                                                                                                                                                                                               PL 251

                                                                                               FER_18                                                                                             TRIAL EXHIBIT 222
                                                                                                                                                                                                       Page 16 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 19 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 17 of 47




Ee CC
    eS
                                                                   The
                                                                   The Joint
                                                                       Joint Commission
                                                                             Commission
                     SAFER™
Standard      EP                    EP Text                                                                 Observation                                                              CoP                   CoP Score
                     Placement
                     Placement
EC.02.05.05
EC.02.05.05   5
              5      Low
                     Low            The
                                    The hospital
                                           hospital inspects,
                                                         inspects, tests,
                                                                       tests, and
                                                                                and maintains
                                                                                       maintains the   the         1)
                                                                                                                   1) Observed
                                                                                                                      Observed in   in Tracer
                                                                                                                                       Tracer Activities
                                                                                                                                                Activities at  at Providence
                                                                                                                                                                   Providence              §482.41(d)(2)
                                                                                                                                                                                           §482.41(d)(2)   Standard
                                                                                                                                                                                                           Standard
                     Limited
                     Limited        following: Infection
                                    following:       Infection control
                                                                  control utility
                                                                             utility system
                                                                                      system components
                                                                                                 components | Health
                                                                                                                   Health and
                                                                                                                            and Services
                                                                                                                                  Services -- Montana
                                                                                                                                               Montana (500   (500 West
                                                                                                                                                                     West
                                    on
                                    on the
                                         the inventory.
                                               inventory. The  The completion
                                                                      completion date   date and
                                                                                              and the the          Broadway,
                                                                                                                   Broadway, Missoula,
                                                                                                                                  Missoula, MT)
                                                                                                                                              MT) site
                                                                                                                                                     site .. During
                                                                                                                                                              During thethe tracer
                                                                                                                                                                             tracer tour
                                                                                                                                                                                      tour
                                    results
                                    results of  of the
                                                    the activities
                                                          activities areare documented.
                                                                             documented.                           of
                                                                                                                   of the
                                                                                                                      the kitchen,
                                                                                                                           kitchen, the
                                                                                                                                      the dishwasher
                                                                                                                                           dishwasher temperature
                                                                                                                                                            temperature log    log
                                    Note
                                    Note 1:  1: Required
                                                 Required activities
                                                                activities andand associated
                                                                                     associated                    reflected
                                                                                                                   reflected greater
                                                                                                                               greater than
                                                                                                                                         than 20
                                                                                                                                               20 events
                                                                                                                                                    events in   in the
                                                                                                                                                                   the month
                                                                                                                                                                        month of   of
                                    frequencies for
                                    frequencies         for maintaining,
                                                             maintaining, inspecting,
                                                                                inspecting, and and testing
                                                                                                         testing | June
                                                                                                                   June that
                                                                                                                          that were
                                                                                                                                were greater
                                                                                                                                       greater than
                                                                                                                                                 than the
                                                                                                                                                        the temperature
                                                                                                                                                              temperature range  range
                                    of utility
                                    of  utility systems
                                                  systems components
                                                               components completedcompleted in    in              on the
                                                                                                                   on  the logsheet.
                                                                                                                            logsheet. There
                                                                                                                                         There was
                                                                                                                                                 was no no corrective
                                                                                                                                                             corrective action
                                                                                                                                                                            action
                                    accordance with
                                    accordance          with manufacturers’
                                                               manufacturers’ recommendations
                                                                                      recommendations | documented.documented. This  This was
                                                                                                                                           was also
                                                                                                                                                 also observed
                                                                                                                                                        observed by    by the
                                                                                                                                                                           the
                                    must have
                                    must     have a   a 100%
                                                         100% completion
                                                                   completion rate. rate.                          Department Director.
                                                                                                                   Department      Director.
                                    Note 2:
                                    Note     2: Scheduled
                                                 Scheduled maintenance
                                                                  maintenance activities
                                                                                       activities forfor
                                    infection
                                    infection control
                                                   control utility
                                                              utility systems
                                                                       systems components
                                                                                    components in        in an
                                                                                                            an
                                    alternative
                                    alternative equipment
                                                      equipment maintenance
                                                                       maintenance (AEM)   (AEM) program
                                                                                                      program
                                    inventory
                                    inventory must  must have
                                                            have a   a 100%
                                                                        100% completion
                                                                                 completion rate. rate.
EC.02.05.05
EC.02.05.05   6      Low
                     Low            The
                                    The hospital
                                          hospital inspects,
                                                      inspects, tests,
                                                                   tests, andand maintains
                                                                                   maintains the the        1)
                                                                                                            1) Observed
                                                                                                                Observed in  in Building
                                                                                                                                 Building Tour
                                                                                                                                             Tour atat Providence
                                                                                                                                                        Providence Health
                                                                                                                                                                        Health    §482.41(d)(2)
                                                                                                                                                                                  §482.41(d)(2)            Standard
                                                                                                                                                                                                           Standard
                     Limited
                     Limited        following:
                                    following: Non-high-risk
                                                  Non-high-risk utility
                                                                      utility system
                                                                               system components
                                                                                         components         and
                                                                                                            and Services
                                                                                                                  Services -- Montana
                                                                                                                                 Montana (500 (500 West
                                                                                                                                                     West Broadway,
                                                                                                                                                             Broadway,
                                    on the
                                    on  the inventory.
                                             inventory. The The completion
                                                                  completion date   date and
                                                                                          and the
                                                                                                the         Missoula, MT)
                                                                                                            Missoula,    MT) site
                                                                                                                                site .. On
                                                                                                                                        On the
                                                                                                                                             the 1st
                                                                                                                                                  1st floor
                                                                                                                                                       floor within
                                                                                                                                                              within the
                                                                                                                                                                      the 1.5T
                                                                                                                                                                           1.5T
                                    results
                                    results ofof the
                                                 the activities
                                                       activities are
                                                                    are documented.
                                                                          documented.                       MRI
                                                                                                            MRI equipment
                                                                                                                   equipment room room area,
                                                                                                                                          area, anan electrical    junction box
                                                                                                                                                      electrical junction     box
                                    Note: Scheduled
                                    Note:   Scheduled maintenance
                                                            maintenance activities
                                                                                activities for
                                                                                            for non-high
                                                                                                 non-high | that
                                                                                                            that had
                                                                                                                  had exposed
                                                                                                                       exposed wiring
                                                                                                                                    wiring waswas observed.
                                                                                                                                                    observed. The  The wiring
                                                                                                                                                                        wiring
                                    -risk utility
                                    -risk utility systems
                                                   systems components
                                                               components in      in an
                                                                                      an alternative
                                                                                         alternative        was observed
                                                                                                            was   observed to  to be
                                                                                                                                   be 120/208V.
                                                                                                                                        120/208V. The  The Safety
                                                                                                                                                             Safety Officer
                                                                                                                                                                      Officer
                                    equipment maintenance
                                    equipment       maintenance (AEM)  (AEM) program
                                                                                 program inventory
                                                                                             inventory      and the
                                                                                                            and   the facility
                                                                                                                      facility representatives
                                                                                                                                 representatives verified
                                                                                                                                                       verified and
                                                                                                                                                                  and
                                    must have
                                    must   have a  a 100%
                                                      100% completion
                                                               completion rate. rate. AEM
                                                                                       AEM frequency
                                                                                              frequency | corrected
                                                                                                            corrected thethe observation
                                                                                                                              observation duringduring survey.
                                                                                                                                                          survey.
                                    is
                                    is determined
                                       determined by    by the
                                                            the hospital
                                                                 hospital AEM AEM program.
                                                                                      program.
EC.02.05.09
EC.02.05.09   2      Moderate
                     Moderate       All
                                    All master,
                                         master, area,
                                                    area, and
                                                           and local
                                                                local alarm
                                                                      alarm systems
                                                                             systems used
                                                                                        used for
                                                                                               for       1)
                                                                                                         1) Observed
                                                                                                            Observed in  in Document
                                                                                                                            Document Review
                                                                                                                                         Review at at Providence
                                                                                                                                                      Providence                     §482.41(d)(2)
                                                                                                                                                                                     §482.41(d)(2)         Standard
                                                                                                                                                                                                           Standard
                     Limited
                     Limited        medical
                                    medical gas gas and
                                                      and vacuum
                                                           vacuum systems
                                                                     systems comply
                                                                               comply with
                                                                                        with the
                                                                                              the        Health
                                                                                                         Health and
                                                                                                                 and Services
                                                                                                                       Services -- Montana
                                                                                                                                    Montana (500(500 West
                                                                                                                                                      West
                                    category
                                    category 1–3 1-3 warning
                                                       warning system
                                                                 system requirements.
                                                                          requirements. (For      full | Broadway,
                                                                                           (For full     Broadway, Missoula,
                                                                                                                       Missoula, MT)
                                                                                                                                   MT) site
                                                                                                                                        site .. Medical
                                                                                                                                                Medical gas
                                                                                                                                                          gas master
                                                                                                                                                              master
                                    text,
                                    text, refer
                                           refer to
                                                  to NFPA
                                                      NFPA 99-2012:
                                                              99-2012: 5.1.9;
                                                                        5.1.9; 5.2.9;  5.3.6.2.2) | alarm
                                                                                5.2.9; 5.3.6.2.2)        alarm panel
                                                                                                                panel did
                                                                                                                        did not
                                                                                                                             not contain
                                                                                                                                 contain all
                                                                                                                                          all required
                                                                                                                                               required components
                                                                                                                                                         components
                                                                                                         as noted
                                                                                                         as noted inin the
                                                                                                                       the annual
                                                                                                                            annual system
                                                                                                                                     system inspection.
                                                                                                                                               inspection. Observed
                                                                                                                                                            Observed
                                                                                                         by the
                                                                                                         by the facility
                                                                                                                facility manager.
                                                                                                                          manager.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                            17 of
                                                                                           17 of 47
                                                                                                 47                                                                  Final
                                                                                                                                                                     Final Report:
                                                                                                                                                                           Report: Posted
                                                                                                                                                                                   Posted 7/21/2022
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                                                                                                                                                                                                      PL 252

                                                                                        FER_19                                                                                 TRIAL EXHIBIT 222
                                                                                                                                                                                    Page 17 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 20 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 18 of 47

                                                                          The
                                                                          The Joint
                                                                              Joint Commission
                                                                                    Commission
                               ™
                     SAFER™
Standard
Standard      EP     SAFER             EP
                                       EP Text
                                          Text                                                                         Observation
                                                                                                                       Observation                                                      CoP                 CoP
                                                                                                                                                                                                            CoP Score
                                                                                                                                                                                                                Score
                     Placement
                     Placement

EC.02.05.09
EC.02.05.09   11
              il     Low
                     Low               The
                                       The hospital
                                              hospital makes
                                                          makes mainmain supply
                                                                             supply valves
                                                                                         valves and and area
                                                                                                           area        1)) Observed
                                                                                                                           Observed in  in Building
                                                                                                                                            Building Tour
                                                                                                                                                       Tour atat Providence
                                                                                                                                                                  Providence Health
                                                                                                                                                                                  Health | §482.41(d)(2)
                                                                                                                                                                                            §482.41(d)(2)   Standard
                                                                                                                                                                                                            Standard
                     Limited
                     Limited           shutoff valves
                                       shutoff    valves forfor piped
                                                                 piped medical
                                                                          medical gas   gas andand vacuum
                                                                                                      vacuum           i” Services
                                                                                                                       and   Services -- Montana
                                                                                                                                            Montana (500(500 West
                                                                                                                                                               West Broadway,
                                                                                                                                                                       Broadway,
                                       systems
                                       systems accessible
                                                    accessible and  and clearly
                                                                           clearly identifies
                                                                                       identifies whatwhat the the     Missoula,
                                                                                                                       Missoula, MT)MT) site
                                                                                                                                           site .. On
                                                                                                                                                   On the
                                                                                                                                                       the 1st
                                                                                                                                                            1st floor
                                                                                                                                                                 floor in
                                                                                                                                                                        in the
                                                                                                                                                                           the 3T
                                                                                                                                                                                3T MRI
                                                                                                                                                                                    MRI
                                       valves
                                       valves control.
                                                 control. Piping
                                                             Piping isis labeled
                                                                           labeled by   by stencil
                                                                                             stencil or or             equipment
                                                                                                                       equipment room room Medical
                                                                                                                                              Medical gasgas piping
                                                                                                                                                               piping was
                                                                                                                                                                        was not
                                                                                                                                                                              not labeled
                                                                                                                                                                                   labeled
                                       adhesive
                                       adhesive markers
                                                      markers identifying
                                                                  identifying the  the gas
                                                                                         gas or or vacuum
                                                                                                    vacuum             by
                                                                                                                       by stencil
                                                                                                                           stencil or
                                                                                                                                    or adhesive
                                                                                                                                       adhesive markers
                                                                                                                                                     markers identifying
                                                                                                                                                                 identifying the
                                                                                                                                                                               the gas
                                                                                                                                                                                    gas or
                                                                                                                                                                                         or
                                       system, including
                                       system,     including the the name
                                                                      name of    of system
                                                                                     system or    or chemical
                                                                                                      chemical         vacuum system,
                                                                                                                       vacuum     system, including
                                                                                                                                              including the
                                                                                                                                                          the name
                                                                                                                                                                name of of system
                                                                                                                                                                            system oror
                                       symbol, color
                                       symbol,     color code
                                                           code (see
                                                                   (see NFPA
                                                                           NFPA 99-2012:
                                                                                      99-2012: Table Table             chemical symbol,
                                                                                                                       chemical    symbol, color
                                                                                                                                               color code.
                                                                                                                                                      code. TheThe Director
                                                                                                                                                                     Director ofof
                                       5.1.11),
                                       5.1.11), andand operating
                                                          operating pressure
                                                                        pressure ifif otherother than
                                                                                                    than               Engineering
                                                                                                                       Engineering confirmed
                                                                                                                                       confirmed the  the observation.
                                                                                                                                                           observation.
                                       standard. Labels
                                       standard.      Labels areare at
                                                                     at intervals
                                                                          intervals of   of 20
                                                                                             20 feet
                                                                                                  feet oror less
                                                                                                             less
                                       and
                                       and are
                                             are inin every
                                                       every room,
                                                               room, at  at both
                                                                             both sides
                                                                                     sides of  of wall
                                                                                                   wall
                                       penetrations,
                                       penetrations, and   and onon every
                                                                     every storystory traversed
                                                                                         traversed by    by riser.
                                                                                                              riser.
                                       Piping
                                       Piping is is not
                                                     not painted.
                                                          painted. Shutoff
                                                                      Shutoff valves
                                                                                   valves are  are identified
                                                                                                     identified
                                       with
                                       with the
                                              the name
                                                   name or  or chemical
                                                                chemical symbolsymbol of    of the
                                                                                                the gas
                                                                                                      gas oror
                                       vacuum
                                       vacuum system,
                                                    system, roomroom or or area
                                                                            area served,
                                                                                     served, and  and caution
                                                                                                         caution
                                       to not
                                       to  not use
                                                use thethe valve
                                                            valve except
                                                                    except in   in emergency.
                                                                                    emergency. (For     (For full
                                                                                                                full
                                       text, refer
                                       text,  refer toto NFPA
                                                          NFPA 99-2012:
                                                                   99-2012: 5.1.4;5.1.4; 5.1.11.1;
                                                                                             5.1.11.1;
                                       5.1.11.2; 5.1.14.3;
                                       5.1.11.2;     5.1.14.3; 5.2.11;
                                                                  5.2.11; 5.3.13.3;
                                                                              5.3.13.3; 5.3.11)
                                                                                              5.3.11)
                                                                                                                       2) Observed
                                                                                                                       2) Observed in    in Building
                                                                                                                                             Building Tour
                                                                                                                                                         Tour atat Providence
                                                                                                                                                                     Providence Health
                                                                                                                                                                                   Health | §482.41(d)(2)
                                                                                                                                                                                            §482.41(d)(2)   Standard
                                                                                                                                                                                                            Standard
                                                                                                                       and
                                                                                                                       and Services
                                                                                                                             Services -- Montana
                                                                                                                                             Montana (500 (500 West
                                                                                                                                                                 West Broadway,
                                                                                                                                                                         Broadway,
                                                                                                                       Missoula, MT)
                                                                                                                       Missoula,     MT) site
                                                                                                                                            site .. On
                                                                                                                                                    On the
                                                                                                                                                         the 4th
                                                                                                                                                              4th floor
                                                                                                                                                                    floor above
                                                                                                                                                                          above the
                                                                                                                                                                                  the
                                                                                                                       dropped
                                                                                                                       dropped ceiling
                                                                                                                                   ceiling system
                                                                                                                                              system forfor the
                                                                                                                                                             the south
                                                                                                                                                                   south Ortho
                                                                                                                                                                           Ortho medical
                                                                                                                                                                                  medical
                                                                                                                       gas
                                                                                                                       gas piping
                                                                                                                             piping was
                                                                                                                                      was notnot labeled
                                                                                                                                                   labeled byby stencil
                                                                                                                                                                  stencil or
                                                                                                                                                                           or adhesive
                                                                                                                                                                              adhesive
                                                                                                                       markers
                                                                                                                       markers identifying
                                                                                                                                   identifying the the gas
                                                                                                                                                        gas oror vacuum
                                                                                                                                                                  vacuum system,
                                                                                                                                                                             system,
                                                                                                                       including the
                                                                                                                       including    the name
                                                                                                                                         name of   of system
                                                                                                                                                      system or  or chemical
                                                                                                                                                                      chemical symbol,
                                                                                                                                                                                symbol,
                                                                                                                       color code.
                                                                                                                       color  code. TheThe Director
                                                                                                                                              Director of of Engineering
                                                                                                                                                             Engineering confirmed
                                                                                                                                                                              confirmed
                                                                                                                       the observation.
                                                                                                                       the  observation.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                      18 of
                                                                                                     18 of 47
                                                                                                           47                                                             Final
                                                                                                                                                                          Final Report:
                                                                                                                                                                                Report: Posted
                                                                                                                                                                                        Posted 7/21/2022
                                                                                                                                                                                               (/21/2022
                                                                                                                                                                                                       PL 253

                                                                                                 FER_20                                                                           TRIAL EXHIBIT 222
                                                                                                                                                                                       Page 18 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 21 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 19 of 47

                                                                     The
                                                                     The Joint
                                                                         Joint Commission
                                                                               Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                      Observation
                                                                                                                 Observation                                                                   CoP            CoP
                                                                                                                                                                                                              CoP Score
                                                                                                                                                                                                                  Score
                     Placement
                     Placement

EC.02.05.09
EC.02.05.09   12
              12     Moderate
                     Moderate       The
                                     The hospital
                                           hospital implements
                                                        implements a         a policy
                                                                                 policy on on all
                                                                                                all cylinders
                                                                                                      cylinders         1)) Observed
                                                                                                                            Observed in    in Tracer
                                                                                                                                              Tracer Activities
                                                                                                                                                      Activities at at Providence
                                                                                                                                                                        Providence
                     Limited
                     Limited        within
                                     within the
                                              the hospital
                                                    hospital that that includes
                                                                         includes the   the following:
                                                                                              following:                Health
                                                                                                                        An and    and Services
                                                                                                                                         Services - Montana
                                                                                                                                                      Montana (500 (500 West
                                                                                                                                                                          West
                                    -- Labeling,
                                       Labeling, handling,
                                                      handling, and   and transporting
                                                                              transporting (for          example, | Broadway,
                                                                                                   (for example,        Broadway, Missoula,
                                                                                                                                         Missoula, MT)
                                                                                                                                                     MT) site
                                                                                                                                                           site .. During
                                                                                                                                                                   During a  a tour
                                                                                                                                                                               tour of
                                                                                                                                                                                     of the
                                                                                                                                                                                        the
                                    in
                                     in carts,
                                        carts, attached
                                                 attached to     to equipment,
                                                                     equipment, on       on racks)
                                                                                             racks) in   in             outpatient
                                                                                                                        outpatient imaging
                                                                                                                                       imaging department,
                                                                                                                                                  department, two  two CO2
                                                                                                                                                                         CO2 gasgas
                                    accordance
                                     accordance with   with NFPA
                                                               NFPA 99-2012:
                                                                          99-2012: 11.5.3.111.5.3.1 and         11.6.2] cylinders
                                                                                                         and 11.6.2     cylinders were
                                                                                                                                     were observed
                                                                                                                                              observed standing
                                                                                                                                                         standing upright
                                                                                                                                                                       upright onon the
                                                                                                                                                                                    the
                                    -- Physically
                                       Physically segregating
                                                       segregating full     full and
                                                                                   and empty
                                                                                         empty cylinders
                                                                                                     cylinders          floor next
                                                                                                                        floor  next toto the
                                                                                                                                          the rack
                                                                                                                                               rack used
                                                                                                                                                    used forfor storage
                                                                                                                                                                storage of  of these.
                                                                                                                                                                               these. This
                                                                                                                                                                                        This
                                    from
                                     from each
                                            each other
                                                     other in in order
                                                                   order to to assist
                                                                                  assist staff
                                                                                           staff in in selecting
                                                                                                        selecting       was
                                                                                                                        was not
                                                                                                                              not in
                                                                                                                                   in accordance
                                                                                                                                        accordance withwith applicable
                                                                                                                                                              applicable standards
                                                                                                                                                                             standards
                                     the proper
                                    the   proper cylinder
                                                     cylinder                                                           and regulations
                                                                                                                        and   regulations whichwhich required
                                                                                                                                                      required medical
                                                                                                                                                                   medical gasgas
                                    -- Adaptors
                                       Adaptors or   or conversion
                                                          conversion fittingsfittings areare prohibited
                                                                                               prohibited               cylinders to
                                                                                                                        cylinders    to bebe secured.
                                                                                                                                              secured.
                                    -- Oxygen
                                       Oxygen cylinders,
                                                   cylinders, containers,
                                                                    containers, and     and associated
                                                                                               associated
                                    equipment
                                     equipment are    are protected
                                                            protected from   from contamination,
                                                                                      contamination,
                                    damage,
                                     damage, and   and contact
                                                          contact with with oil oil and
                                                                                     and grease
                                                                                           grease
                                    -- Cylinders
                                       Cylinders are  are kept
                                                            kept awayaway from from heat
                                                                                       heat andand flammable
                                                                                                       flammable
                                    materials
                                     materials and and do do notnot exceed
                                                                      exceed a      a temperature
                                                                                       temperature of       of 130°F
                                                                                                                130°F
                                    -- Nitrous
                                       Nitrous oxide
                                                  oxide and and carbon
                                                                    carbon dioxidedioxide cylinders
                                                                                             cylinders do    do not
                                                                                                                  not
                                    reach
                                     reach temperatures
                                              temperatures lower     lower thanthan manufacturer
                                                                                       manufacturer
                                     recommendations or
                                    recommendations               or -20°F
                                                                      -20°F
                                    -- Valve
                                       Valve protection
                                                protection caps   caps (if(if supplied)
                                                                               supplied) are  are secured
                                                                                                      secured in   in
                                    place
                                     place when
                                             when cylinder
                                                       cylinder is   is not
                                                                        not in  in use
                                                                                    use
                                    -- Labeling
                                       Labeling empty
                                                    empty cylinders
                                                                cylinders
                                    -- Prohibiting
                                       Prohibiting transfilling
                                                        transfilling in   in any
                                                                               any compartment
                                                                                      compartment with      with
                                    patient
                                     patient care
                                               care
                                    (For
                                     (For full
                                           full text,
                                                 text, refer
                                                         refer to to NFPA
                                                                      NFPA 99-2012:99-2012: 11.6.1;
                                                                                                  11.6.1; 11.6.2;
                                                                                                              11.6.2;
                                     11.6.5; 11.7.3)
                                    11.6.5;     11.7.3)
EC.02.06.01
EC.02.06.01   1      Moderate
                     Moderate       Interior
                                    Interior spaces
                                             spaces meet
                                                    meet the
                                                           the needs
                                                                needs ofof the
                                                                           the patient
                                                                                patient                          1)
                                                                                                                 1) Observed
                                                                                                                    Observed in    in Tracer
                                                                                                                                       Tracer Activities
                                                                                                                                                Activities at  at Providence
                                                                                                                                                                   Providence                  §482.41
                                                                                                                                                                                               §482.41        Standard
                                                                                                                                                                                                              Standard
                     Pattern
                     Pattern        population
                                    population and
                                                and are
                                                    are safe
                                                         safe and
                                                               and suitable
                                                                    suitable to
                                                                              to the
                                                                                  the care,
                                                                                      care,                      Health
                                                                                                                 Health and
                                                                                                                          and Services
                                                                                                                                 Services -- Montana
                                                                                                                                                Montana (500  (500 West
                                                                                                                                                                     West
                                    treatment, and
                                    treatment,  and services
                                                    services provided.
                                                               provided.                                         Broadway, Missoula,
                                                                                                                 Broadway,      Missoula, MT)  MT) site
                                                                                                                                                     site .. During
                                                                                                                                                              During tracer
                                                                                                                                                                       tracer
                                                                                                                 activities in
                                                                                                                 activities  in the
                                                                                                                                 the Emergency
                                                                                                                                       Emergency Department,
                                                                                                                                                       Department, bubbledbubbled
                                                                                                                 and peeling
                                                                                                                 and   peeling ceiling
                                                                                                                                  ceiling paint
                                                                                                                                            paint in
                                                                                                                                                   in the
                                                                                                                                                       the ambulance
                                                                                                                                                             ambulance bay   bay and
                                                                                                                                                                                  and
                                                                                                                 ED
                                                                                                                 ED patient
                                                                                                                      patient care
                                                                                                                                care hallway
                                                                                                                                        hallway were
                                                                                                                                                  were noted,
                                                                                                                                                           noted, as as well
                                                                                                                                                                         well as
                                                                                                                                                                               as two
                                                                                                                                                                                  two
                                                                                                                 stained
                                                                                                                 stained ceiling
                                                                                                                           ceiling tiles
                                                                                                                                      tiles in
                                                                                                                                            in the
                                                                                                                                               the EDED patient
                                                                                                                                                          patient care
                                                                                                                                                                     care hallway.
                                                                                                                                                                            hallway.
                                                                                                                 The
                                                                                                                 The EDED leader
                                                                                                                            leader waswas present
                                                                                                                                             present at at the
                                                                                                                                                            the time
                                                                                                                                                                  time of
                                                                                                                                                                        of the
                                                                                                                                                                           the
                                                                                                                 observation.
                                                                                                                 observation.
                                                                                                                 2) Observed
                                                                                                                 2) Observed in    in Tracer
                                                                                                                                      Tracer Activities
                                                                                                                                               Activities at at Providence
                                                                                                                                                                 Providence                    §482.41
                                                                                                                                                                                               §482.41        Standard
                                                                                                                                                                                                              Standard
                                                                                                                 Health and
                                                                                                                 Health   and Services
                                                                                                                                 Services -- Montana
                                                                                                                                               Montana (500  (500 West
                                                                                                                                                                   West
                                                                                                                 Broadway, Missoula,
                                                                                                                 Broadway,       Missoula, MT)MT) site
                                                                                                                                                    site .. During
                                                                                                                                                            During tracer
                                                                                                                                                                     tracer
                                                                                                                 activities in
                                                                                                                 activities   in the
                                                                                                                                 the Clinical
                                                                                                                                      Clinical Decision
                                                                                                                                                Decision Unit,Unit, a
                                                                                                                                                                    a stained
                                                                                                                                                                      stained
                                                                                                                 ceiling tile
                                                                                                                 ceiling  tile was
                                                                                                                                was observed
                                                                                                                                      observed in in the
                                                                                                                                                      the Medication
                                                                                                                                                            Medication Room.
                                                                                                                                                                          Room.
                                                                                                                 This
                                                                                                                 This was
                                                                                                                       was also
                                                                                                                              also observed
                                                                                                                                     observed by by the
                                                                                                                                                      the Department
                                                                                                                                                            Department leader.
                                                                                                                                                                           leader.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                19 of
                                                                                               19 of 47
                                                                                                     47                                                                       Final
                                                                                                                                                                              Final Report:
                                                                                                                                                                                    Report: Posted
                                                                                                                                                                                            Posted 7/21/2022
                                                                                                                                                                                                   (/21/2022
                                                                                                                                                                                                         PL 254

                                                                                           FER_21                                                                                        TRIAL EXHIBIT 222
                                                                                                                                                                                              Page 19 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 22 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 20 of 47

                                                   The
                                                   The Joint
                                                       Joint Commission
                                                             Commission
                     SAFER™
                      AFER™                                                            .
Standard
Standard      EP                    EP
                                    EP Text
                                       Text                               Observation
                                                                          Observation                                                          CoP
                                                                                                                                               EN                     CoP
                                                                                                                                                                      CoP Score
                                                                                                                                                                          Score
                     Placement
                      lacement

                                                                          3)
                                                                          3) Observed
                                                                              Observed in   in Medication
                                                                                                 Medication Management
                                                                                                                  Management Tracer   Tracer at at    §482.25(b)(1)
                                                                                                                                                      Ea   25(b)(1    Standard
                                                                                                                                                                      Standard
                                                                          Providence Health
                                                                          Providence      Health and  and Services
                                                                                                             Services -- Montana
                                                                                                                             Montana (500  (500
                                                                          West
                                                                          West Broadway,
                                                                                  Broadway, Missoula,
                                                                                                   Missoula, MT)  MT) site
                                                                                                                         site .. A
                                                                                                                                 A pop-out
                                                                                                                                    pop-out style
                                                                                                                                                style
                                                                          sprinkler
                                                                          sprinkler head
                                                                                       head in in the
                                                                                                   the ceiling
                                                                                                         ceiling ofof the
                                                                                                                       the medication
                                                                                                                             medication
                                                                          compounding
                                                                          compounding buffer  buffer room,
                                                                                                         room, where
                                                                                                                 where laminar
                                                                                                                            laminar flowflow hoods
                                                                                                                                              hoods
                                                                          were in
                                                                          were   in use,
                                                                                     use, had
                                                                                           had a   a significant
                                                                                                      significant gap gap between
                                                                                                                             between the  the
                                                                          sprinkler head
                                                                          sprinkler    head andand the the ceiling
                                                                                                            ceiling (more
                                                                                                                      (more thatthat 1/4
                                                                                                                                       1/4 inch)
                                                                                                                                            inch)
                                                                          which resulted
                                                                          which    resulted in  in exposed
                                                                                                   exposed ceiling
                                                                                                                 ceiling surface
                                                                                                                            surface withwith paint
                                                                                                                                              paint
                                                                          edges pulling
                                                                          edges    pulling back
                                                                                              back slightly
                                                                                                       slightly on
                                                                                                                 on the
                                                                                                                      the perimeter
                                                                                                                            perimeter of   of the
                                                                                                                                              the
                                                                          painted area.
                                                                          painted    area. This
                                                                                             This created
                                                                                                      created thethe risk
                                                                                                                       risk the
                                                                                                                              the surfaces
                                                                                                                                   surfaces
                                                                          could harbor
                                                                          could   harbor microorganisms
                                                                                            microorganisms and        and result
                                                                                                                             result in
                                                                                                                                     in
                                                                          contamination
                                                                          contamination of     of the
                                                                                                   the medication
                                                                                                         medication compounding
                                                                                                                          compounding
                                                                          process.
                                                                          process. This
                                                                                      This waswas confirmed
                                                                                                      confirmed by   by the
                                                                                                                         the pharmacy
                                                                                                                                pharmacy
                                                                          director.
                                                                          director. Facilities
                                                                                      Facilities immediately
                                                                                                     immediately corrected
                                                                                                                        corrected the the issue
                                                                                                                                            issue
                                                                          prior to
                                                                          prior to the
                                                                                    the end
                                                                                         end of  of the
                                                                                                     the survey.
                                                                                                           survey.
                                                                          4) Observed
                                                                          4) Observed in in Tracer
                                                                                            Tracer Activities
                                                                                                    Activities at  at Providence
                                                                                                                      Providence            §482.41(a)
                                                                                                                                            §482.41(a)                Standard
                                                                                                                                                                      Standard
                                                                          Health and
                                                                          Health  and Services
                                                                                       Services -- Montana
                                                                                                    Montana (500  (500 West
                                                                                                                         West
                                                                          Broadway, Missoula,
                                                                          Broadway,    Missoula, MT)
                                                                                                   MT) site
                                                                                                          site .. During
                                                                                                                  During tracer
                                                                                                                            tracer tour
                                                                                                                                    tour of
                                                                                                                                         of
                                                                          the kitchen,
                                                                          the kitchen, penetrations
                                                                                        penetrations in in the
                                                                                                            the ceiling
                                                                                                                  ceiling in
                                                                                                                           in the
                                                                                                                               the
                                                                          dishwasher room
                                                                          dishwasher    room and
                                                                                               and the
                                                                                                    the main
                                                                                                          main kitchen
                                                                                                                  kitchen were
                                                                                                                             were
                                                                          observed. The
                                                                          observed.   The Department
                                                                                            Department Director
                                                                                                            Director waswas present
                                                                                                                               present and
                                                                                                                                        and
                                                                          also observed.
                                                                          also
                                                                          5)
                                                                          5) Observed
                                                                             Observed in   in Tracer
                                                                                              Tracer Activities
                                                                                                       Activities at  at Providence
                                                                                                                          Providence             §482.41(a)
                                                                                                                                                 §482.41(a)           Standard
                                                                                                                                                                      Standard
                                                                          Health
                                                                          Health and
                                                                                   and Services
                                                                                         Services -- Montana
                                                                                                       Montana (500  (500 West
                                                                                                                            West
                                                                          Broadway,
                                                                          Broadway, Missoula,
                                                                                        Missoula, MT) MT) site
                                                                                                            site .. During
                                                                                                                     During tracer
                                                                                                                              tracer
                                                                          activities
                                                                          activities on
                                                                                      on the
                                                                                          the 55 North
                                                                                                  North Nursing
                                                                                                         Nursing Unit, Unit, ceiling
                                                                                                                             ceiling
                                                                          penetrations
                                                                          penetrations werewere observed
                                                                                                  observed in   in the
                                                                                                                    the equipment
                                                                                                                          equipment andand
                                                                          supply
                                                                          supply storage
                                                                                   storage area.
                                                                                              area. The
                                                                                                     The Unit
                                                                                                           Unit Director
                                                                                                                   Director was
                                                                                                                              was present
                                                                                                                                     present
                                                                          at
                                                                          at the
                                                                             the time
                                                                                  time of
                                                                                        of the
                                                                                            the observation.
                                                                                                 observation.
                                                                          6)
                                                                          6) Observed
                                                                             Observed in in Building
                                                                                             Building Tour
                                                                                                         Tour atat Providence
                                                                                                                   Providence Health
                                                                                                                                 Health | §482.41(a)
                                                                                                                                           §482.41(a)                 Standard
                                                                                                                                                                      Standard
                                                                          and
                                                                          and Services
                                                                               Services -- Montana
                                                                                            Montana (500  (500 West
                                                                                                                West Broadway,
                                                                                                                       Broadway,
                                                                          Missoula, MT)
                                                                          Missoula,  MT) site
                                                                                            site .. 2
                                                                                                    2 sharps
                                                                                                      sharps containers
                                                                                                                containers inin the
                                                                                                                                the lab
                                                                                                                                      lab
                                                                          were being
                                                                          were  being used
                                                                                       used as  as pencil
                                                                                                    pencil holders
                                                                                                             holders in
                                                                                                                      in violation
                                                                                                                         violation with
                                                                                                                                     with
                                                                          bloodborne
                                                                          bloodborne pathogen
                                                                                       pathogen regulations.
                                                                                                      regulations. Observed
                                                                                                                     Observed by   by the
                                                                                                                                       the
                                                                          laboratory
                                                                          laboratory manager.
                                                                                      manager.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                20 of
                                                               20 of 47
                                                                     47                                                          Final
                                                                                                                                 Final Report:
                                                                                                                                       Report: Posted
                                                                                                                                               Posted 7/21/2022
                                                                                                                                                      (/21/2022
                                                                                                                                                                 PL 255

                                                             FER_22                                                                       TRIAL EXHIBIT 222
                                                                                                                                               Page 20 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 23 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 21 of 47

                                                                     The
                                                                     The Joint
                                                                         Joint Commission
                                                                               Commission
                      SAFER™
                      SAFER™
Standard
Standard      EP
              er                     EP
                                     EP Text
                                        Text                                                                     Observation
                                                                                                                 observation                                                             CoP              CoP Score
                      Placement
                      Placement
                                                                                                overtone                                                                                                 Joopsaone
1C.01.02.01
IC.01.02.01    1
               1      Low
                      Low            The hospital
                                     The  hospital provides
                                                    provides access
                                                               access to
                                                                       to information
                                                                          information needed
                                                                                         needed 1)
                                                                                                1) Observed
                                                                                                   Observed in  in Tracer
                                                                                                                   Tracer Activities
                                                                                                                            Activities atat Providence
                                                                                                                                             Providence
                      Limited
                      Limited        to
                                     to support
                                        support the
                                                 the infection
                                                      infection prevention
                                                                prevention and
                                                                             and control
                                                                                   control      Health
                                                                                                Health andand Services
                                                                                                              Services - Montana
                                                                                                                            Montana (500(500 West
                                                                                                                                               West
                                     program.
                                     program. (See
                                                 (See also
                                                       also IM.02.02.03,
                                                             IM.02.02.03, EPEP 2)
                                                                                2)              Broadway,
                                                                                                Broadway, Missoula,
                                                                                                              Missoula, MT)MT) site . During
                                                                                                                                       During the the tracer
                                                                                                                                                      tracer tour
                                                                                                                                                              tour
                                                                                                of
                                                                                                of the
                                                                                                   the kitchen,
                                                                                                        kitchen, bottom
                                                                                                                  bottom shelves
                                                                                                                            shelves onon the
                                                                                                                                           the food
                                                                                                                                                food
                                                                                                preparation/serving
                                                                                                preparation/serving supplies
                                                                                                                         supplies were
                                                                                                                                    were less
                                                                                                                                            less than
                                                                                                                                                  than 1818
                                                                                                inches
                                                                                                inches from
                                                                                                         from the
                                                                                                               the floor
                                                                                                                    floor and
                                                                                                                          and noted
                                                                                                                                noted toto not
                                                                                                                                            not have
                                                                                                                                                 have solid
                                                                                                                                                        solid
                                                                                                cover. This
                                                                                                cover.   This was
                                                                                                              was observed
                                                                                                                    observed by  by the
                                                                                                                                    the Department
                                                                                                                                           Department
                                                                                                Director.
                                                                                                Director.
IC.02.01.01
1C.02.01.01    2      Moderate
                      Moderate       The hospital
                                     The   hospital usesuses standard
                                                               standard precautions,
                                                                            precautions, ** including
                                                                                                including        1) Observed
                                                                                                                 1)  Observed in  in Tracer
                                                                                                                                      Tracer Activities
                                                                                                                                                 Activities at at Providence
                                                                                                                                                                  Providence             §482.42(a)(3)
                                                                                                                                                                                         §482.42(a)(3)    Standard
                                                                                                                                                                                                          Standard
                      Limited
                      Limited        the use
                                     the  use of
                                               of personal
                                                    personal protective
                                                                 protective equipment,
                                                                                equipment, to   to reduce
                                                                                                   reduce        Health and
                                                                                                                 Health    and Services
                                                                                                                                 Services - Montana
                                                                                                                                                Montana (500  (500 West
                                                                                                                                                                      West
                                     the risk
                                     the  risk of
                                               of infection.
                                                    infection.                                                   Broadway,
                                                                                                                 Broadway, Missoula,
                                                                                                                                Missoula, MT)  MT) site . During
                                                                                                                                                              During observation
                                                                                                                                                                        observation
                                     Note: Standard
                                     Note:   Standard precautions
                                                            precautions are  are infection
                                                                                   infection prevention
                                                                                               prevention        of the
                                                                                                                 of the room
                                                                                                                          room cleaning
                                                                                                                                 cleaning process
                                                                                                                                               process in  in the
                                                                                                                                                              the cardiac
                                                                                                                                                                    cardiac
                                     and
                                     and control
                                           control measures
                                                      measures to   to protect
                                                                        protect against
                                                                                   against possible
                                                                                              possible           catheterization
                                                                                                                 catheterization lab, lab, aa staff
                                                                                                                                               staff member
                                                                                                                                                      member was   was observed
                                                                                                                                                                          observed
                                     exposure
                                     exposure to   to infectious
                                                       infectious agents.
                                                                     agents. These
                                                                                 These precautions
                                                                                          precautions            transitioning
                                                                                                                 transitioning from
                                                                                                                                  from cleaning
                                                                                                                                          cleaning the the room
                                                                                                                                                             room to to handling
                                                                                                                                                                         handling
                                     are
                                     are general
                                          general and and applicable
                                                             applicable to to all
                                                                               all patients.
                                                                                    patients.                    clean
                                                                                                                 clean supplies
                                                                                                                         supplies forfor the
                                                                                                                                          the next
                                                                                                                                                next case
                                                                                                                                                      case without
                                                                                                                                                               without performing
                                                                                                                                                                          performing
                                     Footnote *:
                                     Footnote     *: For
                                                      For further
                                                           further information
                                                                     information regarding
                                                                                       regarding                 hand hygiene
                                                                                                                 hand    hygiene after
                                                                                                                                    after removed
                                                                                                                                            removed soiled
                                                                                                                                                         soiled gloves
                                                                                                                                                                   gloves andand
                                     standard precautions,
                                     standard     precautions, referrefer toto the
                                                                                the website
                                                                                     website of of the
                                                                                                   the           donning clean
                                                                                                                 donning     clean gloves.
                                                                                                                                     gloves. ItIt was
                                                                                                                                                   was noted
                                                                                                                                                          noted by by the
                                                                                                                                                                       the surveyor
                                                                                                                                                                            surveyor
                                     Centers for
                                     Centers    for Disease
                                                      Disease Control
                                                                  Control and and Prevention
                                                                                    Prevention (CDC)
                                                                                                   (CDC)         that the
                                                                                                                 that  the only
                                                                                                                            only hand
                                                                                                                                  hand sanitizer
                                                                                                                                           sanitizer dispenser
                                                                                                                                                        dispenser was  was located
                                                                                                                                                                             located
                                     at
                                     at                                                                          outside of
                                                                                                                 outside    of the
                                                                                                                               the room
                                                                                                                                    room in  in the
                                                                                                                                                the control
                                                                                                                                                     control booth,
                                                                                                                                                                 booth, and
                                                                                                                                                                          and not inin
                                     https://www.cdc.gov/hicpac/recommendations/core-
                                     https://www.cdc.gov/hicpac/recommendations/core-                            the procedure
                                                                                                                 the  procedure room room where
                                                                                                                                              where itit would
                                                                                                                                                         would be  be more
                                                                                                                                                                        more aligned
                                                                                                                                                                               aligned
                                     practices.html
                                     practices.html (Infection
                                                          (Infection Control
                                                                       Control in  in Healthcare
                                                                                       Healthcare                with their
                                                                                                                 with  their workflow.
                                                                                                                              workflow.
                                     Settings). (See
                                     Settings).     (See also
                                                           also EC.02.02.01,
                                                                  EC.02.02.01, EP     EP 3)
                                                                                          3)
IC.02.02.01
1C.02.02.01    2      Moderate
                      Moderate       The
                                     The hospital
                                           hospital implements
                                                        implements infection
                                                                         infection prevention
                                                                                       prevention and  and       1)
                                                                                                                 1) Observed
                                                                                                                     Observed in   in Tracer
                                                                                                                                       Tracer Activities
                                                                                                                                                Activities atat Providence
                                                                                                                                                                  Providence             §482.42(a)(2)
                                                                                                                                                                                         §482.42(a)(2)    Standard
                                                                                                                                                                                                          Standard
                      Limited
                      Limited        control
                                     control activities
                                                activities when
                                                              when doing
                                                                     doing the the following:
                                                                                     following:                  Health and
                                                                                                                 Health    and Services
                                                                                                                                 Services - Montana
                                                                                                                                                Montana (500 (500 West
                                                                                                                                                                     West
                                     Performing intermediate
                                     Performing       intermediate and  and high-level
                                                                               high-level disinfection
                                                                                              disinfection       Broadway, Missoula,
                                                                                                                 Broadway,       Missoula, MT) MT) site . The
                                                                                                                                                            The process
                                                                                                                                                                    process forfor
                                     and
                                     and sterilization
                                           sterilization of  of medical
                                                                 medical equipment,
                                                                            equipment, devices,
                                                                                             devices, and  and   precleaning instruments
                                                                                                                 precleaning      instruments and  and keeping
                                                                                                                                                         keeping them  them moist
                                                                                                                                                                              moist inin
                                     supplies.
                                     supplies. **                                                                the
                                                                                                                 the cardiac
                                                                                                                      cardiac catheterization
                                                                                                                                 catheterization lab  lab did
                                                                                                                                                           did not
                                                                                                                                                                 not include
                                                                                                                                                                        include aa
                                     Note: Sterilization
                                     Note:    Sterilization is  is used
                                                                   used for
                                                                          for items
                                                                                items such
                                                                                         such asas implants
                                                                                                     implants    means
                                                                                                                 means to  to accurately
                                                                                                                              accurately measure
                                                                                                                                              measure the the water
                                                                                                                                                                water mixed
                                                                                                                                                                          mixed with
                                                                                                                                                                                   with
                                     and surgical
                                     and   surgical instruments.
                                                        instruments. High-level
                                                                          High-level disinfection
                                                                                          disinfection may may   an enzymatic
                                                                                                                 an  enzymatic agent.agent. This
                                                                                                                                              This was
                                                                                                                                                     was not in  in accordance
                                                                                                                                                                     accordance
                                     also
                                     also bebe used
                                                 used ifif sterilization
                                                           sterilization is is not
                                                                                not possible,
                                                                                      possible, as as is
                                                                                                       is the
                                                                                                          the    with the
                                                                                                                 with  the manufacturer's
                                                                                                                             manufacturer's instructions
                                                                                                                                                  instructions for  for use,
                                                                                                                                                                         use, which
                                                                                                                                                                               which
                                     case
                                     case with
                                             with flexible
                                                    flexible endoscopes.
                                                               endoscopes.                                       stated
                                                                                                                 stated the
                                                                                                                          the required
                                                                                                                                required ratio
                                                                                                                                            ratio of
                                                                                                                                                   of water
                                                                                                                                                      water to to detergent
                                                                                                                                                                   detergent was was
                                     Footnote *:
                                     Footnote      *: For
                                                      For further
                                                            further information
                                                                     information regarding
                                                                                        regarding                1/8
                                                                                                                 1/8 to
                                                                                                                      to 1/2
                                                                                                                         1/2 ounces
                                                                                                                               ounces of  of enzymatic
                                                                                                                                             enzymatic per  per 11 gallon
                                                                                                                                                                      gallon of
                                                                                                                                                                              of water.
                                                                                                                                                                                  water.
                                     performing
                                     performing intermediate
                                                      intermediate and  and high-level
                                                                               high-level disinfection
                                                                                              disinfection
                                     of
                                     of medical
                                        medical equipment,
                                                     equipment, devices,
                                                                     devices, and  and supplies,
                                                                                          supplies, refer
                                                                                                       refer
                                     to the
                                     to the website
                                              website of  of the
                                                              the Centers
                                                                   Centers for  for Disease
                                                                                     Disease Control
                                                                                                  Control
                                     and Prevention
                                     and   Prevention (CDC) (CDC) at at
                                     https://www.cdc.gov/infectioncontrol/guidelines/disinf
                                     https://www.cdc.gov/infectioncontrol/guidelines/disinf
                                     ection/#r3 (Sterilization
                                     ection/#r3      (Sterilization and
                                                                      and Disinfection
                                                                              Disinfection in  in
                                     Healthcare Settings).
                                     Healthcare       Settings). (See
                                                                    (See also
                                                                            also EC.02.04.03,
                                                                                    EC.02.04.03, EP    EP 4)4)




        Organization Identification
        Organization Identification Number:
                                    Number: 9306
                                            9306                                              21 of
                                                                                              21 of 47
                                                                                                    47                                                                   Final Report:
                                                                                                                                                                         Final Report: Posted
                                                                                                                                                                                       Posted 7/21/2022
                                                                                                                                                                                              (/21/2022
                                                                                                                                                                                                    PL 256

                                                                                          FER_23                                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                                        Page 21 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 24 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 22 of 47

                                                   The
                                                   The Joint
                                                       Joint Commission
                                                             Commission
                     SAFER™™
Standard      EP                    EP Text                               Observation                                                               CoP               CoP Score
                     Placement
                                                                          2) Observed
                                                                          2)  Observed in  in Tracer
                                                                                              Tracer Activities
                                                                                                         Activities at at Providence
                                                                                                                           Providence               §482.42(a)(2)
                                                                                                                                                    §482.42(a)(2)     Standard
                                                                                                                                                                      Standard
                                                                          Health
                                                                          Health and
                                                                                   and Services
                                                                                         Services -- Montana
                                                                                                        Montana (500   (500 West
                                                                                                                              West
                                                                          Broadway,
                                                                          Broadway, Missoula,
                                                                                        Missoula, MT)  MT) site
                                                                                                              site .. The
                                                                                                                      The process
                                                                                                                             process for for
                                                                          testing new
                                                                          testing  new bottles
                                                                                          bottles ofof Cidex
                                                                                                        Cidex testtest strips
                                                                                                                        strips for
                                                                                                                                for
                                                                          reprocessing
                                                                          reprocessing TEE  TEE probes
                                                                                                   probes did did not
                                                                                                                    not adhere
                                                                                                                         adhere to  to the
                                                                                                                                        the
                                                                          manufacturer's
                                                                          manufacturer's recommendations.
                                                                                               recommendations. The        The technician
                                                                                                                                 technician
                                                                          who
                                                                          who performed
                                                                                performed this this task
                                                                                                     task reported
                                                                                                            reported thatthat the
                                                                                                                               the negative
                                                                                                                                     negative
                                                                          controls consisted
                                                                          controls   consisted of  of dipping
                                                                                                       dipping the the test
                                                                                                                        test strips
                                                                                                                              strips inin water
                                                                                                                                           water
                                                                          only, while
                                                                          only,  while the
                                                                                        the manufacturer
                                                                                              manufacturer requiredrequired a  a precise
                                                                                                                                  precise
                                                                          dilution
                                                                          dilution of
                                                                                    of water
                                                                                       water andand Cidex
                                                                                                      Cidex for for the
                                                                                                                     the negative
                                                                                                                          negative controls.
                                                                                                                                       controls.
                                                                          3)
                                                                          3) Observed
                                                                             Observed in  in Tracer
                                                                                             Tracer Activities
                                                                                                          Activities at  at Providence
                                                                                                                             Providence             §482.42(a)(2)
                                                                                                                                                    §482.42(a)(2)     Standard
                                                                                                                                                                      Standard
                                                                          Health
                                                                          Health and
                                                                                   and Services
                                                                                        Services -- Montana
                                                                                                         Montana (500   (500 West
                                                                                                                               West
                                                                          Broadway,
                                                                          Broadway, Missoula,
                                                                                        Missoula, MT)   MT) site
                                                                                                               site .. Ultrasound
                                                                                                                        Ultrasound
                                                                          transvaginal
                                                                          transvaginal probes
                                                                                          probes were were wiped
                                                                                                              wiped with with regular
                                                                                                                               regular towels
                                                                                                                                         towels
                                                                          rather
                                                                          rather than
                                                                                  than low
                                                                                        low lint
                                                                                              lint cloths
                                                                                                    cloths during
                                                                                                              during reprocessing
                                                                                                                          reprocessing of  of the
                                                                                                                                              the
                                                                          probes
                                                                          probes after
                                                                                   after use.
                                                                                         use. ThisThis was
                                                                                                         was not not in
                                                                                                                      in accordance
                                                                                                                           accordance withwith
                                                                          the
                                                                          the manufacturer's
                                                                               manufacturer's instructions
                                                                                                    instructions for   for use,
                                                                                                                            use, which
                                                                                                                                  which
                                                                          required use
                                                                          required   use of
                                                                                          of low
                                                                                              low lint
                                                                                                     lint cloths
                                                                                                           cloths for
                                                                                                                    for this
                                                                                                                          this step
                                                                                                                               step in
                                                                                                                                     in the
                                                                                                                                        the
                                                                          reprocessing
                                                                          reprocessing cycle.
                                                                                           cycle.
                                                                          4)
                                                                          4) Observed
                                                                             Observed in   in Tracer
                                                                                              Tracer Activities
                                                                                                         Activities at at Providence
                                                                                                                           Providence                 §482.42(a)(2)
                                                                                                                                                      §482.42(a)(2)   Standard
                                                                                                                                                                      Standard
                                                                          Health
                                                                          Health and
                                                                                   and Services
                                                                                        Services -- Montana
                                                                                                        Montana (500   (500 West
                                                                                                                              West
                                                                          Broadway,
                                                                          Broadway, Missoula,
                                                                                        Missoula, MT)  MT) site
                                                                                                              site .. The
                                                                                                                      The process
                                                                                                                             process for for
                                                                          performing
                                                                          performing precleaning
                                                                                        precleaning of     of transvaginal
                                                                                                              transvaginal probesprobes in   in the
                                                                                                                                                  the
                                                                          outpatient
                                                                          outpatient imaging
                                                                                       imaging center
                                                                                                   center did did not
                                                                                                                    not include
                                                                                                                         include a  a step
                                                                                                                                       step to  to
                                                                          preclean
                                                                          preclean the
                                                                                     the biopsy
                                                                                           biopsy channel
                                                                                                     channel of   of the
                                                                                                                      the probe.
                                                                                                                           probe. ThisThis was
                                                                                                                                             was
                                                                          not
                                                                          not in
                                                                               in accordance
                                                                                  accordance with with thethe manufacturer's
                                                                                                               manufacturer's
                                                                          instructions
                                                                          instructions for
                                                                                         for use,
                                                                                              use, which
                                                                                                     which required
                                                                                                               required the the channel
                                                                                                                                 channel to     to
                                                                          be
                                                                          be cleaned
                                                                              cleaned with
                                                                                        with a  a soft
                                                                                                  soft bristle
                                                                                                         bristle brush
                                                                                                                   brush wrapped
                                                                                                                            wrapped in   in a a
                                                                          cleaning wipe
                                                                          cleaning   wipe prior
                                                                                             prior to
                                                                                                    to performing
                                                                                                        performing high  high level
                                                                                                                                level
                                                                          disinfection.
                                                                          disinfection.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                22 of
                                                               22 of 47
                                                                     47                                                             Final
                                                                                                                                    Final Report:
                                                                                                                                          Report: Posted
                                                                                                                                                  Posted 7/21/2022
                                                                                                                                                         (/21/2022
                                                                                                                                                                 PL 257

                                                             FER_24                                                                          TRIAL EXHIBIT 222
                                                                                                                                                  Page 22 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 25 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 23 of 47

                                                                   The
                                                                   The Joint
                                                                       Joint Commission
                                                                             Commission
                     SAFER™ ™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                   Observation
                                                                                                              Observation                                                               CoP               CoP
                                                                                                                                                                                                          CoP Score
                                                                                                                                                                                                              Score
                     Placement
                     Placement

LS.02.01.10
LS.02.01.10   1
              1      Low
                     Low            Buildings
                                    Buildings meet
                                                 meet requirements
                                                          requirements for     for construction
                                                                                   construction type  type       1)) Observed
                                                                                                                     Observed in   in Building
                                                                                                                                       Building Tour
                                                                                                                                                   Tour atat Providence
                                                                                                                                                              Providence Health Health | §482.41(b)(1)(i)
                                                                                                                                                                                           §482.41(b)(1)(i) | Standard
                                                                                                                                                                                                              Standard
                     Limited
                     Limited        and height.
                                    and   height. InIn Types
                                                        Types I| andand IIIl construction,
                                                                              construction, alternative
                                                                                                  alternative and2 Services
                                                                                                                       Services - Montana
                                                                                                                                       Montana (500 (500 West
                                                                                                                                                           West Broadway,
                                                                                                                                                                   Broadway,
                                    protection
                                    protection measures
                                                  measures are    are permitted
                                                                         permitted to  to be    substituted | Missoula,
                                                                                            be substituted       Missoula, MT)MT) sitesite .. On
                                                                                                                                               On the
                                                                                                                                                   the 1st
                                                                                                                                                        1st floor
                                                                                                                                                             floor 3T
                                                                                                                                                                    3T equipment
                                                                                                                                                                          equipment
                                    for
                                    for sprinkler
                                         sprinkler protection
                                                     protection in   in specific
                                                                         specific areas
                                                                                     areas where         state | room
                                                                                               where state       room an an HVAC
                                                                                                                             HVAC air   air duct
                                                                                                                                             duct that
                                                                                                                                                   that was
                                                                                                                                                         was greater
                                                                                                                                                                greater than
                                                                                                                                                                           than 4  4 feet
                                                                                                                                                                                      feet
                                    or
                                    or local
                                        local regulations
                                               regulations prohibit
                                                                prohibit sprinklers.
                                                                             sprinklers. All All new
                                                                                                  new            in
                                                                                                                 in width
                                                                                                                     width was
                                                                                                                            was observed
                                                                                                                                  observed withoutwithout fire
                                                                                                                                                            fire sprinkler
                                                                                                                                                                  sprinkler
                                    buildings
                                    buildings contain
                                                 contain approved
                                                            approved automatic
                                                                            automatic sprinkler
                                                                                            sprinkler            protection
                                                                                                                 protection below
                                                                                                                               below the  the HVAC
                                                                                                                                                HVAC duct.
                                                                                                                                                        duct. The
                                                                                                                                                                The Director
                                                                                                                                                                       Director of  of
                                    systems. Existing
                                    systems.     Existing buildings
                                                             buildings contain
                                                                             contain approved
                                                                                        approved                 Facilities and
                                                                                                                 Facilities  and thethe Safety
                                                                                                                                           Safety Officer
                                                                                                                                                    Officer confirmed
                                                                                                                                                              confirmed the   the
                                    automatic
                                    automatic sprinkler
                                                  sprinkler systems
                                                               systems as     as required
                                                                                  required by   by the
                                                                                                    the          observation.The
                                                                                                                 observation.The surveyor surveyor discussed
                                                                                                                                                      discussed the  the Life
                                                                                                                                                                           Life Safety
                                                                                                                                                                                  Safety
                                    construction type.
                                    construction      type. (For
                                                              (For full
                                                                     full text,
                                                                           text, refer
                                                                                  refer toto NFPA
                                                                                               NFPA 101-101- | deficiency
                                                                                                                 deficiency with
                                                                                                                               with thethe organization,
                                                                                                                                             organization, and and itit was
                                                                                                                                                                         was
                                    2012: 18/19.1.6;
                                    2012:    18/19.1.6; 18.3.5.1;
                                                            18.3.5.1; 19.3.5.3;
                                                                           19.3.5.3; 18/19.3.5.4;
                                                                                         18/19.3.5.4;            determined that
                                                                                                                 determined      that thethe following
                                                                                                                                              following ILSMs
                                                                                                                                                           ILSMs willwill be
                                                                                                                                                                           be
                                    18/19.3.5.5; 18.3.5.6)
                                    18/19.3.5.5;      18.3.5.6)                                                  implemented until
                                                                                                                 implemented        until the
                                                                                                                                            the deficiency
                                                                                                                                                 deficiency has has been
                                                                                                                                                                      been resolved
                                                                                                                                                                               resolved
                                                                                                                 and
                                                                                                                 and according
                                                                                                                       according to   to the
                                                                                                                                           the organization’s
                                                                                                                                                organization’s ILSM ILSM policy:
                                                                                                                                                                             policy:
                                                                                                                 Conduct
                                                                                                                 Conduct education
                                                                                                                             education promoting
                                                                                                                                              promoting awareness
                                                                                                                                                            awareness of     of
                                                                                                                 deficiencies(EP-13)
                                                                                                                 deficiencies(EP-13)
LS.02.01.10
LS.02.01.10   14
              14     Low
                     Low            The
                                    The space
                                          space around
                                                   around pipes,
                                                             pipes, conduits,
                                                                     conduits, busbus ducts,
                                                                                        ducts,             1)
                                                                                                           1) Observed
                                                                                                              Observed in    in Building
                                                                                                                                 Building TourTour atat Providence
                                                                                                                                                         Providence Health  Health      §482.41(b)(1)(i)
                                                                                                                                                                                        §482.41(b)(1)(i) | Standard
                                                                                                                                                                                                           Standard
                     Limited
                     Limited        cables,
                                    cables, wires,
                                              wires, air
                                                       air ducts,
                                                           ducts, or
                                                                   or pneumatic
                                                                       pneumatic tubestubes                and
                                                                                                           and Services
                                                                                                                 Services -- Montana
                                                                                                                                 Montana (500  (500 West
                                                                                                                                                     West Broadway,
                                                                                                                                                              Broadway,
                                    penetrating the
                                    penetrating     the walls
                                                         walls or
                                                                or floors
                                                                   floors are
                                                                           are protected
                                                                                 protected with
                                                                                              with an
                                                                                                   an | Missoula,
                                                                                                           Missoula, MT) MT) site
                                                                                                                                site .. On
                                                                                                                                        On the
                                                                                                                                             the 2-hour
                                                                                                                                                   2-hour fire
                                                                                                                                                            fire rated
                                                                                                                                                                   rated wall
                                                                                                                                                                            wall
                                    approved
                                    approved fire-rated
                                                 fire-rated material.
                                                              material.                                    between
                                                                                                           between the the Broadway
                                                                                                                             Broadway Location
                                                                                                                                             Location and and FMCFMC identifed
                                                                                                                                                                          identifed
                                    Note: Polyurethane
                                    Note:   Polyurethane expanding
                                                              expanding foamfoam is is not
                                                                                       not an
                                                                                            an             by the
                                                                                                           by  the facility
                                                                                                                   facility representatives
                                                                                                                              representatives was     was observed
                                                                                                                                                            observed not     not
                                    accepted fire-rated
                                    accepted    fire-rated material
                                                              material for
                                                                        for this
                                                                             this purpose.
                                                                                   purpose. (For
                                                                                               (For full
                                                                                                    full | properly
                                                                                                           properly sealed
                                                                                                                      sealed with with a a "scab"
                                                                                                                                            "scab" type
                                                                                                                                                     type covering
                                                                                                                                                            covering over  over the
                                                                                                                                                                                  the
                                    text, refer
                                    text, refer to
                                                 to NFPA
                                                     NFPA 101-2012:
                                                              101-2012: 8.3.5)
                                                                           8.3.5)                          opening in
                                                                                                           opening    in the
                                                                                                                          the wall.
                                                                                                                                wall. The
                                                                                                                                        The Facilities
                                                                                                                                               Facilities Manager
                                                                                                                                                           Manager and     and the
                                                                                                                                                                                 the
                                                                                                           Facility
                                                                                                           Facility Representatives
                                                                                                                     Representatives confirmed confirmed the the
                                                                                                           observation.The
                                                                                                           observation.The surveyorsurveyor discussed
                                                                                                                                                 discussed the the Life
                                                                                                                                                                      Life Safety
                                                                                                                                                                              Safety
                                                                                                           deficiency
                                                                                                           deficiency with
                                                                                                                         with thethe organization,
                                                                                                                                      organization, and   and itit was
                                                                                                                                                                   was
                                                                                                           determined that
                                                                                                           determined      that the
                                                                                                                                  the following
                                                                                                                                        following ILSMs
                                                                                                                                                     ILSMs willwill be
                                                                                                                                                                     be
                                                                                                           implemented until
                                                                                                           implemented        until the
                                                                                                                                     the deficiency
                                                                                                                                           deficiency has has been
                                                                                                                                                                been resolved
                                                                                                                                                                          resolved
                                                                                                           and according
                                                                                                           and   according to   to the
                                                                                                                                    the organization’s
                                                                                                                                          organization’s ILSM ILSM policy:
                                                                                                                                                                       policy:
                                                                                                           Conduct education
                                                                                                           Conduct     education promoting
                                                                                                                                       promoting awareness
                                                                                                                                                      awareness of      of
                                                                                                           deficiencies(EP-13)
                                                                                                           deficiencies(EP-13)




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                             23 of
                                                                                            23 of 47
                                                                                                  47                                                                    Final
                                                                                                                                                                        Final Report:
                                                                                                                                                                              Report: Posted
                                                                                                                                                                                      Posted 7/21/2022
                                                                                                                                                                                             (/21/2022
                                                                                                                                                                                                   PL 258

                                                                                         FER_25                                                                                  TRIAL EXHIBIT 222
                                                                                                                                                                                      Page 23 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 26 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 24 of 47

                                                                The
                                                                The Joint
                                                                    Joint Commission
                                                                          Commission
                     SAFER™ ™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                            Observation
                                                                                                       Observation                                                        CoP
                                                                                                                                                                          CoP                    CoP
                                                                                                                                                                                                 CoP Score
                                                                                                                                                                                                     Score
                     Placement
                     Placement

LS.02.01.35
LS.02.01.35   4
              4      Low
                     Low            Piping for
                                    Piping   for approved
                                                  approved automatic
                                                             automatic sprinkler
                                                                         sprinkler systems
                                                                                    systems is is | 1)
                                                                                                    1) Observed
                                                                                                        Observed in  in Building
                                                                                                                         Building Tour Tour at  at Providence
                                                                                                                                                     Providence Health  Health | §482.41(b)(1)(i)
                                                                                                                                                                                  §482.41(b)(1)(i) | Standard
                                                                                                                                                                                                     Standard
                     Limited
                     Limited        not
                                    not used
                                         used toto support
                                                    support any
                                                             any other
                                                                 other item.
                                                                        item. (For
                                                                               (For full
                                                                                    full text,
                                                                                         text,      and
                                                                                                    and Services
                                                                                                          Services -- Montana
                                                                                                                         Montana (500   (500 West
                                                                                                                                                West Broadway,
                                                                                                                                                         Broadway,
                                    refer
                                    refer to
                                           to NFPA
                                               NFPA 25-2011:
                                                       25-2011: 5.2.2.2)
                                                                 5.2.2.2)                           Missoula,
                                                                                                    Missoula, MT)MT) site
                                                                                                                        site .. On
                                                                                                                                 On thethe 6th
                                                                                                                                             6th floor
                                                                                                                                                    floor the
                                                                                                                                                           the fire
                                                                                                                                                                 fire sprinkler
                                                                                                                                                                        sprinkler
                                                                                                    support
                                                                                                    support inin the
                                                                                                                 the mechanical
                                                                                                                       mechanical space    space for  for AHUs
                                                                                                                                                           AHUs (air  (air
                                                                                                    handler
                                                                                                    handler units)
                                                                                                              units) was
                                                                                                                       was observed
                                                                                                                              observed during  during survey
                                                                                                                                                          survey
                                                                                                    supporting duct
                                                                                                    supporting    duct work
                                                                                                                          work for for the
                                                                                                                                        the HVAC
                                                                                                                                              HVAC systemsystem and   and thethe
                                                                                                    fire
                                                                                                    fire protection
                                                                                                         protection water
                                                                                                                       water sprinkler
                                                                                                                                 sprinkler line. line. The
                                                                                                                                                        The Director
                                                                                                                                                               Director of   of
                                                                                                    Engineering confirmed
                                                                                                    Engineering     confirmed the     the observation.The
                                                                                                                                            observation.The surveyor    surveyor
                                                                                                    discussed the
                                                                                                    discussed    the Life
                                                                                                                       Life Safety
                                                                                                                              Safety deficiency
                                                                                                                                          deficiency with  with thethe
                                                                                                    organization, and
                                                                                                    organization,     and itit was
                                                                                                                                was determined
                                                                                                                                        determined that    that the
                                                                                                                                                                  the
                                                                                                    following ILSMs
                                                                                                    following   ILSMs willwill bebe implemented
                                                                                                                                      implemented until     until the
                                                                                                                                                                    the
                                                                                                    deficiency
                                                                                                    deficiency hashas been
                                                                                                                        been resolved
                                                                                                                                  resolved and   and according
                                                                                                                                                        according to     to the
                                                                                                                                                                            the
                                                                                                    organization's ILSM
                                                                                                    organization’s      ILSM policy:
                                                                                                                                 policy: Conduct
                                                                                                                                            Conduct education
                                                                                                                                                           education
                                                                                                    promoting awareness
                                                                                                    promoting    awareness of       of deficiencies(EP-13)
                                                                                                                                        deficiencies(EP-13)
LS.02.01.35
LS.02.01.35   14
              14     Low
                     Low            The hospital
                                    The  hospital meets
                                                   meets all
                                                          all other
                                                              other Life
                                                                    Life Safety
                                                                         Safety Code
                                                                                 Code                  1) Observed
                                                                                                       1)  Observed in     in Building
                                                                                                                               Building TourTour atat Providence
                                                                                                                                                       Providence Health
                                                                                                                                                                      Health | §482.41(b)(1)(i)
                                                                                                                                                                                 §482.41(b)(1)(i) | Standard
                                                                                                                                                                                                    Standard
                     Limited
                     Limited        automatic
                                    automatic extinguishing
                                                extinguishing requirements
                                                                requirements related
                                                                               related to
                                                                                       to              and
                                                                                                       and Services
                                                                                                             Services -- Montana
                                                                                                                               Montana (500  (500 West
                                                                                                                                                    West Broadway,
                                                                                                                                                           Broadway,
                                    NFPA
                                    NFPA 101-2012:
                                            101-2012: 18/19.3.5.
                                                        18/19.3.5.                                     Missoula,
                                                                                                       Missoula, MT)  MT) sitesite .. In
                                                                                                                                      In the
                                                                                                                                          the OR
                                                                                                                                               OR outside
                                                                                                                                                     outside the
                                                                                                                                                               the directors
                                                                                                                                                                    directors
                                                                                                       office,
                                                                                                       office, sprinkler
                                                                                                                sprinkler heads heads werewere missing
                                                                                                                                                  missing inin areas
                                                                                                                                                                areas that
                                                                                                                                                                        that
                                                                                                       were
                                                                                                       were originally
                                                                                                               originally designed
                                                                                                                              designed as    as skylights
                                                                                                                                                 skylights that
                                                                                                                                                             that were
                                                                                                                                                                   were later
                                                                                                                                                                           later
                                                                                                       converted to
                                                                                                       converted       to aa lighting
                                                                                                                              lighting system.
                                                                                                                                          system. Observed
                                                                                                                                                      Observed by  by the
                                                                                                                                                                       the
                                                                                                       facility manager.This
                                                                                                       facility  manager.This finding   finding was
                                                                                                                                                  was observed
                                                                                                                                                        observed during
                                                                                                                                                                     during
                                                                                                       survey
                                                                                                       survey activity,
                                                                                                                  activity, butbut corrected
                                                                                                                                     corrected onsite
                                                                                                                                                   onsite prior
                                                                                                                                                           prior to
                                                                                                                                                                  to the
                                                                                                                                                                      the
                                                                                                       surveyor’s
                                                                                                       surveyor’s departure.
                                                                                                                        departure. The   The corrective
                                                                                                                                               corrective action
                                                                                                                                                             action taken
                                                                                                                                                                     taken
                                                                                                       needs
                                                                                                       needs to  to be
                                                                                                                     be included
                                                                                                                          included in   in the
                                                                                                                                            the organization’s
                                                                                                                                                 organization’s Evidence
                                                                                                                                                                    Evidence
                                                                                                       of
                                                                                                       of Standards
                                                                                                           Standards Compliance
                                                                                                                            Compliance submission
                                                                                                                                               submission




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                        24 of
                                                                                       24 of 47
                                                                                             47                                                             Final
                                                                                                                                                            Final Report:
                                                                                                                                                                  Report: Posted
                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                 (/21/2022
                                                                                                                                                                                         PL 259

                                                                                    FER_26                                                                          TRIAL EXHIBIT 222
                                                                                                                                                                         Page 24 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 27 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 25 of 47

                                                                     The
                                                                     The Joint
                                                                         Joint Commission
                                                                               Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                      Observation
                                                                                                                 Observation                                                                 CoP        CoP
                                                                                                                                                                                                        CoP Score
                                                                                                                                                                                                            Score
                     Placement
                     Placement

NPSG.06.01.01
NPSG.06.01.01] 3
               3     Moderate
                     Moderate       Establish
                                     Establish policies
                                                    policies and
                                                               and procedures
                                                                     procedures for     for managing
                                                                                             managing the  the   1)) Observed
                                                                                                                     Observed in  in Tracer
                                                                                                                                      Tracer Activities
                                                                                                                                               Activities at  at Providence
                                                                                                                                                                  Providence
                     Limited
                     Limited        alarms
                                     alarms identified
                                                identified inin EP
                                                                 EP 2 2 above
                                                                         above that,that, atat aa minimum,
                                                                                                  minimum,       Health
                                                                                                                 An and   and Services
                                                                                                                                Services - Montana
                                                                                                                                               Montana (500  (500 West
                                                                                                                                                                     West
                                    address
                                     address the  the following:
                                                       following:                                                Broadway,
                                                                                                                 Broadway, Missoula,
                                                                                                                                Missoula, MT) MT) site
                                                                                                                                                    site .. During
                                                                                                                                                             During tracer
                                                                                                                                                                        tracer
                                    -- Clinically
                                       Clinically appropriate
                                                     appropriate settings
                                                                      settings for for alarm
                                                                                         alarm signals
                                                                                                  signals        activities
                                                                                                                 activities in
                                                                                                                             in the
                                                                                                                                the ICU
                                                                                                                                      ICU setting,
                                                                                                                                           setting, 3  3 of
                                                                                                                                                         of 8 8 cardiac
                                                                                                                                                                 cardiac monitors
                                                                                                                                                                            monitors
                                    -- When
                                       When alarmalarm signals
                                                         signals cancan bebe disabled
                                                                                disabled                         had HR
                                                                                                                 had   HR parameters
                                                                                                                           parameters that  that varied
                                                                                                                                                  varied fromfrom thethe HCO
                                                                                                                                                                          HCO
                                    -- When
                                       When alarmalarm parameters
                                                          parameters can   can be be changed
                                                                                       changed                   established
                                                                                                                 established default
                                                                                                                                 default parameters.
                                                                                                                                           parameters. The    The HCOHCO policy
                                                                                                                                                                             policy
                                    -- Who
                                       Who in in the
                                                  the organization
                                                        organization has  has thethe authority
                                                                                       authority to to set
                                                                                                       set       (Clinical Alarms
                                                                                                                 (Clinical  Alarms Management)
                                                                                                                                       Management) indicatedindicated thatthat
                                     alarm parameters
                                    alarm    parameters                                                          parameters can
                                                                                                                 parameters      can only
                                                                                                                                       only be
                                                                                                                                             be changed
                                                                                                                                                 changed with   with approval
                                                                                                                                                                       approval fromfrom
                                    -- Who
                                       Who in in the
                                                  the organization
                                                        organization has  has thethe authority
                                                                                       authority to to           BioMed and
                                                                                                                 BioMed    and Hospital
                                                                                                                                  Hospital Alarm
                                                                                                                                             Alarm Management
                                                                                                                                                       Management
                                     change alarm
                                    change       alarm parameters
                                                          parameters                                             Committee. The
                                                                                                                 Committee.      The ICUICU director
                                                                                                                                             director waswas present
                                                                                                                                                                 present at at the
                                                                                                                                                                                the time
                                                                                                                                                                                      time
                                    -- Who
                                       Who in in the
                                                  the organization
                                                        organization has  has thethe authority
                                                                                       authority to to set
                                                                                                       set       of
                                                                                                                 of observation
                                                                                                                     observation but but was
                                                                                                                                          was unable
                                                                                                                                                unable to  to present
                                                                                                                                                                present
                                    alarm
                                     alarm parameters
                                             parameters to     to “off”
                                                                  “off”                                          policy/documentation
                                                                                                                 policy/documentation that    that allowed
                                                                                                                                                    allowed clinical
                                                                                                                                                                  clinical staff
                                                                                                                                                                            staff to
                                                                                                                                                                                   to
                                    -- Monitoring
                                       Monitoring and  and responding
                                                             responding to     to alarm
                                                                                   alarm signals
                                                                                             signals             independently
                                                                                                                 independently adjust
                                                                                                                                    adjust alarm
                                                                                                                                             alarm parameters.
                                                                                                                                                      parameters.
                                    -- Checking
                                       Checking individual
                                                      individual alarm
                                                                   alarm signals
                                                                             signals for  for accurate
                                                                                               accurate
                                    settings,
                                     settings, proper
                                                   proper operation,
                                                            operation, and  and detectability
                                                                                   detectability
                                     (For more
                                    (For   more information,
                                                     information, refer
                                                                      refer toto Standard
                                                                                  Standard
                                     EC.02.04.03)
                                    EC.02.04.03)




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                25 of
                                                                                               25 of 47
                                                                                                     47                                                                    Final
                                                                                                                                                                           Final Report:
                                                                                                                                                                                 Report: Posted
                                                                                                                                                                                         Posted 7/21/2022
                                                                                                                                                                                                (/21/2022
                                                                                                                                                                                                   PL 260



                                                                                            FER_27                                                                                    TRIAL EXHIBIT 222
                                                                                                                                                                                           Page 25 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 28 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 26 of 47

                                                                       The
                                                                       The Joint
                                                                           Joint Commission
                                                                                 Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                            Observation
                                                                                                                       Observation                                                           CoP                  CoP
                                                                                                                                                                                                                  CoP Score
                                                                                                                                                                                                                      Score
                     Placement
                     Placement

NPSG.15.01.01
NPSG.15.01.01] 1
               1     Moderate
                     Moderate       For
                                    For psychiatric
                                         psychiatric hospitals
                                                         hospitals andand psychiatric
                                                                           psychiatric unitsunits in
                                                                                                  in          1)) Observed
                                                                                                                  Observed in  in Building
                                                                                                                                   Building TourTour at
                                                                                                                                                      at Providence
                                                                                                                                                         Providence Health
                                                                                                                                                                         Health && | §482.13(c)(2)
                                                                                                                                                                                     §482.13(c)(2)                Standard
                                                                                                                                                                                                                  Standard
                     Limited
                     Limited        general
                                    general hospitals:
                                               hospitals: TheThe hospital
                                                                   hospital conducts
                                                                              conducts an   an                Services-
                                                                                                              So           Montana
                                                                                                                           Montana (902  (902 North
                                                                                                                                                 North Orange
                                                                                                                                                        Orange Street,
                                                                                                                                                                  Street,
                                    environmental
                                    environmental risk  risk assessment
                                                               assessment that that identifies
                                                                                      identifies              Missoula,
                                                                                                              Missoula, MT)MT) site
                                                                                                                                  site .. At
                                                                                                                                          At the
                                                                                                                                              the NBMI
                                                                                                                                                   NBMI unit
                                                                                                                                                          unit there
                                                                                                                                                                there were
                                                                                                                                                                        were 33
                                    features
                                    features in in the
                                                   the physical
                                                        physical environment
                                                                    environment that   that could
                                                                                             could bebe       phones
                                                                                                              phones observed
                                                                                                                         observed in  in the
                                                                                                                                          the hallway
                                                                                                                                                hallway and
                                                                                                                                                         and open
                                                                                                                                                               open group
                                                                                                                                                                       group
                                    used
                                    used toto attempt
                                               attempt suicide;
                                                          suicide; the
                                                                     the hospital
                                                                          hospital takes
                                                                                       takes                  area
                                                                                                              area where
                                                                                                                    where thethe cord
                                                                                                                                   cord waswas approximately
                                                                                                                                                  approximately 24 24 inches
                                                                                                                                                                        inches in
                                                                                                                                                                                in
                                    necessary action
                                    necessary      action toto minimize
                                                                minimize thethe risk(s)
                                                                                  risk(s) (for
                                                                                           (for               length. Observed
                                                                                                              length.   Observed by   by unit
                                                                                                                                           unit manager
                                                                                                                                                 manager andand facilities
                                                                                                                                                                  facilities
                                    example,
                                    example, removal
                                                  removal of  of anchor
                                                                 anchor points,
                                                                          points, door
                                                                                     door hinges,
                                                                                            hinges, and and | director.
                                                                                                              director.
                                    hooks that
                                    hooks    that can
                                                   can bebe used
                                                              used for
                                                                    for hanging).
                                                                         hanging).

                                    For
                                    For nonpsychiatric
                                          nonpsychiatric units     units inin general
                                                                               general hospitals:
                                                                                            hospitals: The  The
                                    organization
                                    organization implements
                                                         implements procedures
                                                                            procedures to      to mitigate
                                                                                                    mitigate the the
                                    risk
                                    risk of
                                          of suicide
                                               suicide for for patients
                                                                patients at   at high
                                                                                  high risk
                                                                                          risk for
                                                                                                for suicide,
                                                                                                      suicide,
                                    such
                                    such as  as one-to-one
                                                 one-to-one monitoring,
                                                                    monitoring, removing
                                                                                       removing objectsobjects
                                    that pose
                                    that   pose a   a risk
                                                       risk for
                                                             for self-harm
                                                                   self-harm ifif they
                                                                                     they cancan be  be removed
                                                                                                          removed
                                    without adversely
                                    without     adversely affecting
                                                                 affecting the  the patient’s
                                                                                     patient's medical
                                                                                                     medical
                                    care, assessing
                                    care,    assessing objectsobjects brought
                                                                           brought into into aa room
                                                                                                  room by  by
                                    visitors, and
                                    visitors,    and using
                                                         using safe
                                                                  safe transportation
                                                                          transportation procedures
                                                                                                 procedures
                                    when moving
                                    when      moving patients
                                                           patients to  to other
                                                                            other parts
                                                                                     parts of of the
                                                                                                  the hospital.
                                                                                                         hospital.
                                    Note:
                                    Note: Nonpsychiatric
                                              Nonpsychiatric units     units inin general
                                                                                   general hospitals
                                                                                                hospitals do   do
                                    not
                                    not need
                                          need to  to be
                                                       be ligature
                                                            ligature resistant.
                                                                         resistant. Nevertheless,
                                                                                         Nevertheless,
                                    these
                                    these facilities
                                              facilities should
                                                            should routinely
                                                                        routinely assess
                                                                                      assess clinical
                                                                                                  clinical areas
                                                                                                              areas
                                    to identify
                                    to  identify objects
                                                     objects that
                                                                that could
                                                                        could be  be used
                                                                                       used forfor self-harm
                                                                                                     self-harm
                                    and
                                    and remove
                                           remove those those objects,
                                                                  objects, when when possible,
                                                                                         possible, from from thethe
                                    area
                                    area around
                                            around a     a patient
                                                            patient who who hashas been
                                                                                      been identified
                                                                                               identified as  as
                                    high risk
                                    high    risk for
                                                  for suicide.
                                                        suicide. ThisThis information
                                                                             information can    can be be used
                                                                                                           used
                                    for
                                    for training
                                         training staff
                                                      staff who
                                                              who monitor
                                                                      monitor high-risk
                                                                                   high-risk patients
                                                                                                 patients (for (for
                                    example, developing
                                    example,        developing checklists
                                                                      checklists to    to help
                                                                                           help staff
                                                                                                   staff
                                    remember
                                    remember which    which equipment
                                                               equipment should   should be  be removed
                                                                                                  removed
                                    when possible).
                                    when      possible).
                                                                                                                       2) Observed
                                                                                                                       2)  Observed in   in Building
                                                                                                                                             Building TourTour at
                                                                                                                                                                at Providence
                                                                                                                                                                    Providence Health
                                                                                                                                                                                  Health &    & | §482.13(c)(2)
                                                                                                                                                                                                  §482.13(c)(2)   Standard
                                                                                                                                                                                                                  Standard
                                                                                                                       Services- Montana
                                                                                                                       Services-     Montana (902  (902 North
                                                                                                                                                           North Orange
                                                                                                                                                                  Orange Street,
                                                                                                                                                                            Street,
                                                                                                                       Missoula,
                                                                                                                       Missoula, MT) MT) site
                                                                                                                                            site .. At
                                                                                                                                                    At the
                                                                                                                                                        the MBMI
                                                                                                                                                             MBMI Open
                                                                                                                                                                     Open Unit
                                                                                                                                                                             Unit the
                                                                                                                                                                                  the
                                                                                                                       Group
                                                                                                                       Group RoomRoom withwith suspended
                                                                                                                                                 suspended ceiling
                                                                                                                                                                 ceiling had
                                                                                                                                                                          had doors
                                                                                                                                                                               doors thatthat
                                                                                                                       were self-closing
                                                                                                                       were    self-closing but but not
                                                                                                                                                      not self-locking.
                                                                                                                                                           self-locking. There
                                                                                                                                                                           There was
                                                                                                                                                                                  was a    a
                                                                                                                       blind
                                                                                                                       blind corner
                                                                                                                               corner inin this
                                                                                                                                            this room
                                                                                                                                                  room where
                                                                                                                                                           where patient
                                                                                                                                                                   patient were
                                                                                                                                                                            were notnot
                                                                                                                       readily
                                                                                                                       readily observable.
                                                                                                                                 observable. Observed
                                                                                                                                                   Observed by   by unit
                                                                                                                                                                     unit manager
                                                                                                                                                                          manager and   and
                                                                                                                       facilities director.
                                                                                                                       facilities  director.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                    26 of
                                                                                                   26 of 47
                                                                                                         47                                                                   Final
                                                                                                                                                                              Final Report:
                                                                                                                                                                                    Report: Posted
                                                                                                                                                                                            Posted 7/21/2022
                                                                                                                                                                                                   (/21/2022
                                                                                                                                                                                                             PL 261

                                                                                               FER_28                                                                                  TRIAL EXHIBIT 222
                                                                                                                                                                                            Page 26 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 29 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 27 of 47

                                                                   The
                                                                   The Joint
                                                                       Joint Commission

                     =
                                                                             Commission
                     SAFER™™
Standard      EP                    EP Text                                                                  Observation                                                               CoP            CoP Score
                     Placement
                                                                                                             3)
                                                                                                             3) Observed
                                                                                                                Observed in  in Building
                                                                                                                                 Building Tour
                                                                                                                                             Tour atat Providence
                                                                                                                                                       Providence Health
                                                                                                                                                                     Health &  & | §482.13(c)(2)
                                                                                                                                                                                   §482.13(c)(2)      Standard
                                                                                                                                                                                                      Standard
                                                                                                             Services-
                                                                                                             Services- Montana
                                                                                                                          Montana (902 (902 North
                                                                                                                                              North Orange
                                                                                                                                                      Orange Street,
                                                                                                                                                               Street,
                                                                                                             Missoula,
                                                                                                             Missoula, MT)MT) site
                                                                                                                                site .. In
                                                                                                                                        In the
                                                                                                                                           the MBMI
                                                                                                                                                MBMI Open
                                                                                                                                                        Open Unit
                                                                                                                                                               Unit patient
                                                                                                                                                                     patient
                                                                                                             bedroom
                                                                                                             bedroom bedsbeds hadhad restraint
                                                                                                                                       restraint hook
                                                                                                                                                   hook points
                                                                                                                                                         points that
                                                                                                                                                                 that created
                                                                                                                                                                       created
                                                                                                             ligature
                                                                                                             ligature risk.
                                                                                                                       risk. Observed
                                                                                                                             Observed by    by unit
                                                                                                                                                unit manager
                                                                                                                                                      manager and
                                                                                                                                                                and facilities
                                                                                                                                                                      facilities
                                                                                                             director.
                                                                                                             director.
                                                                                                             4) Observed
                                                                                                             4) Observed in   in Building
                                                                                                                                  Building TourTour atat Providence
                                                                                                                                                          Providence Health
                                                                                                                                                                        Health && | §482.13(c)(2)
                                                                                                                                                                                    §482.13(c)(2)     Standard
                                                                                                                                                                                                      Standard
                                                                                                             Services- Montana
                                                                                                             Services-    Montana (902  (902 North
                                                                                                                                                North Orange
                                                                                                                                                        Orange Street,
                                                                                                                                                                  Street,
                                                                                                             Missoula, MT)
                                                                                                             Missoula,     MT) site
                                                                                                                                 site .. At
                                                                                                                                         At the
                                                                                                                                             the Providence
                                                                                                                                                   Providence Center
                                                                                                                                                                  Center a a
                                                                                                             nurses station
                                                                                                             nurses    station on
                                                                                                                                on the
                                                                                                                                     the 4th
                                                                                                                                           4th floor
                                                                                                                                                 floor had
                                                                                                                                                        had door
                                                                                                                                                             door closers
                                                                                                                                                                   closers onon
                                                                                                             the 2
                                                                                                             the  2 entrance
                                                                                                                     entrance door
                                                                                                                                 door that
                                                                                                                                         that were
                                                                                                                                                were located
                                                                                                                                                       located onon the
                                                                                                                                                                     the hallway
                                                                                                                                                                          hallway
                                                                                                             side
                                                                                                             side of
                                                                                                                   of the
                                                                                                                       the door
                                                                                                                            door creating
                                                                                                                                   creating ligature
                                                                                                                                                ligature hazards.
                                                                                                                                                           hazards. Observed
                                                                                                                                                                      Observed
                                                                                                             by
                                                                                                             by unit
                                                                                                                 unit manager
                                                                                                                       manager and  and facilities
                                                                                                                                          facilities director.
                                                                                                                                                       director.
PC.01.02.03   3      Moderate
                     Moderate       Each
                                    Each patient
                                           patient is
                                                    is reassessed
                                                       reassessed as   as necessary
                                                                           necessary based
                                                                                         based on  on | 1)
                                                                                                         1) Observed
                                                                                                             Observed in     in Tracer
                                                                                                                                Tracer Activities
                                                                                                                                          Activities at  at Providence
                                                                                                                                                             Providence
                     Limited
                     Limited        their
                                    their plan
                                          plan for
                                                for care
                                                    care or
                                                          or changes in   in their
                                                                             their condition.
                                                                                    condition.           Health
                                                                                                         Health and and Services
                                                                                                                          Services -- Montana
                                                                                                                                          Montana (500  (500 West
                                                                                                                                                                West
                                    Note:
                                    Note: Reassessments
                                           Reassessments may     may also
                                                                       also bebe based
                                                                                 based on on the
                                                                                               the       Broadway,
                                                                                                         Broadway, Missoula,
                                                                                                                          Missoula, MT)  MT) site
                                                                                                                                               site .. During
                                                                                                                                                        During an  an individual
                                                                                                                                                                       individual
                                    patient's
                                    patient's diagnosis;
                                               diagnosis; desire
                                                             desire for
                                                                     for care,
                                                                          care, treatment,
                                                                                 treatment, and and      tracer
                                                                                                         tracer inin the
                                                                                                                      the ICU
                                                                                                                            ICU setting,
                                                                                                                                  setting, itit was
                                                                                                                                                was observed
                                                                                                                                                       observed that  that aa
                                    services;
                                    services; response
                                                response to to previous
                                                                previous care,
                                                                            care, treatment,
                                                                                   treatment, and and | patient
                                                                                                         patient waswas receiving
                                                                                                                           receiving a   a Precedex
                                                                                                                                            Precedex infusion.
                                                                                                                                                            infusion. The
                                                                                                                                                                        The drip
                                                                                                                                                                               drip
                                    services; discharge
                                    services;   discharge planning
                                                             planning needs;
                                                                         needs; and/or
                                                                                  and/or their
                                                                                            their        was to
                                                                                                         was   to bebe titrated
                                                                                                                        titrated toto achieve
                                                                                                                                       achieve a   a RASS
                                                                                                                                                      RASS score score ofof 00 to
                                                                                                                                                                                to
                                    setting
                                    setting requirements.
                                             requirements. (See(See also
                                                                      also PC.06.01.01,
                                                                             PC.06.01.01, EP        1) | (-)2.
                                                                                                EP 1)    (-)2. The
                                                                                                               The dosedose waswas decreased
                                                                                                                                     decreased at     at 0300
                                                                                                                                                           0300 andand 0400
                                                                                                                                                                         0400 on  on
                                                                                                         6/21/22 with
                                                                                                         6/21/22     with nono documented
                                                                                                                                 documented RASS    RASS score.
                                                                                                                                                              score. TheThe unit
                                                                                                                                                                              unit
                                                                                                         leader
                                                                                                         leader waswas present
                                                                                                                          present at  at time
                                                                                                                                          time ofof observation.
                                                                                                                                                    observation.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                             27 of
                                                                                            27 of 47
                                                                                                  47                                                                   Final
                                                                                                                                                                       Final Report:
                                                                                                                                                                             Report: Posted
                                                                                                                                                                                     Posted 7/21/2022
                                                                                                                                                                                            (/21/2022
                                                                                                                                                                                               PL 262

                                                                                        FER_29                                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                                      Page 27 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 30 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 28 of 47

                                                                      The
                                                                      The Joint
                                                                          Joint Commission
                                                                                Commission
                            ™
                     SAFER™
Standard
Standard      EP     SAFER          EP
                                    EP Text
                                       Text                                                                         Observation
                                                                                                                    Observation                                                            CoP               CoP
                                                                                                                                                                                                             CoP Score
                                                                                                                                                                                                                 Score
                     Placement
                     Placement

PC.01.02.03
PC.01.02.03   5      Moderate
                     Moderate       For a
                                    For  a medical
                                             medical history
                                                          history and and physical
                                                                             physical examination
                                                                                           examination that that    1)) Observed
                                                                                                                        Observed in    in Individual
                                                                                                                                           Individual Tracer
                                                                                                                                                        Tracer at at Providence
                                                                                                                                                                      Providence           §482.24(c)(4)(i) | Standard
                                                                                                                                                                                           §482.24(c)(4)(i)   Standard
                     Pattern
                     Pattern        was
                                    was completed
                                          completed within  within 30  30 days
                                                                            days prior
                                                                                    prior toto registration
                                                                                                registration oror   Health
                                                                                                                    An and    and Services
                                                                                                                                    Services - Montana
                                                                                                                                                     Montana (500(500 West
                                                                                                                                                                        West               (B)
                                                                                                                                                                                           (B)
                                    inpatient
                                    inpatient admission,
                                                  admission, an     an update
                                                                         update documenting
                                                                                     documenting any    any         Broadway,
                                                                                                                    Broadway, Missoula,
                                                                                                                                   Missoula, MT)   MT) site
                                                                                                                                                         site .. During
                                                                                                                                                                 During anan individual
                                                                                                                                                                              individual
                                    changes
                                    changes in    in the
                                                      the patient's
                                                            patient's condition
                                                                          condition is   is completed
                                                                                             completed              tracer
                                                                                                                    tracer in
                                                                                                                            in the
                                                                                                                                the ICU
                                                                                                                                      ICU setting,
                                                                                                                                             setting, the
                                                                                                                                                       the patient
                                                                                                                                                             patient record
                                                                                                                                                                       record
                                    within
                                    within 24 24 hours
                                                   hours after
                                                             after registration
                                                                     registration or   or inpatient
                                                                                            inpatient               contained
                                                                                                                    contained a   a completed
                                                                                                                                     completed H&P    H&P dated
                                                                                                                                                             dated 6/15/22;
                                                                                                                                                                     6/15/22; the
                                                                                                                                                                                the
                                    admission, but
                                    admission,       but prior
                                                            prior to
                                                                   to surgery
                                                                        surgery or  or aa procedure
                                                                                            procedure               patient was
                                                                                                                    patient   was admitted
                                                                                                                                    admitted for   for surgery
                                                                                                                                                       surgery on on 6/16/22.
                                                                                                                                                                       6/16/22. There
                                                                                                                                                                                 There
                                    requiring anesthesia
                                    requiring     anesthesia services.
                                                                     services.                                      was no
                                                                                                                    was   no update
                                                                                                                               update to  to the
                                                                                                                                              the H&P
                                                                                                                                                    H&P prior
                                                                                                                                                          prior to
                                                                                                                                                                 to surgery
                                                                                                                                                                    surgery found
                                                                                                                                                                               found in
                                                                                                                                                                                      in
                                    Note 1:
                                    Note    1: For
                                                For hospitals
                                                       hospitals that that use
                                                                             use Joint
                                                                                   Joint Commission
                                                                                            Commission              the medical
                                                                                                                    the  medical record.
                                                                                                                                     record. The The ICU
                                                                                                                                                       ICU director
                                                                                                                                                             director concurred.
                                                                                                                                                                        concurred.
                                    accreditation
                                    accreditation for    for deemed
                                                              deemed status status purposes:
                                                                                      purposes: Medical
                                                                                                     Medical
                                    histories and
                                    histories     and physical
                                                         physical examinations
                                                                       examinations are      are performed
                                                                                                  performed
                                    as
                                    as required
                                        required in    in this
                                                          this element
                                                                 element of    of performance,
                                                                                   performance, exceptexcept
                                    any
                                    any specific
                                          specific outpatient
                                                        outpatient surgical
                                                                        surgical or  or procedural
                                                                                         procedural
                                    services
                                    services for for which
                                                       which an  an assessment
                                                                      assessment is       is performed
                                                                                              performed
                                    instead.
                                    instead.
                                    Note 2:
                                    Note   2: For
                                                For lawlaw and
                                                             and regulation
                                                                    regulation guidance
                                                                                    guidance pertaining
                                                                                                   pertaining
                                    to the
                                    to the medical
                                              medical history
                                                           history and and physical
                                                                              physical examination,
                                                                                           examination,
                                    refer to
                                    refer  to 4242 CFR
                                                     CFR 482.22(c)(5)(iii)
                                                             482.22(c)(5)(iii) and    and 482.51(b)(1)(iii).
                                                                                             482.51(b)(1)(iii).
                                    Refer to
                                    Refer    to “Appendix
                                                 “Appendix A:     A: Medicare
                                                                       Medicare Requirements
                                                                                      Requirements for    for
                                    Hospitals”
                                    Hospitals” (AXA)(AXA) for  for full
                                                                    full text.
                                                                          text. (See
                                                                                  (See also
                                                                                          also MS.03.01.01,
                                                                                                 MS.03.01.01,
                                    EP 19;
                                    EP   19; RC.02.01.03,
                                               RC.02.01.03, EP        EP 3)3)
                                                                                                                    2)
                                                                                                                    2) Observed
                                                                                                                       Observed in    in Individual
                                                                                                                                         Individual Tracer
                                                                                                                                                       Tracer at  at Providence
                                                                                                                                                                      Providence            §482.24(c)(4)(i)
                                                                                                                                                                                            §482.24(c)(4)(i) | Standard
                                                                                                                                                                                                               Standard
                                                                                                                    Health and
                                                                                                                    Health   and Services
                                                                                                                                    Services -- Montana
                                                                                                                                                   Montana (500 (500 West
                                                                                                                                                                        West                (B)
                                                                                                                                                                                            (B)
                                                                                                                    Broadway,
                                                                                                                    Broadway, Missoula,
                                                                                                                                   Missoula, MT)  MT) site
                                                                                                                                                        site .. The
                                                                                                                                                                The history
                                                                                                                                                                       history and
                                                                                                                                                                                 and
                                                                                                                    physical
                                                                                                                    physical update
                                                                                                                               update for for a a patient
                                                                                                                                                  patient who
                                                                                                                                                            who had had undergone
                                                                                                                                                                          undergone a     a
                                                                                                                    procedure
                                                                                                                    procedure in  in the
                                                                                                                                      the cardiac
                                                                                                                                            cardiac catheterization
                                                                                                                                                      catheterization lab    lab had
                                                                                                                                                                                  had not
                                                                                                                                                                                        not
                                                                                                                    been
                                                                                                                    been signed
                                                                                                                           signed by  by the
                                                                                                                                          the provider
                                                                                                                                                provider doing
                                                                                                                                                            doing thethe procedure,
                                                                                                                                                                          procedure,
                                                                                                                    and the
                                                                                                                    and  the surveyor
                                                                                                                              surveyor was   was unable
                                                                                                                                                   unable to to validate
                                                                                                                                                                 validate that
                                                                                                                                                                             that the
                                                                                                                                                                                   the
                                                                                                                    update
                                                                                                                    update had
                                                                                                                             had actually
                                                                                                                                    actually beenbeen documented
                                                                                                                                                        documented by      by the
                                                                                                                                                                               the
                                                                                                                    provider. A
                                                                                                                    provider.   A staff
                                                                                                                                   staff member
                                                                                                                                           member explained
                                                                                                                                                       explained that that the
                                                                                                                                                                            the history
                                                                                                                                                                                  history
                                                                                                                    and
                                                                                                                    and physical,
                                                                                                                         physical, and and thethe statement
                                                                                                                                                   statement regarding
                                                                                                                                                                  regarding the the
                                                                                                                    update
                                                                                                                    update were
                                                                                                                             were auto-populated
                                                                                                                                      auto-populated by     by the
                                                                                                                                                                the electronic
                                                                                                                                                                      electronic health
                                                                                                                                                                                     health
                                                                                                                    record
                                                                                                                    record and
                                                                                                                            and were
                                                                                                                                   were thenthen supposed
                                                                                                                                                   supposed to   to be
                                                                                                                                                                     be signed
                                                                                                                                                                         signed by  by the
                                                                                                                                                                                        the
                                                                                                                    provider
                                                                                                                    provider prior
                                                                                                                               prior toto the
                                                                                                                                           the procedure.
                                                                                                                                                 procedure.




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                 28 of
                                                                                                28 of 47
                                                                                                      47                                                                    Final
                                                                                                                                                                            Final Report:
                                                                                                                                                                                  Report: Posted
                                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                                 (/21/2022
                                                                                                                                                                                                      PL 263

                                                                                            FER_30                                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                                          Page 28 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 31 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 29 of 47

                                                                       The
                                                                       The Joint
                                                                           Joint Commission
                                                                                 Commission
                               ™
                     SAFER™
Standard
Standard      EP     SAFER             EP
                                       EP Text
                                          Text                                                                    Observation
                                                                                                                  Observation                                                            CoP            CoP
                                                                                                                                                                                                        CoP Score
                                                                                                                                                                                                            Score
                     Placement
                     Placement

PC.01.02.07
PC.01.02.07   8      Moderate
                     Moderate          The
                                        The hospital
                                              hospital educates
                                                          educates the  the patient
                                                                              patient and
                                                                                        and family
                                                                                               family onon        1)) Observed
                                                                                                                      Observed in  in Record
                                                                                                                                       Record Review
                                                                                                                                                  Review at at Providence
                                                                                                                                                                Providence Health
                                                                                                                                                                              Health
                     Limited
                     Limited           discharge
                                        discharge plans
                                                      plans related
                                                               related to to pain
                                                                              pain management
                                                                                     management                   2 Services
                                                                                                                  and   Services - Montana
                                                                                                                                       Montana (500(500 West
                                                                                                                                                          West Broadway,
                                                                                                                                                                  Broadway,
                                       including
                                        including thethe following:
                                                          following:                                              Missoula,
                                                                                                                  Missoula, MT)
                                                                                                                              MT) sitesite .. A
                                                                                                                                              A patient
                                                                                                                                                patient who
                                                                                                                                                          who hadhad been
                                                                                                                                                                      been
                                       -- Pain
                                          Pain management
                                                 management plan    plan of of care
                                                                                care                              discharged
                                                                                                                  discharged with
                                                                                                                                with a  a new
                                                                                                                                           new opioid
                                                                                                                                                 opioid prescription
                                                                                                                                                          prescription following
                                                                                                                                                                         following a a
                                       -- Side
                                          Side effects
                                                 effects ofof pain
                                                               pain management
                                                                      management treatmenttreatment               procedure
                                                                                                                  procedure with
                                                                                                                               with sedation
                                                                                                                                       sedation hadhad not
                                                                                                                                                         not received
                                                                                                                                                               received discharge
                                                                                                                                                                         discharge
                                       -- Activities
                                          Activities ofof daily
                                                          daily living,
                                                                  living, including
                                                                            including the the home
                                                                                               home               instructions that
                                                                                                                  instructions   that addressed
                                                                                                                                         addressed safesafe storage
                                                                                                                                                              storage and
                                                                                                                                                                        and
                                        environment, that
                                       environment,        that might
                                                                 might exacerbate
                                                                           exacerbate pain  pain oror reduce
                                                                                                      reduce      disposal of
                                                                                                                  disposal  of the
                                                                                                                                the medication.
                                                                                                                                       medication. TheThe discharge
                                                                                                                                                             discharge
                                        effectiveness of
                                       effectiveness       of the
                                                               the pain
                                                                    pain management
                                                                            management plan     plan of
                                                                                                      of care,
                                                                                                          care,   instructions addressed
                                                                                                                  instructions   addressed safe  safe use
                                                                                                                                                        use ofof the
                                                                                                                                                                 the medication
                                                                                                                                                                     medication
                                       as
                                        as well
                                            well as
                                                  as strategies
                                                      strategies to  to address
                                                                         address thesethese issues
                                                                                               issues             only.
                                                                                                                  only.
                                       -- Safe
                                          Safe use,
                                                 use, storage,
                                                        storage, andand disposal
                                                                           disposal of  of opioids
                                                                                            opioids when
                                                                                                       when
                                       prescribed
                                        prescribed
PC.01.03.01
PC.01.03.01   22     Low
                     Low               Based
                                       Based onon the
                                                    the goals
                                                        goals established
                                                              established inin the
                                                                               the patient’s
                                                                                   patient's plan
                                                                                             plan                 1)
                                                                                                                  1) Observed
                                                                                                                     Observed in   in Individual
                                                                                                                                       Individual Tracer
                                                                                                                                                    Tracer at  at Providence
                                                                                                                                                                   Providence
                     Limited
                     Limited           of
                                       of care,
                                          care, staff
                                                 staff evaluate
                                                       evaluate the
                                                                the patient’s
                                                                     patient's progress.
                                                                                progress.                         Health
                                                                                                                  Health and
                                                                                                                           and Services
                                                                                                                                 Services -- Montana
                                                                                                                                                Montana (500  (500 West
                                                                                                                                                                    West
                                                                                                                  Broadway,
                                                                                                                  Broadway, Missoula,
                                                                                                                                 Missoula, MT) MT) site
                                                                                                                                                     site .. During
                                                                                                                                                             During an an individual
                                                                                                                                                                           individual
                                                                                                                  tracer
                                                                                                                  tracer on
                                                                                                                          on the
                                                                                                                              the 55 North
                                                                                                                                      North Nursing
                                                                                                                                               Nursing Unit,
                                                                                                                                                          Unit, there
                                                                                                                                                                  there was
                                                                                                                                                                         was nono
                                                                                                                  documentation
                                                                                                                  documentation on    on the
                                                                                                                                           the patient's
                                                                                                                                                patient's care
                                                                                                                                                             care plan
                                                                                                                                                                    plan for
                                                                                                                                                                          for greater
                                                                                                                                                                              greater
                                                                                                                  than 36
                                                                                                                  than  36 hours.
                                                                                                                            hours. TheThe Nursing
                                                                                                                                             Nursing Leader
                                                                                                                                                        Leader was was unable
                                                                                                                                                                         unable toto
                                                                                                                  locate.
                                                                                                                  locate.
PC.02.01.11
PC.02.01.11   2      High
                     High              Resuscitation equipment
                                       Resuscitation    equipment is is available
                                                                        available for
                                                                                   for use
                                                                                        use based
                                                                                             based                1) Observed
                                                                                                                  1) Observed in   in Tracer
                                                                                                                                      Tracer Activities
                                                                                                                                               Activities atat Providence
                                                                                                                                                               Providence
                     Pattern
                     Pattern           on the
                                       on  the needs
                                                needs of
                                                       of the
                                                          the population
                                                              population served.
                                                                            served.                               Health and
                                                                                                                  Health   and Services
                                                                                                                                 Services -- Montana
                                                                                                                                               Montana (500(500 West
                                                                                                                                                                 West
                                       Note: For
                                       Note:   For example,
                                                   example, ifif the
                                                                 the hospital
                                                                     hospital has
                                                                               has aa pediatric
                                                                                       pediatric                  Broadway, Missoula,
                                                                                                                  Broadway,      Missoula, MT)MT) site
                                                                                                                                                   site .. During
                                                                                                                                                           During tracer
                                                                                                                                                                   tracer
                                       population, pediatric resuscitation equipment should                       activities in the Emergency Department, the Crash
                                       be available. (See also EC.02.04.03, EP 2)                                 Cart/Defibrillator logsheet had 2/20 days in June and
                                                                                                                  2/31 days
                                                                                                                  2/31  days inin May
                                                                                                                                   May inin which
                                                                                                                                            which the
                                                                                                                                                    the safety
                                                                                                                                                         safety checks
                                                                                                                                                                 checks had
                                                                                                                                                                          had not
                                                                                                                                                                               not
                                                                                                                  been
                                                                                                                  been completed.
                                                                                                                         completed. The The EDED leader
                                                                                                                                                   leader waswas present
                                                                                                                                                                 present and
                                                                                                                                                                           and
                                                                                                                  concurred
                                                                                                                  concurred with
                                                                                                                               with observation.
                                                                                                                                      observation.
                                                                                                                  2) Observed
                                                                                                                  2) Observed in   in Tracer
                                                                                                                                       Tracer Activities
                                                                                                                                                Activities at at Providence
                                                                                                                                                                  Providence
                                                                                                                  Health and
                                                                                                                  Health   and Services
                                                                                                                                 Services -- Montana
                                                                                                                                                Montana (500 (500 West
                                                                                                                                                                    West
                                                                                                                  Broadway, Missoula,
                                                                                                                  Broadway,      Missoula, MT) MT) site
                                                                                                                                                     site .. During
                                                                                                                                                             During tracer
                                                                                                                                                                         tracer
                                                                                                                  activities
                                                                                                                  activities in
                                                                                                                              in the
                                                                                                                                 the Clinical
                                                                                                                                       Clinical Decision
                                                                                                                                                  Decision Unit,
                                                                                                                                                               Unit, itit was
                                                                                                                                                                          was
                                                                                                                  observed
                                                                                                                  observed thatthat there
                                                                                                                                     there was
                                                                                                                                             was missing
                                                                                                                                                   missing documentation
                                                                                                                                                                documentation on   on
                                                                                                                  the crash
                                                                                                                  the  crash cart
                                                                                                                               cart log
                                                                                                                                     log for
                                                                                                                                          for 1/20
                                                                                                                                               1/20 days
                                                                                                                                                     days in in June
                                                                                                                                                                 June 2022.
                                                                                                                                                                          2022. This
                                                                                                                                                                                This
                                                                                                                  was
                                                                                                                  was also
                                                                                                                        also observed
                                                                                                                              observed by   by the
                                                                                                                                                the Unit
                                                                                                                                                     Unit leader.
                                                                                                                                                            leader.




       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                                 29 of
                                                                                                29 of 47
                                                                                                      47                                                                 Final Report:
                                                                                                                                                                         Final Report: Posted
                                                                                                                                                                                       Posted 7/21/2022
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                                                                                                                                                                                                PL 264

                                                                                             FER_31                                                                                TRIAL EXHIBIT 222
                                                                                                                                                                                        Page 29 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 32 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 30 of 47

                                                                The
                                                                The Joint
                                                                    Joint Commission
                                                                          Commission
                     SAFER™™
Standard
Standard      EP                    EP Text                                                           Observation                                                                 CoP              CoP Score
                     Placement
                                                                                                      3) Observed
                                                                                                      3) Observed in     in Tracer
                                                                                                                            Tracer Activities
                                                                                                                                      Activities at at Providence
                                                                                                                                                        Providence
                                                                                                      Health
                                                                                                      Health and
                                                                                                               and Services
                                                                                                                       Services -- Montana
                                                                                                                                      Montana (500 (500 West
                                                                                                                                                          West
                                                                                                      Broadway,
                                                                                                      Broadway, Missoula,
                                                                                                                      Missoula, MT)  MT) site
                                                                                                                                           site .. During
                                                                                                                                                   During tracer
                                                                                                                                                               tracer
                                                                                                      activities
                                                                                                      activities onon the
                                                                                                                        the 5 5 North
                                                                                                                                North Nursing
                                                                                                                                        Nursing Unit,Unit, itit was
                                                                                                                                                                was
                                                                                                      observed
                                                                                                      observed that that the
                                                                                                                           the defibrillator
                                                                                                                                defibrillator onon the
                                                                                                                                                     the unit
                                                                                                                                                          unit crash
                                                                                                                                                                  crash cart
                                                                                                                                                                           cart
                                                                                                      was not
                                                                                                      was   not plugged
                                                                                                                 plugged into  into aa power
                                                                                                                                       power source.
                                                                                                                                                 source. TheThe powerpower
                                                                                                      cable was
                                                                                                      cable   was missing
                                                                                                                     missing from from the
                                                                                                                                        the Defibrillator
                                                                                                                                              Defibrillator unit unit and
                                                                                                                                                                       and
                                                                                                      crash cart.
                                                                                                      crash   cart. This
                                                                                                                      This was
                                                                                                                             was observed
                                                                                                                                    observed and  and corrected
                                                                                                                                                        corrected by    by the
                                                                                                                                                                            the
                                                                                                      Unit
                                                                                                      Unit Leader.
                                                                                                            Leader.
PC.02.02.03
PC.02.02.03   11     Low
                     Low            The hospital
                                    The   hospital stores
                                                    stores food
                                                            food and
                                                                  and nutrition
                                                                        nutrition products,
                                                                                  products,           1) Observed
                                                                                                      1) Observed in   in Tracer
                                                                                                                          Tracer Activities
                                                                                                                                   Activities at  at Providence
                                                                                                                                                      Providence
                     Limited
                     Limited        including those
                                    including   those brought
                                                       brought inin by
                                                                     by patients
                                                                         patients or
                                                                                  or their
                                                                                     their            Health
                                                                                                      Health and
                                                                                                               and Services
                                                                                                                     Services -- Montana
                                                                                                                                   Montana (500   (500 West
                                                                                                                                                        West
                                    families,
                                    families, using
                                               using proper
                                                      proper sanitation,
                                                               sanitation, temperature,
                                                                             temperature, light,
                                                                                            light,    Broadway,
                                                                                                      Broadway, Missoula,
                                                                                                                     Missoula, MT)
                                                                                                                                 MT) sitesite .. During
                                                                                                                                                 During tracer
                                                                                                                                                          tracer
                                    moisture,
                                    moisture, ventilation,
                                                ventilation, and
                                                              and security.
                                                                    security.                         activities
                                                                                                      activities in
                                                                                                                  in the
                                                                                                                     the kitchen,
                                                                                                                          kitchen, 8 8 of
                                                                                                                                        of 22
                                                                                                                                            22 days
                                                                                                                                                 days had
                                                                                                                                                        had refrigerator
                                                                                                                                                             refrigerator
                                                                                                      temperatures
                                                                                                      temperatures documented
                                                                                                                         documented out   out ofof range
                                                                                                                                                    range with
                                                                                                                                                           with no
                                                                                                                                                                 no
                                                                                                      corrective
                                                                                                      corrective actions
                                                                                                                    actions documented.
                                                                                                                             documented. The      The Department
                                                                                                                                                        Department
                                                                                                      Director
                                                                                                      Director was
                                                                                                                was present
                                                                                                                       present atat the
                                                                                                                                     the time
                                                                                                                                           time of of the
                                                                                                                                                      the observation.
                                                                                                                                                          observation.
PC.03.01.03
PC.03.01.03   1      High
                     High           Before operative
                                    Before    operative or or other
                                                              other high-risk
                                                                     high-risk procedures
                                                                                 procedures are
                                                                                              are     1) Observed
                                                                                                      1) Observed in   in Individual
                                                                                                                          Individual Tracer
                                                                                                                                          Tracer at  at Providence
                                                                                                                                                         Providence             8§482.52(b)
                                                                                                                                                                                §482.52(b)         Standard
                                                                                                                                                                                                   Standard
                     Pattern
                     [REETE]        initiated,
                                    initiated, or
                                                or before
                                                   before moderate
                                                             moderate or or deep
                                                                             deep sedation
                                                                                   sedation or
                                                                                             or       Health and
                                                                                                      Health   and Services
                                                                                                                     Services - Montana
                                                                                                                                     Montana (500   (500 West
                                                                                                                                                           West
                                    anesthesia is
                                    anesthesia     is administered:
                                                       administered: TheThe hospital
                                                                              hospital conducts
                                                                                        conducts aa   Broadway, Missoula,
                                                                                                      Broadway,     Missoula, MT)  MT) sitesite .. In
                                                                                                                                                   In 44 of
                                                                                                                                                          of44 patient
                                                                                                                                                                patient
                                    presedation or
                                    presedation      or preanesthesia
                                                        preanesthesia patient
                                                                           patient assessment.
                                                                                    assessment.       records reviewed,
                                                                                                      records   reviewed, for  for patients
                                                                                                                                    patients who who had had undergone
                                                                                                                                                               undergone
                                    (See also
                                    (See   also RC.02.01.01,
                                                  RC.02.01.01, EP  EP 2)
                                                                       2)                             procedures
                                                                                                      procedures withwith sedation
                                                                                                                            sedation in   in the
                                                                                                                                              the cardiac
                                                                                                                                                    cardiac
                                                                                                      catheterization lab,
                                                                                                      catheterization     lab, interventional
                                                                                                                                 interventional radiology,
                                                                                                                                                       radiology, or  or the
                                                                                                                                                                         the
                                                                                                      emergency
                                                                                                      emergency department,
                                                                                                                     department, did    did not
                                                                                                                                              not contain
                                                                                                                                                    contain
                                                                                                      documentation
                                                                                                      documentation of    of an
                                                                                                                              an airway
                                                                                                                                   airway assessment
                                                                                                                                              assessment using   using the
                                                                                                                                                                         the
                                                                                                      Mallampati
                                                                                                      Mallampati score,
                                                                                                                    score, which
                                                                                                                              which was was required
                                                                                                                                                required by  by the
                                                                                                                                                                  the
                                                                                                      hospital's
                                                                                                      hospital's policy
                                                                                                                  policy for
                                                                                                                           for procedural
                                                                                                                                 procedural sedation.
                                                                                                                                                  sedation. In   In addition,
                                                                                                                                                                     addition,
                                                                                                      one of
                                                                                                      one  of the
                                                                                                              the records
                                                                                                                   records did  did not
                                                                                                                                     not contain
                                                                                                                                           contain documentation
                                                                                                                                                       documentation of      of
                                                                                                      the
                                                                                                      the ASA
                                                                                                          ASA level.
                                                                                                                 level




       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                       30 of
                                                                                      30 of 47
                                                                                            47                                                                    Final Report:
                                                                                                                                                                  Final Report: Posted
                                                                                                                                                                                Posted 7/21/2022
                                                                                                                                                                                       (/21/2022
                                                                                                                                                                                              PL 265

                                                                                   FER_32                                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                                 Page 30 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 33 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 31 of 47

                                                                     The
                                                                     The Joint
                                                                         Joint Commission
                                                                               Commission
                     SAFER™
                     SAFER™
Standard
Standard      EP                    EP Text                                                                       Observation                                                                CoP                CoP Score
                     Placement
                     Placement

                                                                                                                  2)
                                                                                                                  2) Observed
                                                                                                                     Observed in    in Tracer
                                                                                                                                       Tracer Activities
                                                                                                                                                  Activities at  at Providence
                                                                                                                                                                     Providence               EE   52(b)
                                                                                                                                                                                              §482.52(b)        Standard
                                                                                                                                                                                                                Standard
                                                                                                                  Health
                                                                                                                  Health and
                                                                                                                           and Services
                                                                                                                                 Services -- Montana
                                                                                                                                                 Montana (500   (500 West
                                                                                                                                                                        West
                                                                                                                  Broadway,
                                                                                                                  Broadway, Missoula,
                                                                                                                                 Missoula, MT)  MT) site
                                                                                                                                                       site .. In
                                                                                                                                                                In the
                                                                                                                                                                    the review
                                                                                                                                                                          review of of the
                                                                                                                                                                                        the
                                                                                                                  medical
                                                                                                                  medical record
                                                                                                                             record of of aa surgical
                                                                                                                                              surgical patient,
                                                                                                                                                          patient, the the Pre-
                                                                                                                                                                             Pre-
                                                                                                                  anesthesia
                                                                                                                  anesthesia Evaluation
                                                                                                                                  Evaluation Note Note waswas not not completed
                                                                                                                                                                        completed prior prior
                                                                                                                  to the
                                                                                                                  to the start
                                                                                                                          start of
                                                                                                                                 of the
                                                                                                                                     the surgical
                                                                                                                                          surgical procedure
                                                                                                                                                       procedure as     as required
                                                                                                                                                                            required by   by
                                                                                                                  the organization’s
                                                                                                                  the  organization’s policypolicy “Medical
                                                                                                                                                     “Medical RecordRecord
                                                                                                                  Documentation”
                                                                                                                  Documentation” last    last reviewed
                                                                                                                                               reviewed 4/2020.
                                                                                                                                                             4/2020. The   The pre-
                                                                                                                                                                                 pre-
                                                                                                                  anesthesia assessment
                                                                                                                  anesthesia     assessment note    note was
                                                                                                                                                           was completed
                                                                                                                                                                   completed at     at
                                                                                                                  12:42pm on
                                                                                                                  12:42pm     on 6/20/22
                                                                                                                                   6/20/22 and and the
                                                                                                                                                     the documented
                                                                                                                                                           documented time      time ofof
                                                                                                                  anesthesia induction
                                                                                                                  anesthesia      induction and and intubation
                                                                                                                                                      intubation was   was at at 12:22
                                                                                                                                                                                  12:22
                                                                                                                  pm.
                                                                                                                  pm. This
                                                                                                                        This documentation
                                                                                                                              documentation discrepancy
                                                                                                                                                     discrepancy was     was confirmed
                                                                                                                                                                                confirmed
                                                                                                                  by
                                                                                                                  by the
                                                                                                                      the RN
                                                                                                                           RN staff
                                                                                                                                staff assisting
                                                                                                                                       assisting in  in the
                                                                                                                                                         the record
                                                                                                                                                               record review.
                                                                                                                                                                          review.
RC.02.01.01
RC.02.01.01   2
              2      Low            The
                                     The medical
                                           medical record
                                                      record contains
                                                                   contains thethe following
                                                                                     following clinical
                                                                                                  clinical        1)
                                                                                                                  1) Observed
                                                                                                                     Observed in     in Individual
                                                                                                                                         Individual Tracer
                                                                                                                                                      Tracer at  at Providence
                                                                                                                                                                      Providence
                     Pattern         information:
                                    information:                                                                  Health and
                                                                                                                  Health   and Services
                                                                                                                                  Services -- Montana
                                                                                                                                                  Montana (500  (500 West
                                                                                                                                                                        West
                                    -- The
                                       The reason(s)
                                             reason(s) for for admission
                                                                  admission for  for care,
                                                                                      care, treatment,
                                                                                              treatment,          Broadway,
                                                                                                                  Broadway, Missoula,
                                                                                                                                  Missoula, MT)  MT) site
                                                                                                                                                       site .. the
                                                                                                                                                               the policy
                                                                                                                                                                      policy and
                                                                                                                                                                              and
                                     and services
                                    and    services                                                               protocol used
                                                                                                                  protocol    used by  by the
                                                                                                                                           the cardiac
                                                                                                                                                cardiac stress
                                                                                                                                                           stress testing
                                                                                                                                                                      testing
                                    -- The
                                       The patient’s
                                             patient’s initial
                                                         initial diagnosis,
                                                                    diagnosis, diagnostic
                                                                                   diagnostic                     department
                                                                                                                  department for   for dobutamine
                                                                                                                                         dobutamine stressstress tests
                                                                                                                                                                    tests was
                                                                                                                                                                           was notnot
                                     impression(s), or
                                    impression(s),       or condition(s)
                                                              condition(s)                                        retrievable at
                                                                                                                  retrievable    at the
                                                                                                                                      the individual
                                                                                                                                            individual patient
                                                                                                                                                         patient level.
                                                                                                                                                                     level. AA nurse
                                                                                                                                                                                nurse
                                    -- Any
                                       Any findings
                                             findings ofof assessments
                                                             assessments and      and reassessments
                                                                                        reassessments             who
                                                                                                                  who performed
                                                                                                                        performed these  these tests
                                                                                                                                                 tests reported
                                                                                                                                                         reported that that they
                                                                                                                                                                            they
                                    -- Any
                                       Any allergies
                                             allergies toto food
                                                              food                                                referred
                                                                                                                  referred to to the
                                                                                                                                 the printed
                                                                                                                                        printed policy
                                                                                                                                                  policy and
                                                                                                                                                           and protocol
                                                                                                                                                                  protocol forfor dosing,
                                                                                                                                                                                   dosing,
                                    -- Any
                                       Any allergies
                                             allergies toto medications
                                                              medications                                         but that
                                                                                                                  but  that this
                                                                                                                             this was
                                                                                                                                   was not not linked
                                                                                                                                                linked inin any
                                                                                                                                                            any fashion
                                                                                                                                                                   fashion to to the
                                                                                                                                                                                 the
                                    -- Any
                                       Any conclusions
                                             conclusions or     or impressions
                                                                    impressions drawn drawn fromfrom the
                                                                                                       the        patient
                                                                                                                  patient records.
                                                                                                                            records.
                                    patient’s
                                     patient's medical
                                                 medical history
                                                              history andand physical
                                                                               physical examination
                                                                                            examination
                                    -- Any
                                       Any diagnoses
                                             diagnoses or    or conditions
                                                                  conditions established
                                                                                 established duringduring the
                                                                                                            the
                                    patient’s
                                     patient's course
                                                 course of  of care,
                                                                 care, treatment,
                                                                         treatment, and  and services
                                                                                               services
                                     (including complications
                                    (including     complications and     and hospital-acquired
                                                                               hospital-acquired
                                     infections). For
                                    infections).    For psychiatric
                                                          psychiatric hospitals
                                                                            hospitals using
                                                                                          using Joint
                                                                                                   Joint
                                     Commission accreditation
                                    Commission        accreditation for    for deemed
                                                                                deemed statusstatus
                                    purposes:
                                     purposes: The The diagnosis
                                                         diagnosis includes
                                                                          includes intercurrent
                                                                                       intercurrent
                                    diseases
                                     diseases (diseases
                                                  (diseases that  that occur
                                                                        occur during
                                                                                 during thethe course
                                                                                                 course of of
                                    another
                                     another disease;
                                                disease; for  for example,
                                                                    example, a   a patient
                                                                                    patient with
                                                                                               with AIDS
                                                                                                     AIDS
                                     may develop
                                    may     develop an an intercurrent
                                                            intercurrent bout bout of of pneumonia)
                                                                                          pneumonia) and   and
                                     the psychiatric
                                    the   psychiatric diagnoses.
                                                         diagnoses.
                                    -- Any
                                       Any consultation
                                             consultation reports
                                                                reports
                                    -- Any
                                       Any observations
                                             observations relevantrelevant toto care,
                                                                                  care, treatment,
                                                                                          treatment, and and
                                     services
                                    services
                                    -- The
                                       The patient’s
                                             patient's response
                                                         response to     to care,
                                                                            care, treatment,
                                                                                     treatment, and  and
                                    services
                                     services
                                    -- Any
                                       Any emergency
                                             emergency care,   care, treatment,
                                                                       treatment, and  and services
                                                                                             services
                                    provided
                                     provided to to the
                                                    the patient
                                                          patient before
                                                                       before their
                                                                                their arrival
                                                                                        arrival



       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                               31 of
                                                                                              31 of 47
                                                                                                    47                                                                      Final Report:
                                                                                                                                                                            Final Report: Posted
                                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                                 (/21/2022
                                                                                                                                                                                                           PL 266



                                                                                           FER_33                                                                                     TRIAL EXHIBIT 222
                                                                                                                                                                                           Page 31 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 34 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 32 of 47

                                                                        The
                                                                        The Joint
                                                                            Joint Commission
                                                                                  Commission
                      SAFER™ ™
Standard
Standard       EP      AFER          EP
                                     EP Text
                                        Text                                                                           Observation
                                                                                                                       Observation                                         CoP                    CoP Score
                      Placement
                       lacement
                                     -- Any
                                        Any progress
                                               progress notesnotes
                                     -- All
                                        All orders
                                            orders
                                     -- Any
                                        Any medications
                                               medications orderedordered or    or prescribed
                                                                                     prescribed
                                     -- Any
                                        Any medications
                                               medications administered,
                                                                  administered, including including the
                                                                                                      the
                                     strength,
                                      strength, dose,
                                                    dose, route,
                                                             route, datedate andand timetime ofof
                                     administration
                                      administration
                                     Note
                                      Note 1: 1: When
                                                  When rapid
                                                           rapid titration
                                                                     titration of  of aa medication
                                                                                          medication is   is
                                     necessary,
                                      necessary, the   the hospital
                                                             hospital defines
                                                                           defines in   in policy
                                                                                            policy the
                                                                                                    the
                                      urgent/emergent situations
                                     urgent/emergent           situations in     in which
                                                                                     which block
                                                                                               block charting
                                                                                                      charting
                                      would be
                                     would      be an
                                                    an acceptable
                                                         acceptable form    form of  of documentation.
                                                                                         documentation.
                                      Note 2:
                                     Note     2: For
                                                  For the
                                                       the definition
                                                             definition and  and a   a further
                                                                                        further explanation
                                                                                                  explanation
                                      of block
                                     of   block charting,
                                                  charting, refer
                                                                refer to to the
                                                                             the Glossary.
                                                                                     Glossary.
                                     -- Any
                                        Any access
                                               access sitesite for
                                                                for medication,
                                                                      medication, administration
                                                                                           administration
                                     devices
                                      devices used,
                                                  used, andand raterate ofof administration
                                                                              administration
                                     -- Any
                                        Any adverse
                                               adverse drugdrug reactions
                                                                    reactions
                                     -- Treatment
                                        Treatment goals,goals, planplan of of care,
                                                                               care, and and revisions
                                                                                               revisions to  to the
                                                                                                                 the
                                     plan
                                      plan ofof care
                                                 care
                                     -- Results
                                        Results of  of diagnostic
                                                        diagnostic and   and therapeutic
                                                                                therapeutic tests tests andand
                                     procedures
                                      procedures
                                     -- Any
                                        Any medications
                                               medications dispensed
                                                                  dispensed or       or prescribed
                                                                                         prescribed on   on
                                      discharge
                                     discharge
                                     -- Discharge
                                        Discharge diagnosis
                                                        diagnosis
                                     -- Discharge
                                        Discharge plan  plan and
                                                               and discharge
                                                                       discharge planningplanning evaluation
                                                                                                     evaluation
                                      (See also
                                     (See     also PC.01.02.01,
                                                     PC.01.02.01, EP       EP 1;  1; PC.01.02.03,
                                                                                      PC.01.02.03, EP     EP 6;6;
                                      PC.01.03.01, EP
                                     PC.01.03.01,         EP 23;
                                                               23; PC.03.01.03,
                                                                       PC.03.01.03, EPs      EPs 1,1, 8;
                                                                                                       8;
                                      PC.06.01.01, EP
                                     PC.06.01.01,         EP 1) 1)
RI.01.03.01
RI.01.03.01    1      Low
                      Low            The
                                      The hospital
                                           hospital follows
                                                      follows a a written
                                                                  written policy
                                                                             policy on
                                                                                     on informed
                                                                                         informed            1)) Observed
                                                                                                                 Observed in   in Individual
                                                                                                                                  Individual Tracer
                                                                                                                                               Tracer at  at Providence
                                                                                                                                                              Providence           §482.24(c)(4)(v)
                                                                                                                                                                                   §482.24(c)(4)(v) | Standard
                                                                                                                                                                                                      Standard
                      Limited
                      Limited         consent that
                                     consent    that describes
                                                      describes the the following:
                                                                         following:                          An and
                                                                                                             Health    and Services
                                                                                                                             Services - Montana
                                                                                                                                           Montana (500 (500 West
                                                                                                                                                                West
                                     -- The
                                        The specific
                                             specific care,
                                                       care, treatment,
                                                               treatment, and and services
                                                                                    services that
                                                                                                that         Broadway,
                                                                                                             Broadway, Missoula,
                                                                                                                             Missoula, MT)MT) site
                                                                                                                                                site .. During
                                                                                                                                                        During an an individual
                                                                                                                                                                       individual
                                      require informed
                                     require   informed consent
                                                           consent                                           tracer in
                                                                                                             tracer   in the
                                                                                                                         the ICU
                                                                                                                              ICU setting,
                                                                                                                                    setting, aa consent
                                                                                                                                                 consent for  for a
                                                                                                                                                                  a surgical
                                                                                                                                                                     surgical
                                     -- Circumstances
                                        Circumstances that that would
                                                                 would allow
                                                                          allow for
                                                                                  for exceptions
                                                                                      exceptions to  to      procedure
                                                                                                             procedure had  had nono time
                                                                                                                                      time associated
                                                                                                                                            associated with  with the
                                                                                                                                                                   the signature
                                                                                                                                                                         signature
                                      obtaining informed
                                     obtaining    informed consent
                                                              consent                                        for 2/2
                                                                                                             for  2/2 consents.
                                                                                                                       consents. TheThe HCO
                                                                                                                                          HCO policy
                                                                                                                                                  policy (Informed
                                                                                                                                                            (Informed Consent
                                                                                                                                                                           Consent
                                     -- The
                                        The process
                                             process used
                                                        used toto obtain
                                                                   obtain informed
                                                                            informed consent
                                                                                        consent              for
                                                                                                             for Medical
                                                                                                                  Medical Procedures
                                                                                                                             Procedures Policy)
                                                                                                                                             Policy) requires
                                                                                                                                                        requires thethe
                                     -- How
                                        How informed
                                              informed consent
                                                          consent is  is documented
                                                                         documented in    in the
                                                                                              the            physician
                                                                                                             physician to  to include
                                                                                                                              include time
                                                                                                                                        time with
                                                                                                                                              with signature
                                                                                                                                                     signature and  and date.
                                                                                                                                                                           date.
                                     patient
                                      patient record
                                               record                                                        The
                                                                                                             The ICUICU director
                                                                                                                          director was
                                                                                                                                    was present
                                                                                                                                          present at at the
                                                                                                                                                         the time
                                                                                                                                                               time ofof the
                                                                                                                                                                          the
                                     Note:
                                      Note: Documentation
                                             Documentation may    may be be recorded
                                                                             recorded in in aa form,
                                                                                                form, inin | observation.
                                                                                                             observation.
                                     progress
                                      progress notes,
                                                 notes, oror elsewhere
                                                              elsewhere in   in the
                                                                                the record.
                                                                                     record.
                                     -- When
                                        When a a surrogate
                                                  surrogate decision-maker
                                                               decision-maker may    may give
                                                                                            give
                                      informed consent
                                     informed    consent (See(See also
                                                                    also RI.01.02.01,
                                                                           RI.01.02.01, EP  EP 2) 2)




        Organization
        Organization Identification
                     Identification Number:
                                    Number: 9306
                                            9306                                                    32 of
                                                                                                    32 of 47
                                                                                                          47                                                 Final
                                                                                                                                                             Final Report:
                                                                                                                                                                   Report: Posted
                                                                                                                                                                           Posted 7/21/2022
                                                                                                                                                                                  (/21/2022
                                                                                                                                                                                          PL 267

                                                                                                FER_34                                                               TRIAL EXHIBIT 222
                                                                                                                                                                          Page 32 of 47
                                     Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 35 of 54
                                   Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 33 of 47

                                                                   The Joint
                                                                   The Joint Commission
                                                                             Commission
                                                                        Appendix
                                                                        Appendix
                                                             Conditions
                                                             Conditions of
                                                                         of Participation
                                                                            Participation Text
                                                                                          Text

Program: Hospital
Program: Hospital

CoP                                 ag
                                   Tag      CoP Standard
                                            CoP Standard text
                                                         text

§482.13 Condition
§482.13   Condition of
                     of            A-0115
                                   A-0115   §482.13 Condition
                                            §482.13 Condition of
                                                              of Participation:
                                                                 Participation: Patient's
                                                                                Patient's Rights
                                                                                          Rights
Participation: Patient's
Participation: Patient's Rights
                         Rights
                                            A hospital
                                            A hospital must
                                                       must protect
                                                            protect and
                                                                    and promote
                                                                        promote each
                                                                                each patient’s
                                                                                     patient's rights.
                                                                                               rights.
§482.13(c)(2) Standard:
§482.13(c)(2) Standard: Privacy
                        Privacy | A-0144
                                  A-0144    (2) The
                                            (2) The patient
                                                    patient has
                                                            has the
                                                                the right
                                                                    right to
                                                                          to receive
                                                                             receive care
                                                                                     care in
                                                                                          in a
                                                                                             a safe
                                                                                               safe setting.
                                                                                                    setting.
and Safety
and  Safety
§482.25 Condition
§482.25   Condition of
                    of             A-0489
                                   A-0489   §482.25 Condition
                                            §482.25 Condition of
                                                              of Participation:
                                                                 Participation: Pharmaceutical
                                                                                Pharmaceutical Services
                                                                                               Services
Participation: Pharmaceutical
Participation: Pharmaceutical
Services
Services                                    The hospital
                                            The   hospital must
                                                            must have
                                                                  have pharmaceutical
                                                                          pharmaceutical services
                                                                                            services that
                                                                                                      that meet
                                                                                                            meet the
                                                                                                                   the needs
                                                                                                                       needs of
                                                                                                                              of the
                                                                                                                                 the patients.
                                                                                                                                      patients. The
                                                                                                                                                The institution
                                                                                                                                                      institution must
                                                                                                                                                                  must have
                                                                                                                                                                         have a
                                                                                                                                                                              a
                                            pharmacy
                                            pharmacy directed
                                                         directed by
                                                                   by aa registered
                                                                          registered pharmacist
                                                                                      pharmacist oror a
                                                                                                      a drug
                                                                                                         drug storage
                                                                                                               storage area
                                                                                                                         area under
                                                                                                                              under competent
                                                                                                                                      competent supervision.
                                                                                                                                                   supervision. The
                                                                                                                                                                  The medical
                                                                                                                                                                       medical
                                            staff is
                                            staff is responsible
                                                     responsible for
                                                                   for developing
                                                                        developing policies
                                                                                     policies and
                                                                                               and procedures
                                                                                                    procedures that
                                                                                                                  that minimize
                                                                                                                       minimize drug
                                                                                                                                  drug errors.
                                                                                                                                        errors. This
                                                                                                                                                This function
                                                                                                                                                      function may
                                                                                                                                                                 may be
                                                                                                                                                                      be
                                            delegated
                                            delegated to to the
                                                            the hospital’s
                                                                hospital's organized
                                                                             organized pharmaceutical
                                                                                         pharmaceutical service.
                                                                                                            service.
§482.25(b)(1) Standard:
§482.25(b)(1)  Standard:           A-0501
                                   A-0501   (1) All
                                            (1) All compounding,
                                                    compounding, packaging,
                                                                  packaging, and
                                                                              and dispensing
                                                                                   dispensing of
                                                                                              of drugs
                                                                                                 drugs and
                                                                                                        and biologicals
                                                                                                             biologicals must
                                                                                                                         must be
                                                                                                                              be under
                                                                                                                                 under the
                                                                                                                                       the supervision
                                                                                                                                           supervision of
                                                                                                                                                       of a
                                                                                                                                                          a
Delivery
Delivery of
         of Services
            Services                        pharmacist
                                            pharmacist and
                                                         and performed
                                                             performed consistent
                                                                        consistent with
                                                                                   with State
                                                                                        State and
                                                                                              and Federal
                                                                                                   Federal laws.
                                                                                                            laws.
§482.41 Condition
§482.41   Condition of
                     of            A-0700
                                   A-0700   §482.41 Condition
                                            §482.41 Condition of
                                                              of Participation:
                                                                 Participation: Physical
                                                                                Physical Environment
                                                                                         Environment
Participation:
Participation: Physical
               Physical
Environment
Environment                                 The
                                            The hospital
                                                  hospital must
                                                            must be
                                                                  be constructed,
                                                                     constructed, arranged,
                                                                                  arranged, and
                                                                                              and maintained
                                                                                                   maintained toto ensure
                                                                                                                   ensure the
                                                                                                                           the safety
                                                                                                                               safety of
                                                                                                                                      of the
                                                                                                                                         the patient,
                                                                                                                                             patient, and
                                                                                                                                                       and to
                                                                                                                                                            to provide
                                                                                                                                                               provide
                                            facilities
                                            facilities for
                                                       for diagnosis
                                                           diagnosis and
                                                                      and treatment
                                                                          treatment and
                                                                                    and for
                                                                                         for special
                                                                                             special hospital
                                                                                                      hospital services
                                                                                                               services appropriate
                                                                                                                         appropriate to
                                                                                                                                      to the
                                                                                                                                         the needs
                                                                                                                                             needs ofof the
                                                                                                                                                        the community.
                                                                                                                                                             community.
§482.41(a) Standard:
§482.41(a) Standard: Buildings
                     Buildings | A-0701
                                 A-0701     §482.41(a) Standard:
                                            §482.41(a) Standard: Buildings
                                                                 Buildings

                                            The
                                            The condition
                                                 condition of
                                                           of the
                                                               the physical
                                                                    physical plant
                                                                              plant and
                                                                                    and the
                                                                                         the overall
                                                                                             overall hospital
                                                                                                      hospital environment
                                                                                                                 environment must
                                                                                                                             must be
                                                                                                                                  be developed
                                                                                                                                     developed and
                                                                                                                                               and maintained
                                                                                                                                                   maintained in
                                                                                                                                                              in
                                            such a
                                            such  a manner
                                                    manner that
                                                             that the
                                                                   the safety
                                                                        safety and
                                                                               and well-being
                                                                                    well-being of
                                                                                                of patients
                                                                                                   patients are
                                                                                                              are assured.
                                                                                                                   assured.
§482.41(b)(1)(i) Standard:
§482.41(b)(1)(i)  Standard: Life
                            Life   A-0710
                                   A-0710   (i) The
                                            (i) The hospital
                                                    hospital must
                                                               must meet
                                                                      meet thethe applicable
                                                                                   applicable provisions
                                                                                               provisions and
                                                                                                           and must
                                                                                                                must proceed
                                                                                                                     proceed in
                                                                                                                              in accordance
                                                                                                                                  accordance with
                                                                                                                                               with the
                                                                                                                                                     the Life
                                                                                                                                                          Life Safety
                                                                                                                                                               Safety Code
                                                                                                                                                                        Code
Safety from
Safety  from Fire
             Fire                           (NFPA 101
                                            (NFPA   101 and
                                                          and Tentative
                                                                Tentative Interim
                                                                             Interim Amendments
                                                                                      Amendments TIA  TIA 12–1,
                                                                                                           12-1, TIA
                                                                                                                 TIA 12–2,
                                                                                                                     12-2, TIA
                                                                                                                           TIA 12–3,
                                                                                                                                 12-3, and
                                                                                                                                        and TIA
                                                                                                                                            TIA 12–4.)
                                                                                                                                                  12-4.) Outpatient
                                                                                                                                                           Outpatient surgical
                                                                                                                                                                        surgical
                                            departments must
                                            departments     must meet
                                                                   meet the
                                                                          the provisions
                                                                                provisions applicable
                                                                                            applicable to
                                                                                                        to Ambulatory
                                                                                                           Ambulatory Health
                                                                                                                       Health Care
                                                                                                                               Care Occupancies,
                                                                                                                                      Occupancies, regardless
                                                                                                                                                       regardless ofof the
                                                                                                                                                                       the
                                            number of
                                            number   of patients
                                                        patients served.
                                                                    served.
§482.41(d)(2) Standard:
§482.41(d)(2) Standard:            A-0724
                                   A-0724   (2) Facilities,
                                            (2) Facilities, supplies,
                                                            supplies, and
                                                                      and equipment
                                                                          equipment must
                                                                                    must be
                                                                                         be maintained
                                                                                            maintained to
                                                                                                       to ensure
                                                                                                          ensure an
                                                                                                                 an acceptable
                                                                                                                    acceptable level
                                                                                                                               level of
                                                                                                                                     of safety
                                                                                                                                        safety and
                                                                                                                                               and quality.
                                                                                                                                                   quality.
Facilities
Facilities
§482.41(d)(4)
§482.41(d)(4) Standard:
              Standard:            A-0726
                                   A-0726   (4)
                                            (4) There
                                                There must
                                                       must be
                                                             be proper
                                                                 proper ventilation,
                                                                        ventilation, light,
                                                                                     light, and
                                                                                            and temperature
                                                                                                temperature controls
                                                                                                            controls in
                                                                                                                     in pharmaceutical,
                                                                                                                        pharmaceutical, food
                                                                                                                                        food preparation,
                                                                                                                                             preparation, and
                                                                                                                                                          and
Facilities
Facilities                                  other appropriate
                                            other  appropriate areas.
                                                                areas.




         Organization
         Organization Identification
                      Identification Number:
                                     Number: 9306
                                             9306                                       33 of
                                                                                        33 of 47
                                                                                              47                                                         Final
                                                                                                                                                         Final Report:
                                                                                                                                                               Report: Posted
                                                                                                                                                                       Posted 7/21/2022
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                                                                                                                                                                                   PL 268

                                                                                    FER_35                                                                      TRIAL EXHIBIT 222
                                                                                                                                                                     Page 33 of 47
                                        Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 36 of 54
                                      Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 34 of 47

                                                                       The
                                                                       The Joint
                                                                           Joint Commission
                                                                                 Commission
CoP                                   Tag      CoP
                                               CoP Standard
                                                   Standard text
                                                            text

§482.51 Condition
§482.51   Condition of
                     of               A-0940   §482.51 Condition
                                               §482.51 Condition of
                                                                 of Participation:
                                                                    Participation: Surgical
                                                                                   Surgical Services
                                                                                            Services
Participation:
Participation: Surgical
               Surgical Services
                        Services
                                               IfIf the
                                                    the hospital
                                                        hospital provides
                                                                  provides surgical
                                                                            surgical services,
                                                                                      services, the the services
                                                                                                        services must
                                                                                                                  must be
                                                                                                                        be well
                                                                                                                            well organized
                                                                                                                                  organized and
                                                                                                                                              and provided
                                                                                                                                                    provided in
                                                                                                                                                              in accordance
                                                                                                                                                                 accordance with
                                                                                                                                                                              with
                                               acceptable
                                               acceptable standards
                                                               standards of
                                                                          of practice.
                                                                              practice. IfIf outpatient
                                                                                             outpatient surgical
                                                                                                         surgical services
                                                                                                                   services are
                                                                                                                              are offered
                                                                                                                                  offered the
                                                                                                                                           the services
                                                                                                                                                services must
                                                                                                                                                          must bebe consistent
                                                                                                                                                                    consistent in
                                                                                                                                                                                in
                                               quality
                                               quality with
                                                          with inpatient
                                                               inpatient care
                                                                         care inin accordance
                                                                                   accordance with with the
                                                                                                        the complexity
                                                                                                             complexity of
                                                                                                                         of services
                                                                                                                             services offered.
                                                                                                                                       offered.
§482.51(b) Standard:
§482.51(b) Standard: Delivery
                     Delivery of
                              of | A-0951
                                     A-0951    §482.51(b) Standard:
                                               §482.51(b) Standard: Delivery
                                                                    Delivery of
                                                                             of Service
                                                                                Service
Service
Service
                                               Surgical services
                                               Surgical services must
                                                                  must be
                                                                        be consistent
                                                                           consistent with
                                                                                      with needs
                                                                                           needs and
                                                                                                  and resources.
                                                                                                      resources. Policies
                                                                                                                  Policies governing
                                                                                                                           governing surgical
                                                                                                                                      surgical care
                                                                                                                                                care must
                                                                                                                                                     must be
                                                                                                                                                           be
                                               designed to
                                               designed  to assure
                                                            assure the
                                                                    the achievement
                                                                        achievement and
                                                                                      and maintenance
                                                                                           maintenance of
                                                                                                        of high
                                                                                                           high standards
                                                                                                                standards of
                                                                                                                           of medical
                                                                                                                              medical practice
                                                                                                                                       practice and
                                                                                                                                                 and patient
                                                                                                                                                     patient care.
                                                                                                                                                              care.
§482.52 Condition
§482.52   Condition of
                    of                A-1000
                                      A-1000   §482.52 Condition
                                               §482.52 Condition of
                                                                 of Participation:
                                                                    Participation: Anesthesia
                                                                                   Anesthesia Services
                                                                                              Services
Participation: Anesthesia
Participation: Anesthesia
Services
Services                                       IfIf the
                                                    the hospital
                                                        hospital furnishes
                                                                  furnishes anesthesia
                                                                              anesthesia services,
                                                                                          services, they
                                                                                                     they must
                                                                                                          must be
                                                                                                               be provided
                                                                                                                   provided in
                                                                                                                             in aa well-organized
                                                                                                                                   well-organized manner
                                                                                                                                                    manner under
                                                                                                                                                             under the
                                                                                                                                                                   the
                                               direction
                                               direction of of a
                                                               a qualified
                                                                 qualified doctor
                                                                            doctor of
                                                                                    of medicine
                                                                                       medicine or
                                                                                                 or osteopathy.
                                                                                                    osteopathy. The
                                                                                                                 The service
                                                                                                                      service is
                                                                                                                               is responsible
                                                                                                                                  responsible for
                                                                                                                                               for all
                                                                                                                                                   all anesthesia
                                                                                                                                                       anesthesia
                                               administered in
                                               administered      in the
                                                                    the hospital.
                                                                         hospital.
§482.52(b) Standard:
§482.52(b) Standard: Delivery
                     Delivery of
                              of | A-1002
                                     A-1002    §482.52(b) Standard:
                                               §482.52(b) Standard: Delivery
                                                                    Delivery of
                                                                             of Services
                                                                                Services
Services
Services
                                               Anesthesia
                                               Anesthesia services
                                                             services must
                                                                       must bebe consistent
                                                                                 consistent with
                                                                                            with needs
                                                                                                 needs and
                                                                                                        and resources.
                                                                                                            resources. Policies
                                                                                                                         Policies on
                                                                                                                                  on anesthesia
                                                                                                                                      anesthesia procedures
                                                                                                                                                   procedures must
                                                                                                                                                               must
                                               include
                                               include the
                                                        the delineation
                                                             delineation of
                                                                          of preanesthesia
                                                                             preanesthesia and
                                                                                            and postanesthesia
                                                                                                 postanesthesia responsibilities.
                                                                                                                 responsibilities. The
                                                                                                                                    The policies
                                                                                                                                         policies must
                                                                                                                                                  must ensure
                                                                                                                                                        ensure that
                                                                                                                                                               that the
                                                                                                                                                                    the
                                               following
                                               following are
                                                          are provided
                                                               provided for
                                                                         for each
                                                                             each patient:
                                                                                   patient:
§482.42
§482.42 Condition
          Condition of
                     of               A-0747
                                      A-0747   §482.42
                                               §482.42 Condition
                                                       Condition of
                                                                 of participation:
                                                                    participation: Infection
                                                                                   Infection prevention
                                                                                             prevention and
                                                                                                        and control
                                                                                                            control and
                                                                                                                    and antibiotic
                                                                                                                        antibiotic stewardship
                                                                                                                                   stewardship programs.
                                                                                                                                               programs.
Participation:
Participation: Infection
               Infection Control
                         Control
                                               The
                                               The hospital
                                                     hospital must
                                                                must have
                                                                       have active
                                                                             active hospital-wide
                                                                                     hospital-wide programs
                                                                                                      programs for for the
                                                                                                                       the surveillance,
                                                                                                                             surveillance, prevention,
                                                                                                                                             prevention, and
                                                                                                                                                           and control
                                                                                                                                                                 control of
                                                                                                                                                                          of HAIs
                                                                                                                                                                             HAIs and
                                                                                                                                                                                    and
                                               other
                                               other infectious
                                                       infectious diseases,
                                                                    diseases, and
                                                                                and for
                                                                                     for the
                                                                                          the optimization
                                                                                              optimization of of antibiotic
                                                                                                                 antibiotic use
                                                                                                                              use through
                                                                                                                                   through stewardship.
                                                                                                                                             stewardship. The The programs
                                                                                                                                                                    programs must
                                                                                                                                                                               must
                                               demonstrate adherence
                                               demonstrate       adherence to to nationally
                                                                                 nationally recognized
                                                                                              recognized infection
                                                                                                            infection prevention
                                                                                                                        prevention andand control
                                                                                                                                           control guidelines,
                                                                                                                                                    guidelines, as as well
                                                                                                                                                                      well as
                                                                                                                                                                            as to
                                                                                                                                                                               to best
                                                                                                                                                                                   best
                                               practices
                                               practices for
                                                           for improving
                                                                improving antibiotic
                                                                            antibiotic use
                                                                                         use where
                                                                                              where applicable,
                                                                                                     applicable, andand for
                                                                                                                          for reducing
                                                                                                                               reducing the
                                                                                                                                         the development
                                                                                                                                              development and   and transmission
                                                                                                                                                                     transmission of of
                                               HAls and
                                               HAIs   and antibiotic-resistant
                                                            antibiotic-resistant organisms.
                                                                                   organisms. Infection
                                                                                                 Infection prevention
                                                                                                             prevention and and control
                                                                                                                                 control problems
                                                                                                                                          problems andand antibiotic
                                                                                                                                                            antibiotic use
                                                                                                                                                                        use issues
                                                                                                                                                                             issues
                                               identified
                                               identified inin the
                                                               the programs
                                                                    programs must
                                                                                must bebe addressed
                                                                                           addressed in in collaboration
                                                                                                           collaboration withwith the
                                                                                                                                  the hospital-wide
                                                                                                                                       hospital-wide quality
                                                                                                                                                        quality assessment
                                                                                                                                                                  assessment and and
                                               performance
                                               performance improvement
                                                                 improvement (QAPI)
                                                                                 (QAPI) program.
                                                                                           program.
§482.42(a)(2) Standard:
§482.42(a)(2)   Standard:             A-0749
                                      A-0749   (2) The
                                               (2) The hospital
                                                        hospital infection
                                                                   infection prevention
                                                                              prevention andand control
                                                                                                  control program,
                                                                                                          program, asas documented
                                                                                                                         documented in in its
                                                                                                                                           its policies
                                                                                                                                               policies and
                                                                                                                                                        and procedures,
                                                                                                                                                            procedures, employs
                                                                                                                                                                         employs
Infection
Infection prevention
          prevention and
                      and control
                            control            methods
                                               methods forfor preventing
                                                              preventing andand controlling
                                                                                  controlling the
                                                                                               the transmission
                                                                                                    transmission of
                                                                                                                  of infections
                                                                                                                      infections within
                                                                                                                                 within the
                                                                                                                                         the hospital
                                                                                                                                               hospital and
                                                                                                                                                        and between
                                                                                                                                                            between the
                                                                                                                                                                     the hospital
                                                                                                                                                                         hospital
program
program organization
          organization and
                        and                    and
                                               and other
                                                    other institutions
                                                           institutions and
                                                                         and settings;
                                                                               settings;
policies.
policies.
§482.42(a)(3) Standard:
§482.42(a)(3)   Standard:             A-0750
                                      A-0750   (3) The
                                               (3) The infection
                                                        infection prevention
                                                                    prevention and
                                                                                 and control
                                                                                      control program
                                                                                                program includes
                                                                                                          includes surveillance,
                                                                                                                     surveillance, prevention,
                                                                                                                                    prevention, and
                                                                                                                                                  and control
                                                                                                                                                        control of
                                                                                                                                                                 of HAIs,
                                                                                                                                                                    HAls, including
                                                                                                                                                                          including
Infection
Infection prevention
          prevention and
                      and control
                            control            maintaining
                                               maintaining a a clean
                                                                clean and
                                                                       and sanitary
                                                                            sanitary environment
                                                                                       environment to  to avoid
                                                                                                          avoid sources
                                                                                                                 sources and
                                                                                                                           and transmission
                                                                                                                                transmission ofof infection,
                                                                                                                                                   infection, and
                                                                                                                                                               and addresses
                                                                                                                                                                    addresses any
                                                                                                                                                                                any
program organization
program   organization and
                        and                    infection control
                                               infection control issues
                                                                   issues identified
                                                                           identified by
                                                                                       by public
                                                                                           public health
                                                                                                   health authorities;
                                                                                                           authorities; and
                                                                                                                         and
policies.
policies.
§482.24 Condition
§482.24   Condition of
                     of               A-0431
                                      A-0431   §482.24 Condition
                                               §482.24 Condition of
                                                                 of Participation:
                                                                    Participation: Medical
                                                                                   Medical Record
                                                                                           Record Services
                                                                                                  Services
Participation:
Participation: Medical
               Medical Record
                        Record
Services
Services                                       The hospital
                                               The  hospital must
                                                              must have
                                                                    have aa medical
                                                                            medical record
                                                                                    record service
                                                                                             service that
                                                                                                       that has
                                                                                                            has administrative
                                                                                                                 administrative responsibility
                                                                                                                                  responsibility for
                                                                                                                                                  for medical
                                                                                                                                                      medical records.
                                                                                                                                                              records. A
                                                                                                                                                                       A
                                               medical record
                                               medical   record must
                                                                 must be
                                                                       be maintained
                                                                          maintained for
                                                                                      for every
                                                                                          every individual
                                                                                                  individual evaluated
                                                                                                              evaluated oror treated
                                                                                                                             treated in
                                                                                                                                      in the
                                                                                                                                         the hospital.
                                                                                                                                             hospital.


          Organization
          Organization Identification
                       Identification Number:
                                      Number: 9306
                                              9306                                           34 of
                                                                                             34 of 47
                                                                                                   47                                                             Final
                                                                                                                                                                  Final Report:
                                                                                                                                                                        Report: Posted
                                                                                                                                                                                Posted 7/21/2022
                                                                                                                                                                                       (/21/2022
                                                                                                                                                                                          PL 269

                                                                                         FER_36                                                                          TRIAL EXHIBIT 222
                                                                                                                                                                              Page 34 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 37 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 35 of 47

                                                                The
                                                                The Joint
                                                                    Joint Commission
                                                                          Commission
CoP                             Tag
                                Tag      CoP
                                         CoP Standard
                                             Standard text
                                                      text

§482.24(c)(4)(i)(B)
§482.24(c)(4)(i)(B) Standard:
                    Standard:   A-0461
                                A-0461   (B) An
                                         (B)  An updated
                                                  updated examination
                                                             examination ofof the
                                                                               the patient,
                                                                                    patient, including
                                                                                               including any
                                                                                                          any changes
                                                                                                               changes inin the
                                                                                                                            the patient’s
                                                                                                                                 patient's condition,
                                                                                                                                            condition, when
                                                                                                                                                        when the
                                                                                                                                                               the medical
                                                                                                                                                                    medical
Content
Content of
         of Record
            Record                       history
                                         history and
                                                  and physical
                                                        physical examination
                                                                  examination are are completed
                                                                                       completed within
                                                                                                     within 30
                                                                                                             30 days
                                                                                                                days before
                                                                                                                      before admission
                                                                                                                               admission or or registration,
                                                                                                                                               registration, and
                                                                                                                                                             and except
                                                                                                                                                                   except as
                                                                                                                                                                           as
                                         provided under
                                         provided    under paragraph
                                                             paragraph (c)(4)(i)(C)
                                                                         (c)(4)(i)(C) ofof this
                                                                                           this section.
                                                                                                 section. Documentation
                                                                                                           Documentation of  of the
                                                                                                                                the updated
                                                                                                                                     updated examination
                                                                                                                                               examination must
                                                                                                                                                              must bebe placed
                                                                                                                                                                        placed
                                         in
                                         in the
                                            the patient's
                                                 patient's medical
                                                            medical record
                                                                     record within
                                                                              within 2424 hours
                                                                                           hours after
                                                                                                   after admission
                                                                                                         admission oror registration,
                                                                                                                        registration, but
                                                                                                                                        but prior
                                                                                                                                            prior to
                                                                                                                                                  to surgery
                                                                                                                                                     surgery or
                                                                                                                                                              or aa procedure
                                                                                                                                                                    procedure
                                         requiring anesthesia
                                         requiring   anesthesia services.
                                                                  services.
§482.24(c)(4)(v) Standard:
§482.24(c)(4)(v)  Standard:     A-0466   [All
                                         [All records
                                              records must
                                                      must document
                                                           document the
                                                                    the following,
                                                                        following, as
                                                                                   as appropriate:]
                                                                                      appropriate:]
Content
Content of
         of Record
            Record
                                         (v) Properly
                                         (v) Properly executed
                                                       executed informed
                                                                     informed consent
                                                                               consent forms
                                                                                        forms for
                                                                                               for procedures
                                                                                                   procedures and
                                                                                                                and treatments
                                                                                                                     treatments specified
                                                                                                                                specified by
                                                                                                                                          by the
                                                                                                                                             the medical
                                                                                                                                                 medical staff,
                                                                                                                                                         staff, or
                                                                                                                                                                or by
                                                                                                                                                                   by
                                         Federal or
                                         Federal  or State
                                                     State law
                                                            law ifif applicable,
                                                                     applicable, to
                                                                                 to require
                                                                                    require written
                                                                                            written patient
                                                                                                     patient consent.
                                                                                                             consent.




         Organization
         Organization Identification
                      Identification Number:
                                     Number: 9306
                                             9306                                    35 of
                                                                                     35 of 47
                                                                                           47                                                          Final
                                                                                                                                                       Final Report:
                                                                                                                                                             Report: Posted
                                                                                                                                                                     Posted 7/21/2022
                                                                                                                                                                            (/21/2022
                                                                                                                                                                                 PL 270



                                                                                 FER_37                                                                        TRIAL EXHIBIT 222
                                                                                                                                                                    Page 35 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 38 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 36 of 47

                                                                         The
                                                                         The Joint
                                                                             Joint Commission
                                                                                   Commission
                                                                                  Appendix
                                                                                  Appendix
                                                                            Standard
                                                                            Standard and
                                                                                     and EP
                                                                                          EP Text
                                                                                             Text

Program: Hospital
Program: Hospital

Standard
Standard      ep
               EP | Standard
                    Standard Text
                             Text                                                                                     EP &
                                                                                                                      EP & Addendum
                                                                                                                           Addendum Text
                                                                                                                                    Text

EC.02.02.01
EC.02.02.01    5
               5     The hospital
                     The hospital manages
                                  manages risks
                                          risks related
                                                related to
                                                        to hazardous
                                                           hazardous materials
                                                                     materials and
                                                                               and waste.
                                                                                   waste.                             The hospital
                                                                                                                      The  hospital minimizes
                                                                                                                                    minimizes risks
                                                                                                                                               risks associated
                                                                                                                                                     associated with
                                                                                                                                                                 with selecting,
                                                                                                                                                                      selecting, handling,
                                                                                                                                                                                 handling, storing,
                                                                                                                                                                                           storing,
                                                                                                                      transporting, using,
                                                                                                                      transporting, using, and
                                                                                                                                           and disposing
                                                                                                                                                disposing of
                                                                                                                                                           of hazardous
                                                                                                                                                              hazardous chemicals.
                                                                                                                                                                          chemicals.
EC.02.02.01
EC.02.02.01    12
               12    The hospital
                     The hospital manages
                                  manages risks
                                          risks related
                                                related to
                                                        to hazardous
                                                           hazardous materials
                                                                     materials and
                                                                               and waste.
                                                                                   waste.                             The hospital
                                                                                                                      The  hospital labels
                                                                                                                                      labels hazardous
                                                                                                                                              hazardous materials
                                                                                                                                                            materials and
                                                                                                                                                                       and waste.
                                                                                                                                                                             waste. Labels
                                                                                                                                                                                     Labels identify
                                                                                                                                                                                              identify the
                                                                                                                                                                                                        the
                                                                                                                      contents and
                                                                                                                      contents   and hazard
                                                                                                                                       hazard warnings.
                                                                                                                                                warnings. **
                                                                                                                      Footnote *:
                                                                                                                      Footnote   *: The
                                                                                                                                    The Occupational
                                                                                                                                          Occupational Safety
                                                                                                                                                           Safety and
                                                                                                                                                                   and Health
                                                                                                                                                                         Health Administration’s
                                                                                                                                                                                 Administration’s (OSHA)
                                                                                                                                                                                                      (OSHA)
                                                                                                                      Bloodborne Pathogens
                                                                                                                      Bloodborne     Pathogens and and Hazard
                                                                                                                                                         Hazard Communications
                                                                                                                                                                  Communications Standards
                                                                                                                                                                                       Standards and and the
                                                                                                                                                                                                          the
                                                                                                                      National
                                                                                                                      National Fire
                                                                                                                                Fire Protection
                                                                                                                                       Protection Association
                                                                                                                                                    Association (NFPA)
                                                                                                                                                                  (NFPA) provide
                                                                                                                                                                             provide details
                                                                                                                                                                                      details on
                                                                                                                                                                                               on labeling
                                                                                                                                                                                                   labeling
                                                                                                                      requirements. (See
                                                                                                                      requirements.     (See also
                                                                                                                                              also IC.02.01.01,
                                                                                                                                                     1C.02.01.01, EPEP 6)
                                                                                                                                                                        6)
EC.02.03.01
EC.02.03.01    12
               12    The
                     The hospital
                         hospital manages
                                  manages fire
                                          fire risks.
                                               risks.                                                                 When
                                                                                                                       When flammable
                                                                                                                                 flammable germicides
                                                                                                                                                 germicides or  or antiseptics
                                                                                                                                                                    antiseptics are are used
                                                                                                                                                                                         used during
                                                                                                                                                                                                during surgeries
                                                                                                                                                                                                         surgeries
                                                                                                                      utilizing
                                                                                                                       utilizing electrosurgery,
                                                                                                                                    electrosurgery, cautery,
                                                                                                                                                         cautery, or or lasers,
                                                                                                                                                                         lasers, the
                                                                                                                                                                                   the following
                                                                                                                                                                                        following are
                                                                                                                                                                                                    are required:
                                                                                                                                                                                                         required:
                                                                                                                      -- Nonflammable
                                                                                                                           Nonflammable packaging
                                                                                                                                                packaging
                                                                                                                      -- Unit-dose
                                                                                                                           Unit-dose applicators
                                                                                                                                         applicators
                                                                                                                      -- Preoperative
                                                                                                                           Preoperative "time-out"
                                                                                                                                             "time-out" prior
                                                                                                                                                           prior to
                                                                                                                                                                  to the
                                                                                                                                                                      the initiation
                                                                                                                                                                           initiation of
                                                                                                                                                                                       of any
                                                                                                                                                                                          any surgical
                                                                                                                                                                                                surgical procedure
                                                                                                                                                                                                           procedure to
                                                                                                                                                                                                                      to
                                                                                                                       verify the
                                                                                                                      verify    the following:
                                                                                                                                      following:
                                                                                                                         -- Application
                                                                                                                            Application sitesite is
                                                                                                                                                  is dry
                                                                                                                                                     dry prior
                                                                                                                                                          prior to
                                                                                                                                                                 to draping
                                                                                                                                                                     draping andand use
                                                                                                                                                                                      use of
                                                                                                                                                                                           of surgical
                                                                                                                                                                                              surgical equipment
                                                                                                                                                                                                          equipment
                                                                                                                         -- Pooling
                                                                                                                            Pooling of  of solution
                                                                                                                                           solution hashas not
                                                                                                                                                            not occurred
                                                                                                                                                                 occurred or  or has
                                                                                                                                                                                  has been
                                                                                                                                                                                        been corrected
                                                                                                                                                                                               corrected
                                                                                                                         -- Solution-soaked
                                                                                                                            Solution-soaked materials
                                                                                                                                                    materials have
                                                                                                                                                                have beenbeen removed
                                                                                                                                                                                removed fromfrom the
                                                                                                                                                                                                   the operating
                                                                                                                                                                                                        operating room
                                                                                                                                                                                                                   room
                                                                                                                      prior
                                                                                                                       prior toto draping
                                                                                                                                   draping andand useuse of
                                                                                                                                                          of surgical
                                                                                                                                                             surgical devices
                                                                                                                                                                          devices
                                                                                                                       (For full
                                                                                                                      (For    full text,
                                                                                                                                    text, refer
                                                                                                                                           refer to
                                                                                                                                                  to NFPA
                                                                                                                                                      NFPA 99-2012:
                                                                                                                                                              99-2012: 15.13)
                                                                                                                                                                            15.13)
EC.02.03.05
EC.02.03.05    28
               28    The hospital
                     The  hospital maintains
                                    maintains fire
                                                fire safety
                                                     safety equipment
                                                             equipment andand fire
                                                                               fire safety
                                                                                    safety building
                                                                                            building             Documentation of
                                                                                                                Documentation          of maintenance,
                                                                                                                                          maintenance, testing,
                                                                                                                                                              testing, and
                                                                                                                                                                         and inspection
                                                                                                                                                                               inspection activities
                                                                                                                                                                                             activities for
                                                                                                                                                                                                          for
                     features.
                     features.                                                                                  Standard
                                                                                                                 Standard EC.02.03.05,
                                                                                                                              EC.02.03.05, EPs     EPs 1–20,
                                                                                                                                                        1-20, 25 25 (including
                                                                                                                                                                     (including fire
                                                                                                                                                                                   fire alarm
                                                                                                                                                                                        alarm and
                                                                                                                                                                                                and fire
                                                                                                                                                                                                      fire
                     Note: This
                     Note:  This standard
                                  standard does
                                             does not
                                                    not require
                                                        require hospitals
                                                                 hospitals to
                                                                            to have
                                                                               have the
                                                                                      the types
                                                                                           types of
                                                                                                  of fire
                                                                                                     fire        protection systems)
                                                                                                                protection     systems) includes
                                                                                                                                             includes thethe following:
                                                                                                                                                              following:
                     safety equipment
                     safety  equipment andand building
                                               building features
                                                         features described
                                                                    described below.
                                                                                below. However,
                                                                                         However, ifif these
                                                                                                        these | -- Name
                                                                                                                   Name of of the
                                                                                                                               the activity
                                                                                                                                     activity
                     types of
                     types  of equipment
                               equipment or or features
                                               features exist
                                                          exist within
                                                                within the
                                                                       the building,
                                                                            building, then
                                                                                       then the
                                                                                             the following
                                                                                                  following | -- Date
                                                                                                                   Date of
                                                                                                                         of the
                                                                                                                             the activity
                                                                                                                                   activity
                     maintenance,
                     maintenance, testing,
                                     testing, and
                                               and inspection
                                                     inspection requirements
                                                                 requirements apply.
                                                                                  apply.                        -- Inventory
                                                                                                                   Inventory of of devices,
                                                                                                                                    devices, equipment,
                                                                                                                                                  equipment, or  or other
                                                                                                                                                                    other items
                                                                                                                                                                            items
                                                                                                                -- Required
                                                                                                                   Required frequency
                                                                                                                                frequency of    of the
                                                                                                                                                   the activity
                                                                                                                                                       activity
                                                                                                                -- Name
                                                                                                                   Name andand contact
                                                                                                                                  contact information,
                                                                                                                                              information, including
                                                                                                                                                              including affiliation,
                                                                                                                                                                           affiliation, of
                                                                                                                                                                                         of the
                                                                                                                                                                                            the person
                                                                                                                                                                                                 person who who
                                                                                                                 performed the
                                                                                                                performed      the activity
                                                                                                                                     activity
                                                                                                                -- NFPA
                                                                                                                   NFPA standard(s)
                                                                                                                           standard(s) referenced
                                                                                                                                             referenced for for the
                                                                                                                                                                 the activity
                                                                                                                                                                      activity
                                                                                                                -- Results
                                                                                                                   Results ofof the
                                                                                                                                 the activity
                                                                                                                                       activity
                                                                                                                 Note: For
                                                                                                                Note:   For additional
                                                                                                                              additional guidance
                                                                                                                                             guidance on  on documenting
                                                                                                                                                               documenting activities,
                                                                                                                                                                                 activities, see
                                                                                                                                                                                              see NFPA
                                                                                                                                                                                                    NFPA 25-  25-
                                                                                                                 2011: 4.3;
                                                                                                                2011:   4.3; 4.4;
                                                                                                                               4.4; NFPA
                                                                                                                                      NFPA 72-2010:
                                                                                                                                                72-2010: 14.2.1;
                                                                                                                                                            14.2.1; 14.2.2;
                                                                                                                                                                       14.2.2; 14.2.3;
                                                                                                                                                                                 14.2.3; 14.2.4.
                                                                                                                                                                                           14.2.4.
EC.02.05.01
EC.02.05.01    9
               9     The hospital
                     The hospital manages
                                  manages risks
                                          risks associated
                                                associated with
                                                           with its
                                                                its utility
                                                                    utility systems.
                                                                            systems.                                  The hospital
                                                                                                                      The hospital labels
                                                                                                                                   labels utility
                                                                                                                                          utility system
                                                                                                                                                  system controls
                                                                                                                                                         controls to
                                                                                                                                                                  to facilitate
                                                                                                                                                                     facilitate partial
                                                                                                                                                                                partial or
                                                                                                                                                                                        or complete
                                                                                                                                                                                           complete



       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                36 of
                                                                                               36 of 47
                                                                                                     47                                                                Final
                                                                                                                                                                       Final Report:
                                                                                                                                                                             Report: Posted
                                                                                                                                                                                     Posted 7/21/2022
                                                                                                                                                                                            (/21/2022
                                                                                                                                                                                                       PL 271



                                                                                           FER_38                                                                               TRIAL EXHIBIT 222
                                                                                                                                                                                     Page 36 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 39 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 37 of 47

                                                              The
                                                              The Joint
                                                                  Joint Commission
                                                                        Commission
Standard
Standard       EP | Standard
              er    Standard Text
                             Text                                                           EP
                                                                                            EP &
                                                                                               & Addendum
                                                                                                 Addendum Text
                                                                                                          Text
                                                                                            emergency shutdowns.
                                                                                            emergency         shutdowns.
                                                                                            Note 1:
                                                                                            Note    1: Examples
                                                                                                       Examples of     of utility
                                                                                                                           utility system
                                                                                                                                    system controls
                                                                                                                                                controls that
                                                                                                                                                          that should
                                                                                                                                                                 should be   be labeled
                                                                                                                                                                                 labeled areare
                                                                                            utility source
                                                                                            utility  source valves,
                                                                                                                valves, utility
                                                                                                                           utility system
                                                                                                                                    system mainmain switches
                                                                                                                                                       switches andand valves,
                                                                                                                                                                           valves, andand
                                                                                            individual circuits
                                                                                            individual     circuits inin an
                                                                                                                          an electrical
                                                                                                                               electrical distribution
                                                                                                                                             distribution panel.
                                                                                                                                                            panel.
                                                                                            Note 2:
                                                                                            Note    2: For
                                                                                                       For example,
                                                                                                              example, the  the fire
                                                                                                                                  fire alarm
                                                                                                                                         alarm system’s
                                                                                                                                                 system's circuit
                                                                                                                                                             circuit isis clearly
                                                                                                                                                                           clearly labeled
                                                                                                                                                                                      labeled asas
                                                                                            Fire Alarm
                                                                                            Fire   Alarm Circuit;
                                                                                                             Circuit; the
                                                                                                                        the disconnect
                                                                                                                              disconnect methodmethod (that
                                                                                                                                                         (that is,
                                                                                                                                                                is, the
                                                                                                                                                                    the circuit
                                                                                                                                                                           circuit breaker)
                                                                                                                                                                                     breaker) is is
                                                                                            marked
                                                                                            marked in   in red;
                                                                                                            red; and
                                                                                                                  and access
                                                                                                                         access is   is restricted
                                                                                                                                         restricted toto authorized
                                                                                                                                                         authorized personnel.
                                                                                                                                                                          personnel.
                                                                                            Information
                                                                                            Information regarding
                                                                                                              regarding the  the dedicated
                                                                                                                                   dedicated branch
                                                                                                                                                  branch circuit
                                                                                                                                                           circuit for
                                                                                                                                                                     for the
                                                                                                                                                                           the fire
                                                                                                                                                                                fire alarm
                                                                                                                                                                                      alarm panel
                                                                                                                                                                                              panel
                                                                                            is
                                                                                            is located
                                                                                                located in in the
                                                                                                               the control
                                                                                                                    control unit.
                                                                                                                                unit. For
                                                                                                                                        For additional
                                                                                                                                             additional guidance,
                                                                                                                                                          guidance, see   see NFPA
                                                                                                                                                                                 NFPA 101-2012:
                                                                                                                                                                                          101-2012:
                                                                                            18/19.3.4.1; 9.6.1.3;
                                                                                            18/19.3.4.1;       9.6.1.3; NFPA
                                                                                                                           NFPA 72-2010:
                                                                                                                                     72-2010: 10.5.5.2.
                                                                                                                                                   10.5.5.2.
EC.02.05.01
EC.02.05.01    15    The hospital
                     The hospital manages
                                  manages risks
                                          risks associated
                                                associated with
                                                           with its
                                                                its utility
                                                                    utility systems.
                                                                            systems.        In critical
                                                                                            In  critical care
                                                                                                          care areas
                                                                                                                 areas designed
                                                                                                                          designed to     to control
                                                                                                                                               control airborne
                                                                                                                                                         airborne contaminants
                                                                                                                                                                         contaminants (such  (such as   as
                                                                                            biological agents,
                                                                                            biological     agents, gases,
                                                                                                                      gases, fumes,
                                                                                                                                 fumes, dust),dust), the
                                                                                                                                                       the ventilation
                                                                                                                                                             ventilation system
                                                                                                                                                                              system provides
                                                                                                                                                                                         provides
                                                                                            appropriate pressure
                                                                                            appropriate       pressure relationships,
                                                                                                                           relationships, air-exchange
                                                                                                                                                  air-exchange rates,   rates, filtration
                                                                                                                                                                                filtration
                                                                                            efficiencies,
                                                                                            efficiencies, temperature,
                                                                                                              temperature, and    and humidity.
                                                                                                                                         humidity. For  For newnew and  and existing
                                                                                                                                                                             existing health
                                                                                                                                                                                         health care care
                                                                                            facilities,
                                                                                            facilities, oror altered,
                                                                                                             altered, renovated,
                                                                                                                         renovated, or      or modernized
                                                                                                                                                modernized portions portions of of existing
                                                                                                                                                                                    existing systems
                                                                                                                                                                                                 systems
                                                                                            or
                                                                                            or individual
                                                                                                individual components
                                                                                                               components (constructed
                                                                                                                                  (constructed or     or plans
                                                                                                                                                           plans approved
                                                                                                                                                                     approved on    on or
                                                                                                                                                                                        or after
                                                                                                                                                                                            after July
                                                                                                                                                                                                     July
                                                                                            5,
                                                                                            5, 2016),
                                                                                                2016), heating,
                                                                                                          heating, cooling,
                                                                                                                       cooling, andand ventilation
                                                                                                                                           ventilation are are in in accordance
                                                                                                                                                                      accordance with   with NFPA
                                                                                                                                                                                               NFPA 99-    99-
                                                                                            2012,
                                                                                            2012, which
                                                                                                      which includes
                                                                                                               includes 2008
                                                                                                                           2008 ASHRAE
                                                                                                                                     ASHRAE 170,    170, or or state
                                                                                                                                                                state design
                                                                                                                                                                          design requirements
                                                                                                                                                                                    requirements ifif
                                                                                            more stringent.
                                                                                            more     stringent.
                                                                                            Note 1:
                                                                                            Note    1: For
                                                                                                        For hospitals
                                                                                                             hospitals thatthat use
                                                                                                                                  use Joint
                                                                                                                                         Joint Commission
                                                                                                                                                  Commission accreditation
                                                                                                                                                                       accreditation for  for deemed
                                                                                                                                                                                                deemed
                                                                                            status
                                                                                            status purposes:
                                                                                                       purposes: Existing
                                                                                                                     Existing facilities
                                                                                                                                  facilities may may elect
                                                                                                                                                       elect to to implement
                                                                                                                                                                     implement a     a Centers
                                                                                                                                                                                        Centers for  for
                                                                                            Medicare
                                                                                            Medicare &     & Medicaid
                                                                                                              Medicaid Services
                                                                                                                           Services (CMS)  (CMS) categorical
                                                                                                                                                     categorical waiver  waiver to to reduce
                                                                                                                                                                                       reduce their
                                                                                                                                                                                                  their
                                                                                            relative
                                                                                            relative humidity
                                                                                                        humidity to to 20%
                                                                                                                        20% in  in operating
                                                                                                                                    operating rooms rooms and and otherother anesthetizing
                                                                                                                                                                               anesthetizing
                                                                                            locations.
                                                                                            locations. Should
                                                                                                           Should the the facility
                                                                                                                           facility elect
                                                                                                                                       elect thethe waiver,
                                                                                                                                                    waiver, itit mustmust be be included
                                                                                                                                                                                 included in   in its
                                                                                                                                                                                                   its
                                                                                            Basic Building
                                                                                            Basic     Building Information
                                                                                                                 Information (BBI), (BBI), and and the
                                                                                                                                                    the facility’s
                                                                                                                                                          facility's equipment
                                                                                                                                                                         equipment and   and supplies
                                                                                                                                                                                                supplies
                                                                                            must
                                                                                            must be be compatible
                                                                                                         compatible with with the
                                                                                                                                the humidity
                                                                                                                                       humidity reduction.
                                                                                                                                                     reduction. For    For further
                                                                                                                                                                            further information
                                                                                                                                                                                       information on     on
                                                                                            waiver
                                                                                            waiver and and equivalency
                                                                                                             equivalency requests,
                                                                                                                               requests, see    see
                                                                                            https://www_.jointcommission.org/resources/patient-safety-topics/the-
                                                                                            https://www.jointcommission.org/resources/patient-safety-topics/the-
                                                                                            physical-environment/life-safety-code-information-and-resources/.
                                                                                            physical-environment/life-safety-code-information-and-resources/.
                                                                                            Note 2:
                                                                                            Note    2: For
                                                                                                        For hospitals
                                                                                                             hospitals thatthat use
                                                                                                                                  use Joint
                                                                                                                                         Joint Commission
                                                                                                                                                  Commission accreditation
                                                                                                                                                                       accreditation for  for deemed
                                                                                                                                                                                                deemed
                                                                                            status purposes:
                                                                                            status     purposes: Existing
                                                                                                                     Existing facilities
                                                                                                                                  facilities may may comply
                                                                                                                                                       comply with   with the
                                                                                                                                                                           the 2012
                                                                                                                                                                                 2012 NFPA
                                                                                                                                                                                         NFPA 99    99
                                                                                            ventilation
                                                                                            ventilation requirements
                                                                                                            requirements or    or thethe ventilation
                                                                                                                                           ventilation requirements
                                                                                                                                                            requirements in      in the
                                                                                                                                                                                     the edition
                                                                                                                                                                                          edition of   of the
                                                                                                                                                                                                           the
                                                                                            NFPA
                                                                                            NFPA code code previously
                                                                                                              previously adopted
                                                                                                                             adopted by      by CMS
                                                                                                                                                 CMS at  at the
                                                                                                                                                             the time
                                                                                                                                                                    time ofof installation
                                                                                                                                                                               installation (for(for
                                                                                            example,
                                                                                            example, 1999  1999 NFPA
                                                                                                                  NFPA 99). 99).
EC.02.05.01
EC.02.05.01    16    The
                     The hospital
                         hospital manages
                                  manages risks
                                          risks associated
                                                associated with
                                                           with its
                                                                its utility
                                                                    utility systems.
                                                                            systems.        In
                                                                                            In non–critical
                                                                                               non-critical care
                                                                                                             care areas,
                                                                                                                    areas, the
                                                                                                                            the ventilation
                                                                                                                                 ventilation system
                                                                                                                                              system provides
                                                                                                                                                        provides required
                                                                                                                                                                  required
                                                                                            pressure
                                                                                            pressure relationships,
                                                                                                       relationships, temperature,
                                                                                                                         temperature, andand humidity.
                                                                                                                                               humidity.
                                                                                            Note: Examples
                                                                                            Note:  Examples of of non–critical
                                                                                                                   non—critical care
                                                                                                                                  care areas
                                                                                                                                        areas are
                                                                                                                                                are general
                                                                                                                                                     general care
                                                                                                                                                              care nursing
                                                                                                                                                                    nursing units;
                                                                                                                                                                             units;
                                                                                            clean
                                                                                            clean and
                                                                                                   and soiled
                                                                                                        soiled utility
                                                                                                                utility rooms
                                                                                                                        rooms inin acute
                                                                                                                                   acute care
                                                                                                                                           care areas;
                                                                                                                                                 areas; laboratories,
                                                                                                                                                         laboratories,
                                                                                            pharmacies, diagnostic
                                                                                            pharmacies,    diagnostic andand treatment
                                                                                                                              treatment areas,
                                                                                                                                           areas, food
                                                                                                                                                    food preparation
                                                                                                                                                         preparation areas,
                                                                                                                                                                       areas, and
                                                                                                                                                                               and
                                                                                            other support
                                                                                            other  support departments.
                                                                                                            departments.
EC.02.05.01
EC.02.05.01    23
               23    The
                     The hospital
                         hospital manages
                                  manages risks
                                          risks associated
                                                associated with
                                                           with its
                                                                its utility
                                                                    utility systems.
                                                                            systems.        Power
                                                                                            Power strips
                                                                                                  strips in
                                                                                                         in a
                                                                                                            a patient
                                                                                                              patient care
                                                                                                                      care vicinity
                                                                                                                           vicinity are
                                                                                                                                    are only
                                                                                                                                        only used
                                                                                                                                             used for
                                                                                                                                                  for components
                                                                                                                                                      components of
                                                                                                                                                                 of



       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                  37 of
                                                                                 37 of 47
                                                                                       47                                                            Final
                                                                                                                                                     Final Report:
                                                                                                                                                           Report: Posted
                                                                                                                                                                   Posted 7/21/2022
                                                                                                                                                                          (/21/2022
                                                                                                                                                                                         PL 272

                                                                             FER_39                                                                           TRIAL EXHIBIT 222
                                                                                                                                                                   Page 37 of 47
                                  Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 40 of 54
                                Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 38 of 47

                                                                      The
                                                                      The Joint
                                                                          Joint Commission
                                                                                Commission
Standard
Standard       EP | Standard
              er    Standard Text
                             Text                                                                                EP
                                                                                                                 EP &
                                                                                                                    & Addendum
                                                                                                                      Addendum Text
                                                                                                                               Text
                                                                                                                 movable
                                                                                                                 movable electrical
                                                                                                                            electrical equipment
                                                                                                                                         equipment used
                                                                                                                                                      used for
                                                                                                                                                             for patient
                                                                                                                                                                  patient care
                                                                                                                                                                            care that
                                                                                                                                                                                   that have
                                                                                                                                                                                         have been
                                                                                                                                                                                                 been
                                                                                                                 assembled by
                                                                                                                 assembled     by qualified
                                                                                                                                   qualified personnel.
                                                                                                                                               personnel. These
                                                                                                                                                            These power
                                                                                                                                                                      power strips
                                                                                                                                                                               strips meet
                                                                                                                                                                                        meet UL UL 1363A
                                                                                                                                                                                                    1363A or or
                                                                                                                 UL 60601-1.
                                                                                                                 UL   60601-1. Power
                                                                                                                                  Power strips
                                                                                                                                          strips used
                                                                                                                                                  used outside
                                                                                                                                                        outside of of aa patient
                                                                                                                                                                         patient care
                                                                                                                                                                                   care vicinity,
                                                                                                                                                                                          vicinity, but
                                                                                                                                                                                                     but within
                                                                                                                                                                                                          within
                                                                                                                 the
                                                                                                                 the patient
                                                                                                                      patient care
                                                                                                                               care room,
                                                                                                                                      room, meet
                                                                                                                                              meet UL
                                                                                                                                                    UL 1363.
                                                                                                                                                        1363. In In non–patient
                                                                                                                                                                     non—patient care care rooms,
                                                                                                                                                                                            rooms, power
                                                                                                                                                                                                       power
                                                                                                                 strips meet
                                                                                                                 strips  meet other
                                                                                                                                other UL
                                                                                                                                       UL standards.
                                                                                                                                           standards. (For
                                                                                                                                                         (For full
                                                                                                                                                               full text,
                                                                                                                                                                    text, refer
                                                                                                                                                                           refer to
                                                                                                                                                                                  to NFPA
                                                                                                                                                                                      NFPA 99-2012:
                                                                                                                                                                                               99-2012:
                                                                                                                 10.2.3.6;
                                                                                                                 10.2.3.6; 10.2.4;
                                                                                                                             10.2.4; NFPA
                                                                                                                                       NFPA 70-2011:
                                                                                                                                               70-2011: 400-8;
                                                                                                                                                          400-8; 590.3(D);
                                                                                                                                                                    590.3(D); Tentative
                                                                                                                                                                                 Tentative Interim
                                                                                                                                                                                                Interim
                                                                                                                 Amendment
                                                                                                                 Amendment [TIA] [TIA] 12-5)
                                                                                                                                        12-5)
EC.02.05.01
EC.02.05.01    24    The
                     The hospital
                         hospital manages
                                  manages risks
                                          risks associated
                                                associated with
                                                           with its
                                                                its utility
                                                                    utility systems.
                                                                            systems.                             Extension
                                                                                                                 Extension cords
                                                                                                                            cords are
                                                                                                                                    are not
                                                                                                                                         not used
                                                                                                                                              used as
                                                                                                                                                    as a
                                                                                                                                                       a substitute
                                                                                                                                                         substitute for
                                                                                                                                                                     for fixed
                                                                                                                                                                          fixed wiring
                                                                                                                                                                                 wiring in
                                                                                                                                                                                        in a
                                                                                                                                                                                           a building.
                                                                                                                                                                                             building.
                                                                                                                 Extension
                                                                                                                 Extension cords
                                                                                                                            cords used
                                                                                                                                    used temporarily
                                                                                                                                           temporarily are
                                                                                                                                                        are removed
                                                                                                                                                             removed immediately
                                                                                                                                                                         immediately upon
                                                                                                                                                                                        upon
                                                                                                                 completion
                                                                                                                 completion of
                                                                                                                             of the
                                                                                                                                 the intended
                                                                                                                                      intended purpose.
                                                                                                                                                 purpose. (For
                                                                                                                                                           (For full
                                                                                                                                                                full text,
                                                                                                                                                                     text, refer
                                                                                                                                                                            refer to
                                                                                                                                                                                   to NFPA
                                                                                                                                                                                      NFPA 99-2012:
                                                                                                                                                                                             99-2012:
                                                                                                                 10.2.3.6;
                                                                                                                 10.2.3.6; 10.2.4;
                                                                                                                           10.2.4; NFPA
                                                                                                                                     NFPA 70-2011:
                                                                                                                                             70-2011: 400-8;
                                                                                                                                                       400-8; 590.3(D);
                                                                                                                                                               590.3(D); Tentative
                                                                                                                                                                             Tentative Interim
                                                                                                                                                                                        Interim
                                                                                                                 Amendment [TIA]
                                                                                                                 Amendment     [TIA] 12-5)
                                                                                                                                      12-5)
EC.02.05.02
EC.02.05.02    3     The hospital
                     The  hospital has
                                    has a
                                        a water
                                          water management
                                                management program
                                                              program that
                                                                        that addresses
                                                                             addresses Legionella
                                                                                         Legionella               The individual
                                                                                                                 The   individual or
                                                                                                                                   or team
                                                                                                                                       team responsible
                                                                                                                                                 responsible for  for the
                                                                                                                                                                       the water
                                                                                                                                                                             water management
                                                                                                                                                                                      management program program
                     and other
                     and  other waterborne
                                 waterborne pathogens.
                                             pathogens.                                                           manages the
                                                                                                                 manages     the following:
                                                                                                                                  following:
                     Note: The
                     Note:  The water
                                 water management
                                        management program
                                                      program is
                                                              is in
                                                                 in accordance
                                                                    accordance with
                                                                                 with law
                                                                                      law and
                                                                                           and                   -- Documenting
                                                                                                                    Documenting results
                                                                                                                                    results of  of all
                                                                                                                                                    all monitoring
                                                                                                                                                         monitoring activities
                                                                                                                                                                        activities
                     regulation.
                     regulation.                                                                                 -- Corrective
                                                                                                                    Corrective actions
                                                                                                                                actions and  and procedures
                                                                                                                                                   procedures to    to follow
                                                                                                                                                                        follow ifif a
                                                                                                                                                                                    a test
                                                                                                                                                                                       test result
                                                                                                                                                                                            result outside
                                                                                                                                                                                                     outside ofof
                                                                                                                 acceptable
                                                                                                                  acceptable limits
                                                                                                                               limits isis obtained,
                                                                                                                                            obtained, including
                                                                                                                                                           including when
                                                                                                                                                                        when a  a probable
                                                                                                                                                                                    probable or  or confirmed
                                                                                                                                                                                                    confirmed
                                                                                                                 waterborne
                                                                                                                  waterborne pathogen(s)
                                                                                                                                pathogen(s) indicates
                                                                                                                                                   indicates action
                                                                                                                                                                 action is is necessary
                                                                                                                                                                              necessary
                                                                                                                 -- Documenting
                                                                                                                    Documenting corrective
                                                                                                                                    corrective actions
                                                                                                                                                     actions taken
                                                                                                                                                                taken when
                                                                                                                                                                         when control
                                                                                                                                                                                  control limits
                                                                                                                                                                                            limits are
                                                                                                                                                                                                    are not
                                                                                                                                                                                                          not
                                                                                                                 maintained
                                                                                                                  maintained
                                                                                                                 Note:
                                                                                                                  Note: See
                                                                                                                         See EC.04.01.01,
                                                                                                                              EC.04.01.01, EP      EP 1  1 for
                                                                                                                                                           for the
                                                                                                                                                               the process
                                                                                                                                                                     process of  of monitoring,
                                                                                                                                                                                     monitoring, reporting,
                                                                                                                                                                                                      reporting, and
                                                                                                                                                                                                                  and
                                                                                                                  investigating utility
                                                                                                                 investigating   utility system
                                                                                                                                           system issues.
                                                                                                                                                       issues.
EC.02.05.03
EC.02.05.03   !
              11     The hospital
                     The hospital has
                                  has a
                                      a reliable
                                        reliable emergency
                                                 emergency electrical
                                                           electrical power
                                                                      power source.
                                                                            source.                               For facilities
                                                                                                                 For   facilities that
                                                                                                                                   that were
                                                                                                                                         were constructed,
                                                                                                                                                  constructed, or    or had
                                                                                                                                                                         had aa change
                                                                                                                                                                                change in  in occupancy
                                                                                                                                                                                               occupancy type, type, oror
                                                                                                                  have undergone
                                                                                                                 have    undergone an    an electrical
                                                                                                                                              electrical system
                                                                                                                                                            system upgrade
                                                                                                                                                                        upgrade since
                                                                                                                                                                                  since 1983,
                                                                                                                                                                                           1983, thethe hospital
                                                                                                                                                                                                          hospital hashas
                                                                                                                 aa Type
                                                                                                                     Type 11 oror Type
                                                                                                                                  Type 3  3 essential
                                                                                                                                             essential electrical
                                                                                                                                                           electrical system
                                                                                                                                                                         system inin accordance
                                                                                                                                                                                     accordance with    with NFPA
                                                                                                                                                                                                               NFPA
                                                                                                                 99,
                                                                                                                  99, 2012
                                                                                                                       2012 edition.
                                                                                                                               edition. This
                                                                                                                                         This essential
                                                                                                                                                 essential electrical
                                                                                                                                                                electrical system
                                                                                                                                                                             system must
                                                                                                                                                                                      must be  be divided
                                                                                                                                                                                                   divided into
                                                                                                                                                                                                              into
                                                                                                                 three
                                                                                                                  three branches,
                                                                                                                          branches, including
                                                                                                                                        including the the life
                                                                                                                                                            life safety
                                                                                                                                                                  safety branch,
                                                                                                                                                                           branch, critical
                                                                                                                                                                                    critical branch,
                                                                                                                                                                                               branch, and and
                                                                                                                 equipment
                                                                                                                  equipment branch.
                                                                                                                                 branch. Both
                                                                                                                                            Both thethe life
                                                                                                                                                          life safety
                                                                                                                                                                safety branch
                                                                                                                                                                         branch and
                                                                                                                                                                                  and the
                                                                                                                                                                                        the critical
                                                                                                                                                                                              critical branch
                                                                                                                                                                                                        branch are are
                                                                                                                 kept
                                                                                                                  kept independent
                                                                                                                        independent of    of all
                                                                                                                                              all other
                                                                                                                                                   other wiring
                                                                                                                                                           wiring andand equipment,
                                                                                                                                                                           equipment, and and they
                                                                                                                                                                                                 they transfer
                                                                                                                                                                                                        transfer
                                                                                                                 within
                                                                                                                  within 1010 seconds
                                                                                                                               seconds of  of electrical
                                                                                                                                               electrical interruption.
                                                                                                                                                              interruption. Each
                                                                                                                                                                               Each branch
                                                                                                                                                                                      branch has has atat least
                                                                                                                                                                                                           least one
                                                                                                                                                                                                                   one
                                                                                                                 automatic
                                                                                                                  automatic transfer
                                                                                                                                transfer switch.
                                                                                                                                           switch. For For additional
                                                                                                                                                              additional guidance,
                                                                                                                                                                            guidance, seesee NFPA
                                                                                                                                                                                                NFPA 99-2012:
                                                                                                                                                                                                         99-2012:
                                                                                                                  6.4.2.2.
                                                                                                                 6.4.2.2.
EC.02.05.05
EC.02.05.05    5
               5     The
                     The hospital
                          hospital inspects,
                                     inspects, tests,
                                                tests, and
                                                        and maintains
                                                              maintains utility
                                                                         utility systems.
                                                                                  systems.                       The
                                                                                                                 The hospital
                                                                                                                        hospital inspects,
                                                                                                                                   inspects, tests,
                                                                                                                                                tests, and
                                                                                                                                                         and maintains
                                                                                                                                                               maintains the the following:
                                                                                                                                                                                  following: Infection
                                                                                                                                                                                               Infection control
                                                                                                                                                                                                            control
                     Note: At
                     Note:  At times,
                                times, maintenance
                                        maintenance is   is performed
                                                            performed byby an
                                                                            an external
                                                                                 external service.
                                                                                           service. InIn these
                                                                                                         these   utility system
                                                                                                                 utility  system components
                                                                                                                                    components on     on the
                                                                                                                                                           the inventory.
                                                                                                                                                                inventory. TheThe completion
                                                                                                                                                                                    completion datedate and
                                                                                                                                                                                                          and the
                                                                                                                                                                                                                the
                     cases, hospitals
                     cases,   hospitals are
                                         are not
                                              not required
                                                   required toto possess
                                                                 possess maintenance
                                                                           maintenance documentation
                                                                                             documentation       results of
                                                                                                                 results    of the
                                                                                                                               the activities
                                                                                                                                    activities are
                                                                                                                                                 are documented.
                                                                                                                                                       documented.
                     but
                     but must
                         must have
                                 have access
                                       access toto such
                                                    such documentation
                                                           documentation during
                                                                             during survey
                                                                                      survey and
                                                                                               and as
                                                                                                   as            Note 1:
                                                                                                                 Note    1: Required
                                                                                                                             Required activities
                                                                                                                                          activities and
                                                                                                                                                       and associated
                                                                                                                                                             associated frequencies
                                                                                                                                                                            frequencies for for maintaining,
                                                                                                                                                                                                 maintaining,
                     needed.
                     needed.                                                                                     inspecting,
                                                                                                                 inspecting, and and testing
                                                                                                                                       testing ofof utility
                                                                                                                                                     utility systems
                                                                                                                                                             systems components
                                                                                                                                                                         components completed
                                                                                                                                                                                          completed in   in
                                                                                                                 accordance
                                                                                                                 accordance with  with manufacturers’
                                                                                                                                         manufacturers’ recommendations
                                                                                                                                                               recommendations must    must have
                                                                                                                                                                                              have a  a 100%
                                                                                                                                                                                                         100%
                                                                                                                 completion
                                                                                                                 completion rate.rate.
                                                                                                                 Note 2:
                                                                                                                 Note    2: Scheduled
                                                                                                                             Scheduled maintenance
                                                                                                                                            maintenance activities
                                                                                                                                                               activities for
                                                                                                                                                                           for infection
                                                                                                                                                                                infection control
                                                                                                                                                                                           control utility
                                                                                                                                                                                                     utility
                                                                                                                 systems components
                                                                                                                 systems      components in    in an
                                                                                                                                                   an alternative
                                                                                                                                                        alternative equipment
                                                                                                                                                                      equipment maintenance
                                                                                                                                                                                     maintenance (AEM) (AEM)


       Organization Identification
       Organization Identification Number:
                                   Number: 9306
                                           9306                                            38 of
                                                                                           38 of 47
                                                                                                 47                                                                  Final Report:
                                                                                                                                                                     Final Report: Posted
                                                                                                                                                                                   Posted 7/21/2022
                                                                                                                                                                                          (/21/2022
                                                                                                                                                                                                       PL 273



                                                                                       FER_40                                                                                 TRIAL EXHIBIT 222
                                                                                                                                                                                   Page 38 of 47
                                    Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 41 of 54
                                  Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 39 of 47

                                                                           The
                                                                           The Joint
                                                                               Joint Commission
                                                                                     Commission
Standard
Standard       EP    Standard
                     Standard Text
                              Text                                                                                         EP
                                                                                                                           EP &
                                                                                                                              & Addendum
                                                                                                                                Addendum Text
                                                                                                                                         Text

                            Thogemivenoy                musthave
                                      program inventory must have aa 100%
                                                                     100% completion
                                                                          compton rate.
                                                                                     ae,
EC.02.05.05
EC.02.05.05    6     The
                     The hospital
                          hospital inspects,
                                     inspects, tests,
                                                tests, and
                                                        and maintains
                                                              maintains utility
                                                                         utility systems.
                                                                                  systems.                       The
                                                                                                                 The hospital
                                                                                                                        hospital inspects,
                                                                                                                                  inspects, tests,
                                                                                                                                              tests, and
                                                                                                                                                      and maintains
                                                                                                                                                            maintains thethe following:
                                                                                                                                                                              following: Non-high-risk
                                                                                                                                                                                          Non-high-risk
                     Note: At
                     Note:  At times,
                                times, maintenance
                                        maintenance is   is performed
                                                            performed byby an
                                                                            an external
                                                                                 external service.
                                                                                           service. InIn these
                                                                                                         these | utility
                                                                                                                 utility system
                                                                                                                         system components
                                                                                                                                   components on    on the
                                                                                                                                                       the inventory.
                                                                                                                                                             inventory. The
                                                                                                                                                                          The completion
                                                                                                                                                                                completion date
                                                                                                                                                                                              date andand the
                                                                                                                                                                                                          the
                     cases, hospitals
                     cases,   hospitals are
                                         are not
                                              not required
                                                   required toto possess
                                                                 possess maintenance
                                                                           maintenance documentation
                                                                                             documentation | results
                                                                                                                 results ofof the
                                                                                                                              the activities
                                                                                                                                   activities are
                                                                                                                                               are documented.
                                                                                                                                                    documented.
                     but must
                     but must have
                                 have access
                                       access toto such
                                                    such documentation
                                                           documentation during
                                                                             during survey
                                                                                      survey and
                                                                                               and as
                                                                                                   as            Note: Scheduled
                                                                                                                 Note:    Scheduled maintenance
                                                                                                                                        maintenance activities
                                                                                                                                                         activities for
                                                                                                                                                                     for non-high-risk
                                                                                                                                                                          non-high-risk utility
                                                                                                                                                                                          utility systems
                                                                                                                                                                                                    systems
                     needed.
                     needed.                                                                                     components in
                                                                                                                 components       in an
                                                                                                                                      an alternative
                                                                                                                                         alternative equipment
                                                                                                                                                       equipment maintenance
                                                                                                                                                                      maintenance (AEM)(AEM) program
                                                                                                                                                                                                 program
                                                                                                                 inventory
                                                                                                                 inventory must
                                                                                                                              must have
                                                                                                                                      have aa 100%
                                                                                                                                               100% completion
                                                                                                                                                       completion rate.
                                                                                                                                                                      rate. AEM
                                                                                                                                                                            AEM frequency
                                                                                                                                                                                   frequency is   is
                                                                                                                 determined
                                                                                                                 determined by   by the
                                                                                                                                     the hospital
                                                                                                                                          hospital AEM
                                                                                                                                                     AEM program.
                                                                                                                                                           program.
EC.02.05.09
EC.02.05.09    2     The
                     The hospital
                          hospital inspects,
                                    inspects, tests,
                                               tests, and
                                                       and maintains
                                                             maintains medical
                                                                         medical gasgas and
                                                                                         and vacuum
                                                                                               vacuum            All
                                                                                                                 All master,
                                                                                                                     master, area,
                                                                                                                              area, and
                                                                                                                                     and local
                                                                                                                                            local alarm
                                                                                                                                                    alarm systems
                                                                                                                                                            systems used
                                                                                                                                                                     used for
                                                                                                                                                                           for medical
                                                                                                                                                                               medical gasgas and
                                                                                                                                                                                               and
                     systems.
                     systems.                                                                                    vacuum
                                                                                                                 vacuum systems
                                                                                                                           systems comply
                                                                                                                                      comply with with the
                                                                                                                                                        the category
                                                                                                                                                             category 1–3
                                                                                                                                                                      1-3 warning
                                                                                                                                                                          warning system
                                                                                                                                                                                      system
                     Note:
                     Note: This
                            This standard
                                  standard does
                                             does not
                                                    not require
                                                         require hospitals
                                                                  hospitals toto have
                                                                                  have the
                                                                                        the medical
                                                                                             medical gas
                                                                                                      gas and
                                                                                                           and | requirements.
                                                                                                                 requirements. (For
                                                                                                                                  (For full
                                                                                                                                        full text,
                                                                                                                                              text, refer
                                                                                                                                                     refer to
                                                                                                                                                           to NFPA
                                                                                                                                                               NFPA 99-2012:
                                                                                                                                                                     99-2012: 5.1.9;
                                                                                                                                                                                5.1.9; 5.2.9;
                                                                                                                                                                                        5.2.9; 5.3.6.2.2)
                                                                                                                                                                                                5.3.6.2.2)
                     vacuum systems
                     vacuum    systems discussed
                                          discussed below.
                                                       below. However,
                                                                 However, ifif aa hospital
                                                                                  hospital has
                                                                                            has these
                                                                                                 these types
                                                                                                        types
                     of
                     of systems,
                        systems, then
                                   then the
                                         the following
                                             following inspection,
                                                          inspection, testing,
                                                                       testing, and
                                                                                  and maintenance
                                                                                       maintenance
                     requirements apply.
                     requirements    apply.
EC.02.05.09
EC.02.05.09    11
               11    The hospital
                     The  hospital inspects,
                                    inspects, tests,
                                               tests, and
                                                       and maintains
                                                             maintains medical
                                                                         medical gasgas and
                                                                                         and vacuum
                                                                                               vacuum            The hospital
                                                                                                                 The   hospital makes
                                                                                                                                  makes main main supply
                                                                                                                                                    supply valves
                                                                                                                                                                valves andand area
                                                                                                                                                                                 area shutoff
                                                                                                                                                                                         shutoff valves
                                                                                                                                                                                                   valves for
                                                                                                                                                                                                            for piped
                                                                                                                                                                                                                 piped
                     systems.
                     systems.                                                                                    medical
                                                                                                                 medical gasgas and
                                                                                                                                  and vacuum
                                                                                                                                        vacuum systems
                                                                                                                                                    systems accessible
                                                                                                                                                                  accessible and   and clearly
                                                                                                                                                                                          clearly identifies
                                                                                                                                                                                                    identifies what
                                                                                                                                                                                                                what
                     Note: This
                     Note:  This standard
                                  standard does
                                             does not
                                                    not require
                                                         require hospitals
                                                                  hospitals toto have
                                                                                  have the
                                                                                        the medical
                                                                                             medical gas
                                                                                                      gas and
                                                                                                           and | the
                                                                                                                 the valves
                                                                                                                      valves control.
                                                                                                                               control. Piping
                                                                                                                                           Piping is is labeled
                                                                                                                                                        labeled by  by stencil
                                                                                                                                                                         stencil oror adhesive
                                                                                                                                                                                        adhesive markers
                                                                                                                                                                                                     markers
                     vacuum
                     vacuum systems
                               systems discussed
                                          discussed below.
                                                       below. However,
                                                                 However, ifif aa hospital
                                                                                  hospital has
                                                                                            has these
                                                                                                 these types
                                                                                                        types | identifying
                                                                                                                 identifying the
                                                                                                                               the gas
                                                                                                                                    gas or or vacuum
                                                                                                                                              vacuum system,
                                                                                                                                                           system, including
                                                                                                                                                                        including the  the name
                                                                                                                                                                                            name of  of system
                                                                                                                                                                                                        system or or
                     of
                     of systems,
                        systems, then
                                   then the
                                         the following
                                             following inspection,
                                                          inspection, testing,
                                                                       testing, and
                                                                                  and maintenance
                                                                                       maintenance               chemical
                                                                                                                 chemical symbol,
                                                                                                                             symbol, colorcolor code
                                                                                                                                                 code (see(see NFPA
                                                                                                                                                                  NFPA 99-2012:
                                                                                                                                                                            99-2012: TableTable 5.1.11),
                                                                                                                                                                                                   5.1.11), and
                                                                                                                                                                                                             and
                     requirements
                     requirements apply.
                                     apply.                                                                      operating
                                                                                                                 operating pressure
                                                                                                                              pressure ifif other
                                                                                                                                              other than
                                                                                                                                                       than standard.
                                                                                                                                                               standard. Labels
                                                                                                                                                                              Labels are are at
                                                                                                                                                                                              at intervals
                                                                                                                                                                                                 intervals ofof 20
                                                                                                                                                                                                                 20 feet
                                                                                                                                                                                                                     feet
                                                                                                                 or
                                                                                                                 or less
                                                                                                                    less and
                                                                                                                          and are
                                                                                                                                are inin every
                                                                                                                                          every room,
                                                                                                                                                  room, at  at both
                                                                                                                                                                both sides
                                                                                                                                                                       sides of of wall
                                                                                                                                                                                    wall penetrations,
                                                                                                                                                                                           penetrations, and and onon
                                                                                                                 every story
                                                                                                                 every   story traversed
                                                                                                                                traversed by   by riser.
                                                                                                                                                   riser. Piping
                                                                                                                                                            Piping is is not
                                                                                                                                                                          not painted.
                                                                                                                                                                               painted. Shutoff
                                                                                                                                                                                             Shutoff valves
                                                                                                                                                                                                       valves are
                                                                                                                                                                                                                are
                                                                                                                 identified with
                                                                                                                 identified  with the
                                                                                                                                    the name
                                                                                                                                          name or or chemical
                                                                                                                                                       chemical symbol
                                                                                                                                                                     symbol of   of the
                                                                                                                                                                                     the gas
                                                                                                                                                                                           gas or
                                                                                                                                                                                                or vacuum
                                                                                                                                                                                                    vacuum system,
                                                                                                                                                                                                               system,
                                                                                                                 room or
                                                                                                                 room   or area
                                                                                                                            area served,
                                                                                                                                   served, andand caution
                                                                                                                                                     caution to  to not
                                                                                                                                                                     not use
                                                                                                                                                                           use the
                                                                                                                                                                                 the valve
                                                                                                                                                                                       valve except
                                                                                                                                                                                               except in in
                                                                                                                 emergency. (For
                                                                                                                 emergency.      (For full
                                                                                                                                        full text,
                                                                                                                                             text, refer
                                                                                                                                                    refer to to NFPA
                                                                                                                                                                 NFPA 99-2012:
                                                                                                                                                                           99-2012: 5.1.4;
                                                                                                                                                                                         5.1.4; 5.1.11.1;
                                                                                                                                                                                                  5.1.11.1; 5.1.11.2;
                                                                                                                                                                                                              5.1.11.2;
                                                                                                                 5.1.14.3; 5.2.11;
                                                                                                                 5.1.14.3;   5.2.11; 5.3.13.3;
                                                                                                                                        5.3.13.3; 5.3.11)
                                                                                                                                                      5.3.11)
EC.02.05.09
EC.02.05.09    12
               12    The
                     The hospital
                          hospital inspects,
                                    inspects, tests,
                                               tests, and
                                                       and maintains
                                                             maintains medical
                                                                         medical gasgas and
                                                                                         and vacuum
                                                                                               vacuum            The
                                                                                                                  The hospital
                                                                                                                         hospital implements
                                                                                                                                     implements a       a policy
                                                                                                                                                           policy on
                                                                                                                                                                   on all
                                                                                                                                                                       all cylinders
                                                                                                                                                                            cylinders within
                                                                                                                                                                                         within the
                                                                                                                                                                                                  the hospital
                                                                                                                                                                                                        hospital that
                                                                                                                                                                                                                    that
                     systems.
                     systems.                                                                                     includes the
                                                                                                                 includes     the following:
                                                                                                                                    following:
                     Note:
                     Note: This
                            This standard
                                  standard does
                                             does not
                                                    not require
                                                         require hospitals
                                                                  hospitals toto have
                                                                                  have the
                                                                                        the medical
                                                                                             medical gas
                                                                                                      gas and
                                                                                                           and | -- Labeling,
                                                                                                                     Labeling, handling,
                                                                                                                                  handling, and and transporting
                                                                                                                                                         transporting (for(for example,
                                                                                                                                                                               example, in   in carts,
                                                                                                                                                                                                carts, attached
                                                                                                                                                                                                         attached to   to
                     vacuum
                     vacuum systems
                               systems discussed
                                          discussed below.
                                                       below. However,
                                                                 However, ifif aa hospital
                                                                                  hospital has
                                                                                            has these
                                                                                                 these types
                                                                                                        types | equipment,
                                                                                                                  equipment, on    on racks)
                                                                                                                                        racks) inin accordance
                                                                                                                                                      accordance with  with NFPA
                                                                                                                                                                              NFPA 99-2012:
                                                                                                                                                                                       99-2012: 11.5.3.1
                                                                                                                                                                                                     11.5.3.1 and and
                     of
                     of systems,
                        systems, then
                                   then the
                                         the following
                                             following inspection,
                                                          inspection, testing,
                                                                       testing, and
                                                                                  and maintenance
                                                                                       maintenance               11.6.2
                                                                                                                   11.6.2
                     requirements apply.
                     requirements    apply.                                                                      -- Physically
                                                                                                                     Physically segregating
                                                                                                                                   segregating full    full and
                                                                                                                                                            and empty
                                                                                                                                                                  empty cylinders
                                                                                                                                                                            cylinders from
                                                                                                                                                                                        from each
                                                                                                                                                                                                each other
                                                                                                                                                                                                        other inin order
                                                                                                                                                                                                                    order
                                                                                                                  to assist
                                                                                                                 to   assist staff
                                                                                                                              staff inin selecting
                                                                                                                                         selecting the   the proper
                                                                                                                                                              proper cylinder
                                                                                                                                                                       cylinder
                                                                                                                 -- Adaptors
                                                                                                                    Adaptors or  or conversion
                                                                                                                                      conversion fittings
                                                                                                                                                        fittings are
                                                                                                                                                                  are prohibited
                                                                                                                                                                       prohibited
                                                                                                                 -- Oxygen
                                                                                                                    Oxygen cylinders,
                                                                                                                                cylinders, containers,
                                                                                                                                              containers, and    and associated
                                                                                                                                                                      associated equipment
                                                                                                                                                                                      equipment are    are protected
                                                                                                                                                                                                            protected
                                                                                                                  from contamination,
                                                                                                                 from     contamination, damage,
                                                                                                                                               damage, and     and contact
                                                                                                                                                                    contact with
                                                                                                                                                                               with oil
                                                                                                                                                                                     oil and
                                                                                                                                                                                          and grease
                                                                                                                                                                                                grease
                                                                                                                 -- Cylinders
                                                                                                                    Cylinders are are kept
                                                                                                                                        kept away
                                                                                                                                               away from  from heat
                                                                                                                                                                 heat and
                                                                                                                                                                       and flammable
                                                                                                                                                                              flammable materials
                                                                                                                                                                                             materials and and dodo not
                                                                                                                                                                                                                      not
                                                                                                                 exceed
                                                                                                                  exceed a   a temperature
                                                                                                                                temperature of     of 130°F
                                                                                                                                                         130°F
                                                                                                                 -- Nitrous
                                                                                                                     Nitrous oxide
                                                                                                                               oxide andand carbon
                                                                                                                                              carbon dioxide
                                                                                                                                                           dioxide cylinders
                                                                                                                                                                     cylinders do do not
                                                                                                                                                                                       not reach
                                                                                                                                                                                            reach temperatures
                                                                                                                                                                                                     temperatures
                                                                                                                 lower
                                                                                                                  lower than
                                                                                                                           than manufacturer
                                                                                                                                  manufacturer recommendations
                                                                                                                                                        recommendations or       or -20°F
                                                                                                                                                                                    -20°F
                                                                                                                 -- Valve
                                                                                                                    Valve protection
                                                                                                                             protection capscaps (if (if supplied)
                                                                                                                                                          supplied) are
                                                                                                                                                                      are secured
                                                                                                                                                                             secured in in place
                                                                                                                                                                                           place when
                                                                                                                                                                                                    when cylinder
                                                                                                                                                                                                             cylinder is  is


       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                                    39 of
                                                                                                   39 of 47
                                                                                                         47                                                                 Final
                                                                                                                                                                            Final Report:
                                                                                                                                                                                  Report: Posted
                                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                                 (/21/2022
                                                                                                                                                                                                            PL 274

                                                                                              FER_41                                                                                TRIAL EXHIBIT 222
                                                                                                                                                                                         Page 39 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 42 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 40 of 47

                                                                   The
                                                                   The Joint
                                                                       Joint Commission
                                                                             Commission
Standard
Standard        EP | Standard
               er    Standard Text
                              Text                                                                         EP
                                                                                                           EP &
                                                                                                              & Addendum
                                                                                                                Addendum Text
                                                                                                                         Text
                                                                                                            not in
                                                                                                           not   in use
                                                                                                                      use
                                                                                                           -- Labeling
                                                                                                              Labeling empty
                                                                                                                           empty cylinders
                                                                                                                                    cylinders
                                                                                                           -- Prohibiting
                                                                                                              Prohibiting transfilling
                                                                                                                              transfilling in
                                                                                                                                           in any
                                                                                                                                              any compartment
                                                                                                                                                   compartment with
                                                                                                                                                                  with patient
                                                                                                                                                                        patient care
                                                                                                                                                                                 care
                                                                                                            (For full
                                                                                                           (For    full text,
                                                                                                                        text, refer
                                                                                                                               refer to
                                                                                                                                      to NFPA
                                                                                                                                         NFPA 99-2012:
                                                                                                                                                99-2012: 11.6.1;
                                                                                                                                                          11.6.1; 11.6.2;
                                                                                                                                                                   11.6.2; 11.6.5;
                                                                                                                                                                             11.6.5; 11.7.3)
                                                                                                                                                                                      11.7.3)
EC.02.06.01
EC.02.06.01     11    The hospital
                      The   hospital establishes
                                       establishes and
                                                     and maintains
                                                           maintains aa safe,
                                                                        safe, functional
                                                                               functional environment.
                                                                                           environment.         Interior spaces
                                                                                                                Interior spaces meet
                                                                                                                                  meet the
                                                                                                                                        the needs
                                                                                                                                            needs of
                                                                                                                                                   of the
                                                                                                                                                      the patient
                                                                                                                                                           patient population
                                                                                                                                                                   population and
                                                                                                                                                                              and are
                                                                                                                                                                                  are safe
                                                                                                                                                                                      safe and
                                                                                                                                                                                           and
                      Note:
                      Note: The
                              The environment
                                    environment is is constructed,
                                                      constructed, arranged,
                                                                     arranged, andand maintained
                                                                                       maintained to
                                                                                                   to foster
                                                                                                      foster | suitable
                                                                                                                suitable to
                                                                                                                          to the
                                                                                                                             the care,
                                                                                                                                 care, treatment,
                                                                                                                                       treatment, and
                                                                                                                                                  and services
                                                                                                                                                        services provided.
                                                                                                                                                                  provided.
                      patient
                      patient safety,
                                safety, provide
                                         provide facilities
                                                  facilities for
                                                             for diagnosis
                                                                 diagnosis and
                                                                             and treatment,
                                                                                  treatment, and
                                                                                              and provide
                                                                                                  provide for
                                                                                                            for
                      special
                      special services
                                services appropriate
                                           appropriate to to the
                                                             the needs
                                                                 needs ofof the
                                                                            the community.
                                                                                community.
IC.01.02.01
1C.01.02.01     11    Hospital
                      Hospital leaders
                               leaders allocate
                                       allocate needed
                                                needed resources
                                                       resources for
                                                                 for the
                                                                     the infection
                                                                         infection prevention
                                                                                   prevention and
                                                                                              and | The
                                                                                                    The hospital
                                                                                                          hospital provides
                                                                                                                   provides access
                                                                                                                             access toto information
                                                                                                                                         information needed
                                                                                                                                                      needed to
                                                                                                                                                              to support
                                                                                                                                                                 support the
                                                                                                                                                                          the
                      control
                      control program.
                              program.                                                              infection
                                                                                                    infection prevention
                                                                                                               prevention and
                                                                                                                           and control
                                                                                                                                control program.
                                                                                                                                         program. (See
                                                                                                                                                    (See also
                                                                                                                                                         also IM.02.02.03,
                                                                                                                                                               IM.02.02.03, EPEP 2)
                                                                                                                                                                                 2)
1C.02.01.01
IC.02.01.01     2
                2     The hospital
                      The hospital implements
                                   implements its
                                              its infection
                                                  infection prevention
                                                            prevention and
                                                                       and control
                                                                           control plan.
                                                                                   plan.                   The hospital
                                                                                                           The   hospital uses
                                                                                                                            uses standard
                                                                                                                                   standard precautions,
                                                                                                                                               precautions, ** including
                                                                                                                                                                   including the
                                                                                                                                                                               the use
                                                                                                                                                                                    use of
                                                                                                                                                                                         of personal
                                                                                                                                                                                            personal
                                                                                                           protective
                                                                                                           protective equipment,
                                                                                                                         equipment, to to reduce
                                                                                                                                          reduce the the risk
                                                                                                                                                          risk of
                                                                                                                                                                of infection.
                                                                                                                                                                    infection.
                                                                                                           Note:
                                                                                                           Note: Standard
                                                                                                                   Standard precautions
                                                                                                                                precautions areare infection
                                                                                                                                                    infection prevention
                                                                                                                                                                  prevention andand control
                                                                                                                                                                                     control measures
                                                                                                                                                                                              measures
                                                                                                           to
                                                                                                           to protect
                                                                                                              protect against
                                                                                                                        against possible
                                                                                                                                  possible exposure
                                                                                                                                             exposure to   to infectious
                                                                                                                                                              infectious agents.
                                                                                                                                                                             agents. These
                                                                                                                                                                                      These
                                                                                                           precautions
                                                                                                           precautions are are general
                                                                                                                                general and
                                                                                                                                          and applicable
                                                                                                                                                applicable to  to all
                                                                                                                                                                   all patients.
                                                                                                                                                                       patients.
                                                                                                           Footnote *:
                                                                                                           Footnote    *: For
                                                                                                                          For further
                                                                                                                               further information
                                                                                                                                        information regarding
                                                                                                                                                        regarding standard
                                                                                                                                                                       standard precautions,
                                                                                                                                                                                  precautions, refer
                                                                                                                                                                                                 refer to
                                                                                                                                                                                                       to
                                                                                                           the website
                                                                                                           the website of  of the
                                                                                                                              the Centers
                                                                                                                                   Centers for
                                                                                                                                             for Disease
                                                                                                                                                  Disease Control
                                                                                                                                                              Control andand Prevention
                                                                                                                                                                               Prevention (CDC)
                                                                                                                                                                                            (CDC) atat
                                                                                                           https://www.cdc.gov/hicpac/recommendations/core-practices.html
                                                                                                           https://www.cdc.gov/hicpac/recommendations/core-practices.html
                                                                                                           (Infection Control
                                                                                                           (Infection   Control inin Healthcare
                                                                                                                                     Healthcare Settings).
                                                                                                                                                    Settings). (See(See also
                                                                                                                                                                          also EC.02.02.01,
                                                                                                                                                                                EC.02.02.01, EP EP 3)
                                                                                                                                                                                                    3)
1C.02.02.01
IC.02.02.01     2
                2     The hospital
                      The  hospital reduces
                                    reduces the
                                             the risk
                                                 risk of
                                                      of infections
                                                         infections associated
                                                                    associated with
                                                                               with medical
                                                                                    medical                The hospital
                                                                                                           The   hospital implements
                                                                                                                              implements infection
                                                                                                                                                 infection prevention
                                                                                                                                                             prevention andand control
                                                                                                                                                                                 control activities
                                                                                                                                                                                           activities when
                                                                                                                                                                                                      when
                      equipment, devices,
                      equipment,   devices, and
                                            and supplies.
                                                 supplies.                                                 doing the
                                                                                                           doing   the following:
                                                                                                                         following: Performing
                                                                                                                                          Performing intermediate
                                                                                                                                                          intermediate andand high-level
                                                                                                                                                                                high-level disinfection
                                                                                                                                                                                              disinfection
                                                                                                           and
                                                                                                           and sterilization
                                                                                                                 sterilization of  of medical
                                                                                                                                        medical equipment,
                                                                                                                                                    equipment, devices,
                                                                                                                                                                   devices, and
                                                                                                                                                                              and supplies.
                                                                                                                                                                                    supplies. **
                                                                                                           Note:
                                                                                                           Note: Sterilization
                                                                                                                   Sterilization is    is used
                                                                                                                                           used for
                                                                                                                                                  for items
                                                                                                                                                      items such
                                                                                                                                                               such as
                                                                                                                                                                     as implants
                                                                                                                                                                         implants andand surgical
                                                                                                                                                                                           surgical
                                                                                                           instruments.
                                                                                                           instruments. High-level
                                                                                                                              High-level disinfection
                                                                                                                                               disinfection maymay also
                                                                                                                                                                     also be
                                                                                                                                                                           be used
                                                                                                                                                                               used ifif sterilization
                                                                                                                                                                                         sterilization is
                                                                                                                                                                                                        is not
                                                                                                                                                                                                            not
                                                                                                           possible,
                                                                                                           possible, as as isis the
                                                                                                                                the case
                                                                                                                                       case with
                                                                                                                                               with flexible
                                                                                                                                                     flexible endoscopes.
                                                                                                                                                                endoscopes.
                                                                                                           Footnote *:
                                                                                                           Footnote     *: For
                                                                                                                            For further
                                                                                                                                  further information
                                                                                                                                              information regarding
                                                                                                                                                              regarding performing
                                                                                                                                                                          performing intermediate
                                                                                                                                                                                          intermediate and and
                                                                                                           high-level disinfection
                                                                                                           high-level     disinfection of    of medical
                                                                                                                                                medical equipment,
                                                                                                                                                            equipment, devices,
                                                                                                                                                                          devices, andand supplies,
                                                                                                                                                                                            supplies, refer
                                                                                                                                                                                                         refer
                                                                                                           to the
                                                                                                           to the website
                                                                                                                   website of   of the
                                                                                                                                    the Centers
                                                                                                                                           Centers forfor Disease
                                                                                                                                                            Disease Control
                                                                                                                                                                      Control and
                                                                                                                                                                                and Prevention
                                                                                                                                                                                      Prevention (CDC)
                                                                                                                                                                                                     (CDC) at   at
                                                                                                           https://www.cdc.gov/infectioncontrol/guidelines/disinfection/#r3
                                                                                                           https://www.cdc.gov/infectioncontrol/guidelines/disinfection/#r3
                                                                                                           (Sterilization
                                                                                                           (Sterilization and and Disinfection
                                                                                                                                     Disinfection in   in Healthcare
                                                                                                                                                           Healthcare Settings).
                                                                                                                                                                         Settings). (See
                                                                                                                                                                                      (See also
                                                                                                                                                                                              also
                                                                                                           EC.02.04.03, EP
                                                                                                           EC.02.04.03,        EP 4) 4)
LS.02.01.10
LS.02.01.10     1     Building
                      Building and
                               and fire
                                    fire protection
                                         protection features
                                                      features are
                                                                are designed
                                                                    designed and
                                                                             and maintained
                                                                                 maintained to
                                                                                            to             Buildings
                                                                                                           Buildings meetmeet requirements
                                                                                                                                 requirements for for construction
                                                                                                                                                       construction type
                                                                                                                                                                       type and
                                                                                                                                                                             and height.
                                                                                                                                                                                   height. InIn Types
                                                                                                                                                                                                Types I|
                      minimize
                      minimize the
                                the effects
                                    effects of
                                             of fire,
                                                fire, smoke,
                                                      smoke, and
                                                               and heat.
                                                                    heat.                                  and
                                                                                                           and IIIl construction,
                                                                                                                     construction, alternative
                                                                                                                                      alternative protection
                                                                                                                                                     protection measures
                                                                                                                                                                   measures are are permitted
                                                                                                                                                                                     permitted to to be
                                                                                                                                                                                                      be
                                                                                                           substituted
                                                                                                           substituted for for sprinkler
                                                                                                                                sprinkler protection
                                                                                                                                           protection in  in specific
                                                                                                                                                             specific areas
                                                                                                                                                                       areas where
                                                                                                                                                                               where state
                                                                                                                                                                                        state or
                                                                                                                                                                                               or local
                                                                                                                                                                                                   local
                                                                                                           regulations
                                                                                                           regulations prohibit
                                                                                                                            prohibit sprinklers.
                                                                                                                                      sprinklers. All
                                                                                                                                                    All new
                                                                                                                                                         new buildings
                                                                                                                                                               buildings contain
                                                                                                                                                                           contain approved
                                                                                                                                                                                     approved
                                                                                                           automatic sprinkler
                                                                                                           automatic      sprinkler systems.
                                                                                                                                      systems. Existing
                                                                                                                                                  Existing buildings
                                                                                                                                                              buildings contain
                                                                                                                                                                         contain approved
                                                                                                                                                                                    approved
                                                                                                           automatic sprinkler
                                                                                                           automatic      sprinkler systems
                                                                                                                                      systems as as required
                                                                                                                                                      required byby the
                                                                                                                                                                     the construction
                                                                                                                                                                         construction type.
                                                                                                                                                                                          type. (For
                                                                                                                                                                                                  (For full
                                                                                                                                                                                                         full
                                                                                                           text, refer
                                                                                                           text,   refer to
                                                                                                                         to NFPA
                                                                                                                             NFPA 101-2012:
                                                                                                                                      101-2012: 18/19.1.6;
                                                                                                                                                    18/19.1.6; 18.3.5.1;
                                                                                                                                                                  18.3.5.1; 19.3.5.3;
                                                                                                                                                                              19.3.5.3; 18/19.3.5.4;
                                                                                                                                                                                          18/19.3.5.4;
                                                                                                           18/19.3.5.5; 18.3.5.6)
                                                                                                           18/19.3.5.5;      18.3.5.6)
LS.02.01.10
LS.02.01.10     14
                14    Building and
                      Building and fire
                                   fire protection
                                        protection features
                                                   features are
                                                            are designed
                                                                designed and
                                                                         and maintained
                                                                             maintained to
                                                                                        to                 The space
                                                                                                           The space around
                                                                                                                     around pipes,
                                                                                                                            pipes, conduits,
                                                                                                                                   conduits, bus
                                                                                                                                             bus ducts,
                                                                                                                                                 ducts, cables,
                                                                                                                                                        cables, wires,
                                                                                                                                                                wires, air
                                                                                                                                                                       air ducts,
                                                                                                                                                                           ducts, or
                                                                                                                                                                                  or



        Organization
        Organization Identification
                     Identification Number:
                                    Number: 9306
                                            9306                                       40 of
                                                                                       40 of 47
                                                                                             47                                                                Final
                                                                                                                                                               Final Report:
                                                                                                                                                                     Report: Posted
                                                                                                                                                                             Posted 7/21/2022
                                                                                                                                                                                    (/21/2022
                                                                                                                                                                                                PL 275

                                                                                    FER_42                                                                             TRIAL EXHIBIT 222
                                                                                                                                                                            Page 40 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 43 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 41 of 47

                                                                        The
                                                                        The Joint
                                                                            Joint Commission
                                                                                  Commission
Standard
Standard         EP | Standard
                er    Standard Text
                               Text                                                                               EP
                                                                                                                  EP &
                                                                                                                     & Addendum
                                                                                                                       Addendum Text
                                                                                                                                Text
|                     minimize the
                      minimize the effects
                                   effects of
                                           of fire,
                                              fire, smoke,
                                                    smoke, and
                                                           and heat.
                                                               heat.                                              pneumatic tubes
                                                                                                                  pneumatic    tubes penetrating
                                                                                                                                       penetrating the the walls
                                                                                                                                                            walls oror floors
                                                                                                                                                                        floors are
                                                                                                                                                                                are protected
                                                                                                                                                                                    protected with
                                                                                                                                                                                                with an
                                                                                                                                                                                                      an
                                                                                                                  approved fire-rated
                                                                                                                  approved    fire-rated material.
                                                                                                                                           material.
                                                                                                                  Note: Polyurethane
                                                                                                                  Note:   Polyurethane expanding
                                                                                                                                           expanding foamfoam is is not
                                                                                                                                                                     not an
                                                                                                                                                                          an accepted
                                                                                                                                                                              accepted fire-rated
                                                                                                                                                                                         fire-rated material
                                                                                                                                                                                                     material
                                                                                                                  for this
                                                                                                                  for this purpose.
                                                                                                                           purpose. (For
                                                                                                                                       (For full
                                                                                                                                             full text,
                                                                                                                                                  text, refer
                                                                                                                                                        refer to
                                                                                                                                                               to NFPA
                                                                                                                                                                   NFPA 101-2012:
                                                                                                                                                                            101-2012: 8.3.5)
                                                                                                                                                                                        8.3.5)
LS.02.01.35
LS.02.01.35     4
                4     The hospital
                      The hospital provides
                                   provides and
                                            and maintains
                                                maintains systems
                                                          systems for
                                                                  for extinguishing
                                                                      extinguishing fires.
                                                                                    fires.                        Piping for
                                                                                                                  Piping  for approved
                                                                                                                              approved automatic
                                                                                                                                          automatic sprinkler
                                                                                                                                                       sprinkler systems
                                                                                                                                                                 systems is
                                                                                                                                                                         is not
                                                                                                                                                                            not used
                                                                                                                                                                                 used to
                                                                                                                                                                                      to support
                                                                                                                                                                                         support any
                                                                                                                                                                                                 any
                                                                                                                  other item.
                                                                                                                  other item. (For
                                                                                                                               (For full
                                                                                                                                    full text,
                                                                                                                                         text, refer
                                                                                                                                               refer to
                                                                                                                                                     to NFPA
                                                                                                                                                         NFPA 25-2011:
                                                                                                                                                                25-2011: 5.2.2.2)
                                                                                                                                                                         5.2.2.2)
LS.02.01.35
LS.02.01.35     14
                14    The hospital
                      The hospital provides
                                   provides and
                                            and maintains
                                                maintains systems
                                                          systems for
                                                                  for extinguishing
                                                                      extinguishing fires.
                                                                                    fires.                        The hospital
                                                                                                                  The  hospital meets
                                                                                                                                meets all
                                                                                                                                        all other
                                                                                                                                             other Life
                                                                                                                                                   Life Safety
                                                                                                                                                        Safety Code
                                                                                                                                                               Code automatic
                                                                                                                                                                      automatic extinguishing
                                                                                                                                                                                extinguishing
                                                                                                                  requirements related
                                                                                                                  requirements   related toto NFPA
                                                                                                                                               NFPA 101-2012:
                                                                                                                                                      101-2012: 18/19.3.5.
                                                                                                                                                                 18/19.3.5.
NPSG.06.01.01
NPSG.06.01.01   3     Improve the
                      Improve the safety
                                  safety of
                                         of clinical
                                            clinical alarm
                                                     alarm systems.
                                                           systems.                                                Establish policies
                                                                                                                  Establish      policies andand procedures
                                                                                                                                                  procedures for   for managing
                                                                                                                                                                         managing the the alarms
                                                                                                                                                                                           alarms identified
                                                                                                                                                                                                   identified in
                                                                                                                                                                                                               in EP
                                                                                                                                                                                                                   EP
                                                                                                                  22 above
                                                                                                                      above that,
                                                                                                                               that, atat aa minimum,
                                                                                                                                             minimum, address
                                                                                                                                                           address the  the following:
                                                                                                                                                                             following:
                                                                                                                  -- Clinically
                                                                                                                     Clinically appropriate
                                                                                                                                   appropriate settings
                                                                                                                                                   settings forfor alarm
                                                                                                                                                                    alarm signals
                                                                                                                                                                             signals
                                                                                                                  -- When
                                                                                                                     When alarm
                                                                                                                              alarm signals
                                                                                                                                        signals can
                                                                                                                                                 can bebe disabled
                                                                                                                                                            disabled
                                                                                                                  -- When
                                                                                                                     When alarm
                                                                                                                              alarm parameters
                                                                                                                                        parameters can  can bebe changed
                                                                                                                                                                  changed
                                                                                                                  -- Who
                                                                                                                     Who in in the
                                                                                                                                the organization
                                                                                                                                      organization has has the
                                                                                                                                                             the authority
                                                                                                                                                                  authority to  to set
                                                                                                                                                                                   set alarm
                                                                                                                                                                                        alarm parameters
                                                                                                                                                                                               parameters
                                                                                                                  -- Who
                                                                                                                     Who in in the
                                                                                                                                the organization
                                                                                                                                      organization has has the
                                                                                                                                                             the authority
                                                                                                                                                                  authority to  to change
                                                                                                                                                                                   change alarm
                                                                                                                                                                                             alarm parameters
                                                                                                                                                                                                    parameters
                                                                                                                  -- Who
                                                                                                                     Who in in the
                                                                                                                                the organization
                                                                                                                                      organization has has the
                                                                                                                                                             the authority
                                                                                                                                                                  authority to  to set
                                                                                                                                                                                   set alarm
                                                                                                                                                                                        alarm parameters
                                                                                                                                                                                               parameters to to “off”
                                                                                                                                                                                                                 “off”
                                                                                                                  -- Monitoring
                                                                                                                     Monitoring and  and responding
                                                                                                                                            responding to  to alarm
                                                                                                                                                               alarm signals
                                                                                                                                                                         signals
                                                                                                                  -- Checking
                                                                                                                     Checking individual
                                                                                                                                    individual alarm
                                                                                                                                                 alarm signals
                                                                                                                                                          signals forfor accurate
                                                                                                                                                                          accurate settings,
                                                                                                                                                                                      settings, proper
                                                                                                                                                                                                 proper operation,
                                                                                                                                                                                                         operation,
                                                                                                                  and
                                                                                                                   and detectability
                                                                                                                         detectability
                                                                                                                  (For
                                                                                                                   (For more
                                                                                                                          more information,
                                                                                                                                  information, refer
                                                                                                                                                   refer to
                                                                                                                                                          to Standard
                                                                                                                                                              Standard EC.02.04.03)
                                                                                                                                                                             EC.02.04.03)
NPSG.15.01.01
NPSG.15.01.01 | 11    Reduce
                      Reduce thethe risk
                                      risk for
                                           for suicide.
                                                suicide.                                                          For
                                                                                                                  For psychiatric
                                                                                                                       psychiatric hospitals
                                                                                                                                     hospitals and
                                                                                                                                                and psychiatric
                                                                                                                                                     psychiatric units
                                                                                                                                                                   units in
                                                                                                                                                                          in general
                                                                                                                                                                              general hospitals:
                                                                                                                                                                                         hospitals: The
                                                                                                                                                                                                     The
                      Note:
                      Note: EPs
                              EPs 2–7
                                    2—7 apply
                                          apply toto patients
                                                     patients in
                                                               in psychiatric
                                                                  psychiatric hospitals
                                                                                hospitals oror patients
                                                                                                patients being
                                                                                                          being   hospital
                                                                                                                  hospital conducts
                                                                                                                             conducts anan environmental
                                                                                                                                            environmental risk
                                                                                                                                                             risk assessment
                                                                                                                                                                  assessment that   that identifies
                                                                                                                                                                                          identifies
                      evaluated
                      evaluated or or treated
                                       treated for
                                                 for behavioral
                                                      behavioral health
                                                                  health conditions
                                                                           conditions as as their
                                                                                            their primary
                                                                                                   primary        features
                                                                                                                  features inin the
                                                                                                                                the physical
                                                                                                                                    physical environment
                                                                                                                                               environment that
                                                                                                                                                              that could
                                                                                                                                                                    could bebe used
                                                                                                                                                                                used to to attempt
                                                                                                                                                                                           attempt suicide;
                                                                                                                                                                                                     suicide;
                      reason
                      reason for
                               for care.
                                    care. InIn addition,
                                               addition, EPs
                                                           EPs 3–7
                                                                3-7 apply
                                                                     apply toto all
                                                                                all patients
                                                                                    patients who
                                                                                              who express
                                                                                                     express      the
                                                                                                                  the hospital
                                                                                                                       hospital takes
                                                                                                                                 takes necessary
                                                                                                                                        necessary action
                                                                                                                                                     action to
                                                                                                                                                            to minimize
                                                                                                                                                                minimize the the risk(s)
                                                                                                                                                                                  risk(s) (for
                                                                                                                                                                                           (for example,
                                                                                                                                                                                                example,
                      suicidal
                      suicidal ideation
                                ideation during
                                            during the
                                                     the course
                                                          course of
                                                                  of care.
                                                                     care.                                        removal
                                                                                                                  removal of of anchor
                                                                                                                                anchor points,
                                                                                                                                         points, door
                                                                                                                                                 door hinges,
                                                                                                                                                       hinges, and
                                                                                                                                                                 and hooks
                                                                                                                                                                       hooks that
                                                                                                                                                                                that can
                                                                                                                                                                                      can bebe used
                                                                                                                                                                                                used for
                                                                                                                                                                                                      for
                                                                                                                  hanging).
                                                                                                                  hanging).

                                                                                                                  For nonpsychiatric
                                                                                                                  For  nonpsychiatric units units in
                                                                                                                                                   in general
                                                                                                                                                      general hospitals:
                                                                                                                                                                   hospitals: TheThe organization
                                                                                                                                                                                       organization implements
                                                                                                                                                                                                          implements
                                                                                                                  procedures to
                                                                                                                  procedures      to mitigate
                                                                                                                                      mitigate the
                                                                                                                                                 the risk
                                                                                                                                                      risk ofof suicide
                                                                                                                                                                suicide forfor patients
                                                                                                                                                                                patients atat high
                                                                                                                                                                                               high risk
                                                                                                                                                                                                     risk for
                                                                                                                                                                                                            for
                                                                                                                  suicide,
                                                                                                                  suicide, such
                                                                                                                             such as as one-to-one
                                                                                                                                         one-to-one monitoring,
                                                                                                                                                          monitoring, removing
                                                                                                                                                                         removing objects
                                                                                                                                                                                       objects that
                                                                                                                                                                                                  that pose
                                                                                                                                                                                                         pose a  a risk
                                                                                                                                                                                                                    risk
                                                                                                                  for
                                                                                                                  for self-harm
                                                                                                                      self-harm ifif they
                                                                                                                                       they can
                                                                                                                                             can bebe removed
                                                                                                                                                        removed without
                                                                                                                                                                     without adversely
                                                                                                                                                                                adversely affecting
                                                                                                                                                                                              affecting thethe
                                                                                                                  patient’s
                                                                                                                  patient's medical
                                                                                                                              medical care,
                                                                                                                                          care, assessing
                                                                                                                                                 assessing objects
                                                                                                                                                                 objects brought
                                                                                                                                                                            brought into
                                                                                                                                                                                       into aa room
                                                                                                                                                                                                room by by visitors,
                                                                                                                                                                                                             visitors,
                                                                                                                  and
                                                                                                                  and using
                                                                                                                        using safe
                                                                                                                                safe transportation
                                                                                                                                       transportation procedures
                                                                                                                                                            procedures when when moving
                                                                                                                                                                                     moving patients
                                                                                                                                                                                               patients to to other
                                                                                                                                                                                                                other
                                                                                                                  parts
                                                                                                                  parts of
                                                                                                                         of the
                                                                                                                             the hospital.
                                                                                                                                  hospital.
                                                                                                                  Note: Nonpsychiatric
                                                                                                                  Note:   Nonpsychiatric units units inin general
                                                                                                                                                           general hospitals
                                                                                                                                                                      hospitals do  do not
                                                                                                                                                                                        not need
                                                                                                                                                                                             need toto be
                                                                                                                                                                                                        be ligature
                                                                                                                                                                                                              ligature
                                                                                                                  resistant. Nevertheless,
                                                                                                                  resistant.   Nevertheless, these these facilities
                                                                                                                                                            facilities should
                                                                                                                                                                        should routinely
                                                                                                                                                                                   routinely assess
                                                                                                                                                                                               assess clinical
                                                                                                                                                                                                          clinical
                                                                                                                  areas to
                                                                                                                  areas   to identify
                                                                                                                              identify objects
                                                                                                                                         objects that
                                                                                                                                                   that could
                                                                                                                                                          could bebe used
                                                                                                                                                                       used for
                                                                                                                                                                              for self-harm
                                                                                                                                                                                   self-harm and and remove
                                                                                                                                                                                                       remove
                                                                                                                  those
                                                                                                                  those objects,
                                                                                                                          objects, when
                                                                                                                                      when possible,
                                                                                                                                              possible, fromfrom the
                                                                                                                                                                   the area
                                                                                                                                                                        area around
                                                                                                                                                                                around a  a patient
                                                                                                                                                                                             patient who
                                                                                                                                                                                                       who has has
                                                                                                                  been
                                                                                                                  been identified
                                                                                                                         identified as as high
                                                                                                                                           high risk
                                                                                                                                                 risk for
                                                                                                                                                        for suicide.
                                                                                                                                                             suicide. This
                                                                                                                                                                        This information
                                                                                                                                                                               information can can bebe used
                                                                                                                                                                                                          used forfor
                                                                                                                  training staff
                                                                                                                  training  staff who
                                                                                                                                    who monitor
                                                                                                                                          monitor high-risk
                                                                                                                                                     high-risk patients
                                                                                                                                                                   patients (for
                                                                                                                                                                               (for example,
                                                                                                                                                                                     example, developing
                                                                                                                                                                                                  developing
                                                                                                                  checklists
                                                                                                                  checklists to to help
                                                                                                                                    help staff
                                                                                                                                          staff remember
                                                                                                                                                 remember which  which equipment
                                                                                                                                                                         equipment shouldshould be be removed
                                                                                                                                                                                                        removed


        Organization
        Organization Identification
                     Identification Number:
                                    Number: 9306
                                            9306                                              41 of
                                                                                              41 of 47
                                                                                                    47                                                               Final
                                                                                                                                                                     Final Report:
                                                                                                                                                                           Report: Posted
                                                                                                                                                                                   Posted 7/21/2022
                                                                                                                                                                                          (/21/2022
                                                                                                                                                                                                      PL 276



                                                                                          FER_43                                                                              TRIAL EXHIBIT 222
                                                                                                                                                                                   Page 41 of 47
                                   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 44 of 54
                                 Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 42 of 47

                                                                     The
                                                                     The Joint
                                                                         Joint Commission
                                                                               Commission
 Standard
standard
standard        EP
              |[EP    Standard Text
                     [StandardTex
                      stndarates
                               Text                                         |                                  EP
                                                                                                               EP &
                                                                                                                  & Addendum
                                                                                                                    Addendum Text
                                                                                                                             Text
1                    1 [when                                                                                        possible).
                                                                                                               when possible).
PC.01.02.03
PC.01.02.03    3      The
                      The hospital
                           hospital assesses
                                    assesses and
                                              and reassesses
                                                   reassesses the
                                                               the patient
                                                                   patient and
                                                                           and the
                                                                               the patient's
                                                                                   patient's                   Each
                                                                                                               Each patient
                                                                                                                      patient isis reassessed
                                                                                                                                   reassessed as  as necessary
                                                                                                                                                      necessary based
                                                                                                                                                                  based onon their
                                                                                                                                                                              their plan
                                                                                                                                                                                    plan for
                                                                                                                                                                                           for care
                                                                                                                                                                                               care oror
                      condition according
                      condition  according to
                                           to defined
                                              defined time
                                                      time frames.
                                                           frames.                                             changes in
                                                                                                               changes    in their
                                                                                                                              their condition.
                                                                                                                                     condition.
                                                                                                               Note:
                                                                                                               Note: Reassessments
                                                                                                                      Reassessments may      may also
                                                                                                                                                  also be
                                                                                                                                                        be based
                                                                                                                                                           based onon the
                                                                                                                                                                       the patient's
                                                                                                                                                                           patient's diagnosis;
                                                                                                                                                                                      diagnosis;
                                                                                                               desire
                                                                                                               desire for
                                                                                                                       for care,
                                                                                                                            care, treatment,
                                                                                                                                   treatment, andand services;
                                                                                                                                                      services; response
                                                                                                                                                                 response toto previous
                                                                                                                                                                                previous care,
                                                                                                                                                                                            care,
                                                                                                               treatment,
                                                                                                               treatment, andand services;
                                                                                                                                   services; discharge
                                                                                                                                               discharge planning
                                                                                                                                                           planning needs;
                                                                                                                                                                      needs; and/or
                                                                                                                                                                              and/or their
                                                                                                                                                                                       their setting
                                                                                                                                                                                              setting
                                                                                                               requirements. (See
                                                                                                               requirements.      (See also
                                                                                                                                         also PC.06.01.01,
                                                                                                                                               PC.06.01.01, EP EP 1)
                                                                                                                                                                   1)
PC.01.02.03
PC.01.02.03    5      The
                      The hospital
                           hospital assesses
                                    assesses and
                                              and reassesses
                                                   reassesses the
                                                               the patient
                                                                   patient and
                                                                           and the
                                                                               the patient's
                                                                                   patient's                   For
                                                                                                               For a  a medical
                                                                                                                         medical history
                                                                                                                                       history and
                                                                                                                                                and physical
                                                                                                                                                       physical examination
                                                                                                                                                                     examination that that was
                                                                                                                                                                                             was completed
                                                                                                                                                                                                   completed within
                                                                                                                                                                                                                 within
                      condition
                      condition according
                                 according to
                                           to defined
                                              defined time
                                                      time frames.
                                                           frames.                                             30
                                                                                                               30 days
                                                                                                                    days priorprior toto registration
                                                                                                                                          registration or  or inpatient
                                                                                                                                                               inpatient admission,
                                                                                                                                                                           admission, an   an update
                                                                                                                                                                                                update
                                                                                                               documenting
                                                                                                               documenting any        any changes
                                                                                                                                            changes in   in the
                                                                                                                                                             the patient's
                                                                                                                                                                  patient's condition
                                                                                                                                                                               condition is is completed
                                                                                                                                                                                               completed within
                                                                                                                                                                                                              within 24
                                                                                                                                                                                                                      24
                                                                                                               hours
                                                                                                               hours afterafter registration
                                                                                                                                   registration or or inpatient
                                                                                                                                                       inpatient admission,
                                                                                                                                                                     admission, but  but prior
                                                                                                                                                                                          prior to
                                                                                                                                                                                                 to surgery
                                                                                                                                                                                                     surgery oror a a
                                                                                                               procedure
                                                                                                               procedure requiring
                                                                                                                                 requiring anesthesia
                                                                                                                                               anesthesia services.
                                                                                                                                                                services.
                                                                                                               Note 1:
                                                                                                               Note     1: For
                                                                                                                             For hospitals
                                                                                                                                    hospitals that
                                                                                                                                                that use
                                                                                                                                                       use Joint
                                                                                                                                                              Joint Commission
                                                                                                                                                                      Commission accreditation
                                                                                                                                                                                        accreditation for for deemed
                                                                                                                                                                                                              deemed
                                                                                                               status purposes:
                                                                                                               status      purposes: Medical
                                                                                                                                           Medical histories
                                                                                                                                                       histories andand physical
                                                                                                                                                                          physical examinations
                                                                                                                                                                                       examinations are  are
                                                                                                               performed as
                                                                                                               performed         as required
                                                                                                                                       required inin this
                                                                                                                                                      this element
                                                                                                                                                             element of of performance,
                                                                                                                                                                            performance, except except any
                                                                                                                                                                                                         any specific
                                                                                                                                                                                                               specific
                                                                                                               outpatient
                                                                                                               outpatient surgical
                                                                                                                                 surgical or or procedural
                                                                                                                                                procedural services
                                                                                                                                                                  services forfor which
                                                                                                                                                                                   which an an assessment
                                                                                                                                                                                                assessment is    is
                                                                                                               performed
                                                                                                               performed instead. instead.
                                                                                                               Note
                                                                                                               Note 2:  2: For
                                                                                                                             For lawlaw and
                                                                                                                                         and regulation
                                                                                                                                               regulation guidance
                                                                                                                                                               guidance pertaining
                                                                                                                                                                             pertaining to to the
                                                                                                                                                                                               the medical
                                                                                                                                                                                                    medical history
                                                                                                                                                                                                               history
                                                                                                               and physical
                                                                                                               and     physical examination,
                                                                                                                                     examination, refer refer toto 42
                                                                                                                                                                    42 CFR
                                                                                                                                                                        CFR 482.22(c)(5)(iii)
                                                                                                                                                                                482.22(c)(5)(iii) and and 482.51(b)
                                                                                                                                                                                                            482.51(b)
                                                                                                               (1)(iii). Refer
                                                                                                               (1)(iii).    Refer to to “Appendix
                                                                                                                                         “Appendix A:   A: Medicare
                                                                                                                                                             Medicare Requirements
                                                                                                                                                                          Requirements for     for Hospitals”
                                                                                                                                                                                                    Hospitals” (AXA)
                                                                                                                                                                                                                  (AXA)
                                                                                                               for full
                                                                                                               for  full text.
                                                                                                                           text. (See
                                                                                                                                   (See also
                                                                                                                                           also MS.03.01.01,
                                                                                                                                                 MS.03.01.01, EP      EP 19;
                                                                                                                                                                           19; RC.02.01.03,
                                                                                                                                                                                 RC.02.01.03, EP    EP 3)
                                                                                                                                                                                                        3)
PC.01.02.07
PC.01.02.07    8      The
                      The hospital
                            hospital assesses
                                     assesses and
                                                and manages
                                                     manages the
                                                             the patient’s
                                                                 patient's pain
                                                                           pain and
                                                                                and minimizes
                                                                                    minimizes the
                                                                                              the | The
                                                                                                     The hospital
                                                                                                           hospital educates
                                                                                                                       educates the   the patient
                                                                                                                                            patient and
                                                                                                                                                     and family
                                                                                                                                                            family on
                                                                                                                                                                    on discharge
                                                                                                                                                                       discharge plans
                                                                                                                                                                                   plans related
                                                                                                                                                                                          related toto
                      risks associated
                      risks  associated with
                                         with treatment.
                                              treatment.                                             pain management
                                                                                                    pain    management includingincluding the  the following:
                                                                                                                                                   following:
                                                                                                    -- Pain
                                                                                                       Pain management
                                                                                                              management plan     plan of of care
                                                                                                                                              care
                                                                                                    -- Side
                                                                                                       Side effects
                                                                                                              effects of of pain
                                                                                                                            pain management
                                                                                                                                    management treatment
                                                                                                                                                       treatment
                                                                                                    -- Activities
                                                                                                       Activities ofof daily
                                                                                                                        daily living,
                                                                                                                                living, including
                                                                                                                                         including the the home
                                                                                                                                                            home environment,
                                                                                                                                                                    environment, that
                                                                                                                                                                                   that might
                                                                                                                                                                                        might
                                                                                                     exacerbate pain
                                                                                                    exacerbate        pain oror reduce
                                                                                                                                 reduce effectiveness
                                                                                                                                             effectiveness of  of the
                                                                                                                                                                  the pain
                                                                                                                                                                      pain management
                                                                                                                                                                            management plan plan of
                                                                                                                                                                                                 of
                                                                                                    care,
                                                                                                     care, asas well
                                                                                                                 well asas strategies
                                                                                                                            strategies to   to address
                                                                                                                                                address these
                                                                                                                                                           these issues
                                                                                                                                                                   issues
                                                                                                    -- Safe
                                                                                                       Safe use,
                                                                                                              use, storage,
                                                                                                                     storage, and and disposal
                                                                                                                                         disposal of of opioids
                                                                                                                                                         opioids when
                                                                                                                                                                   when prescribed
                                                                                                                                                                          prescribed
PC.01.03.01
PC.01.03.01    22
               22     The
                      The hospital
                          hospital plans
                                   plans the
                                         the patient’s
                                             patient's care.
                                                       care.                                                   Based
                                                                                                               Based onon the
                                                                                                                           the goals
                                                                                                                               goals established
                                                                                                                                      established in
                                                                                                                                                  in the
                                                                                                                                                     the patient’s
                                                                                                                                                         patient's plan
                                                                                                                                                                   plan of
                                                                                                                                                                        of care,
                                                                                                                                                                           care, staff
                                                                                                                                                                                 staff evaluate
                                                                                                                                                                                       evaluate
                                                                                                               the
                                                                                                               the patient’s
                                                                                                                   patient's progress.
                                                                                                                              progress.
PC.02.01.11
PC.02.01.11    2
               2      Resuscitative
                      Resuscitative services
                                    services are
                                             are available
                                                 available throughout
                                                           throughout the
                                                                      the hospital.
                                                                          hospital.                            Resuscitation
                                                                                                               Resuscitation equipment
                                                                                                                               equipment is is available
                                                                                                                                               available for
                                                                                                                                                          for use
                                                                                                                                                               use based
                                                                                                                                                                    based onon the
                                                                                                                                                                               the needs
                                                                                                                                                                                    needs of
                                                                                                                                                                                           of the
                                                                                                                                                                                              the
                                                                                                               population
                                                                                                               population served.
                                                                                                                           served.
                                                                                                               Note:
                                                                                                               Note: For
                                                                                                                      For example,
                                                                                                                          example, ifif the
                                                                                                                                        the hospital
                                                                                                                                            hospital has
                                                                                                                                                      has aa pediatric
                                                                                                                                                              pediatric population,
                                                                                                                                                                         population, pediatric
                                                                                                                                                                                      pediatric
                                                                                                               resuscitation
                                                                                                               resuscitation equipment
                                                                                                                              equipment should
                                                                                                                                           should bebe available.
                                                                                                                                                       available. (See
                                                                                                                                                                     (See also
                                                                                                                                                                           also EC.02.04.03,
                                                                                                                                                                                 EC.02.04.03, EP EP
                                                                                                               2)
                                                                                                               2)
PC.02.02.03
PC.02.02.03    11
               11     The
                      The hospital
                          hospital makes
                                   makes food
                                         food and
                                              and nutrition
                                                  nutrition products
                                                            products available
                                                                     available to
                                                                               to its
                                                                                  its patients.
                                                                                      patients.                The
                                                                                                               The hospital
                                                                                                                    hospital stores
                                                                                                                              stores food
                                                                                                                                      food and
                                                                                                                                            and nutrition
                                                                                                                                                 nutrition products,
                                                                                                                                                           products, including
                                                                                                                                                                       including those
                                                                                                                                                                                 those brought
                                                                                                                                                                                        brought in
                                                                                                                                                                                                 in
                                                                                                               by patients
                                                                                                               by patients or
                                                                                                                            or their
                                                                                                                               their families,
                                                                                                                                     families, using
                                                                                                                                                using proper
                                                                                                                                                       proper sanitation,
                                                                                                                                                               sanitation, temperature,
                                                                                                                                                                            temperature, light,
                                                                                                                                                                                          light,
                                                                                                               moisture, ventilation,
                                                                                                               moisture,  ventilation, and
                                                                                                                                        and security.
                                                                                                                                             security.
PC.03.01.03
PC.03.01.03    11     The hospital
                      The hospital provides
                                   provides the
                                            the patient
                                                patient with
                                                        with care
                                                             care before
                                                                  before initiating
                                                                         initiating operative
                                                                                    operative or
                                                                                              or               Before operative
                                                                                                               Before operative or
                                                                                                                                or other
                                                                                                                                   other high-risk
                                                                                                                                         high-risk procedures
                                                                                                                                                   procedures are
                                                                                                                                                              are initiated,
                                                                                                                                                                  initiated, or
                                                                                                                                                                             or before
                                                                                                                                                                                before


       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                           42 of
                                                                                          42 of 47
                                                                                                47                                                                  Final
                                                                                                                                                                    Final Report:
                                                                                                                                                                          Report: Posted
                                                                                                                                                                                  Posted 7/21/2022
                                                                                                                                                                                         (/21/2022
                                                                                                                                                                                                      PL 277

                                                                                      FER_44                                                                                TRIAL EXHIBIT 222
                                                                                                                                                                                 Page 42 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 45 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 43 of 47

                                                                 The
                                                                 The Joint
                                                                     Joint Commission
                                                                           Commission
Standard
Standard       EP    Standard
                     Standard Text
                              Text                                                                    EP
                                                                                                      EP &
                                                                                                         & Addendum
                                                                                                           Addendum Text
                                                                                                                    Text
                     other
                     other high-risk
                           high-risk procedures,
                                      procedures, including
                                                   including those
                                                              those that
                                                                     that require
                                                                          require the
                                                                                  the administration
                                                                                      administration | moderate
                                                                                                       moderate oror deep
                                                                                                                     deep sedation
                                                                                                                           sedation or
                                                                                                                                     or anesthesia
                                                                                                                                        anesthesia is
                                                                                                                                                    is administered:
                                                                                                                                                       administered: The
                                                                                                                                                                     The hospital
                                                                                                                                                                         hospital
                     of moderate
                     of moderate oror deep
                                      deep sedation
                                            sedation or
                                                      or anesthesia.
                                                         anesthesia.                                   conducts a
                                                                                                       conducts  a presedation
                                                                                                                    presedation or
                                                                                                                                 or preanesthesia
                                                                                                                                    preanesthesia patient
                                                                                                                                                   patient assessment.
                                                                                                                                                            assessment. (See
                                                                                                                                                                         (See also
                                                                                                                                                                               also
                                                                                                       RC.02.01.01, EP
                                                                                                       RC.02.01.01,    EP 2)
                                                                                                                          2)
RC.02.01.01
RC.02.01.01    2
               2     The medical
                     The  medical record
                                   record contains
                                            contains information
                                                     information that
                                                                 that reflects
                                                                      reflects the
                                                                               the patient's
                                                                                   patient's care,
                                                                                             care,     The medical
                                                                                                      The     medical recordrecord contains
                                                                                                                                         contains the   the following
                                                                                                                                                              following clinical
                                                                                                                                                                           clinical information:
                                                                                                                                                                                       information:
                     treatment, and
                     treatment,  and services.
                                      services.                                                       -- The
                                                                                                         The reason(s)
                                                                                                                 reason(s) for    for admission
                                                                                                                                        admission for     for care,
                                                                                                                                                               care, treatment,
                                                                                                                                                                       treatment, and  and services
                                                                                                                                                                                              services
                                                                                                      -- The
                                                                                                         The patient’s
                                                                                                                 patient's initial
                                                                                                                                initial diagnosis,
                                                                                                                                          diagnosis, diagnostic
                                                                                                                                                            diagnostic impression(s),
                                                                                                                                                                           impression(s), or      or condition(s)
                                                                                                                                                                                                      condition(s)
                                                                                                      -- Any
                                                                                                         Any findings
                                                                                                                 findings of  of assessments
                                                                                                                                   assessments and         and reassessments
                                                                                                                                                                 reassessments
                                                                                                      -- Any
                                                                                                         Any allergies
                                                                                                                 allergies to   to food
                                                                                                                                    food
                                                                                                      -- Any
                                                                                                         Any allergies
                                                                                                                 allergies to   to medications
                                                                                                                                    medications
                                                                                                      -- Any
                                                                                                         Any conclusions
                                                                                                                 conclusions or       or impressions
                                                                                                                                           impressions drawn    drawn from
                                                                                                                                                                         from the
                                                                                                                                                                                the patient’s
                                                                                                                                                                                      patient's medical
                                                                                                                                                                                                    medical history
                                                                                                                                                                                                                history
                                                                                                       and physical
                                                                                                      and     physical examination
                                                                                                                            examination
                                                                                                      -- Any
                                                                                                         Any diagnoses
                                                                                                                 diagnoses or      or conditions
                                                                                                                                        conditions established
                                                                                                                                                          established during
                                                                                                                                                                           during the the patient’s
                                                                                                                                                                                            patient's course
                                                                                                                                                                                                         course of of
                                                                                                       care, treatment,
                                                                                                      care,     treatment, and     and services
                                                                                                                                          services (including
                                                                                                                                                         (including complications
                                                                                                                                                                        complications and     and hospital-
                                                                                                                                                                                                     hospital-
                                                                                                      acquired
                                                                                                       acquired infections).
                                                                                                                       infections). For   For psychiatric
                                                                                                                                                 psychiatric hospitals
                                                                                                                                                                   hospitals using
                                                                                                                                                                                 using Joint
                                                                                                                                                                                          Joint Commission
                                                                                                                                                                                                  Commission
                                                                                                      accreditation
                                                                                                       accreditation for     for deemed
                                                                                                                                   deemed status  status purposes:
                                                                                                                                                             purposes: The  The diagnosis
                                                                                                                                                                                   diagnosis includes
                                                                                                                                                                                                   includes
                                                                                                      intercurrent
                                                                                                       intercurrent diseases
                                                                                                                          diseases (diseases(diseases that   that occur
                                                                                                                                                                   occur during
                                                                                                                                                                            during thethe course
                                                                                                                                                                                            course of  of another
                                                                                                                                                                                                           another
                                                                                                      disease;
                                                                                                       disease; for   for example,
                                                                                                                           example, a       a patient
                                                                                                                                               patient with with AIDS
                                                                                                                                                                  AIDS may may develop
                                                                                                                                                                                  develop an   an intercurrent
                                                                                                                                                                                                    intercurrent
                                                                                                      bout
                                                                                                       bout of of pneumonia)
                                                                                                                    pneumonia) and       and thethe psychiatric
                                                                                                                                                       psychiatric diagnoses.
                                                                                                                                                                        diagnoses.
                                                                                                      -- Any
                                                                                                         Any consultation
                                                                                                                 consultation reports  reports
                                                                                                      -- Any
                                                                                                         Any observations
                                                                                                                 observations relevant  relevant to   to care,
                                                                                                                                                           care, treatment,
                                                                                                                                                                   treatment, and  and services
                                                                                                                                                                                          services
                                                                                                      -- The
                                                                                                         The patient’s
                                                                                                                 patient's response
                                                                                                                                response to      to care,
                                                                                                                                                     care, treatment,
                                                                                                                                                               treatment, and and services
                                                                                                                                                                                     services
                                                                                                      -- Any
                                                                                                         Any emergency
                                                                                                                 emergency care,     care, treatment,
                                                                                                                                              treatment, and    and services
                                                                                                                                                                      services provided
                                                                                                                                                                                    provided to  to the
                                                                                                                                                                                                     the patient
                                                                                                                                                                                                           patient
                                                                                                       before their
                                                                                                      before       their arrival
                                                                                                                          arrival
                                                                                                      -- Any
                                                                                                         Any progress
                                                                                                                 progress notes  notes
                                                                                                      -- All
                                                                                                         All orders
                                                                                                              orders
                                                                                                      -- Any
                                                                                                         Any medications
                                                                                                                 medications ordered   ordered or   or prescribed
                                                                                                                                                         prescribed
                                                                                                      -- Any
                                                                                                         Any medications
                                                                                                                 medications administered,
                                                                                                                                       administered, includingincluding thethe strength,
                                                                                                                                                                                 strength, dose,
                                                                                                                                                                                               dose, route,
                                                                                                                                                                                                         route, date
                                                                                                                                                                                                                 date
                                                                                                       and time
                                                                                                      and    time of  of administration
                                                                                                                          administration
                                                                                                       Note 1:
                                                                                                      Note      1: When
                                                                                                                    When rapid rapid titration
                                                                                                                                         titration of of a a medication
                                                                                                                                                              medication is   is necessary,
                                                                                                                                                                                  necessary, the   the hospital
                                                                                                                                                                                                         hospital
                                                                                                      defines
                                                                                                       defines in   in policy
                                                                                                                        policy the the urgent/emergent
                                                                                                                                          urgent/emergent situations situations in  in which
                                                                                                                                                                                        which block
                                                                                                                                                                                                 block charting
                                                                                                                                                                                                          charting
                                                                                                      would
                                                                                                       would be   be anan acceptable
                                                                                                                            acceptable form     form of  of documentation.
                                                                                                                                                             documentation.
                                                                                                       Note 2:
                                                                                                      Note      2: For
                                                                                                                    For the
                                                                                                                          the definition
                                                                                                                                 definition and   and a  a further
                                                                                                                                                            further explanation
                                                                                                                                                                      explanation of     of block
                                                                                                                                                                                             block charting,
                                                                                                                                                                                                      charting, refer
                                                                                                                                                                                                                  refer
                                                                                                      to
                                                                                                       to the
                                                                                                           the Glossary.
                                                                                                                  Glossary.
                                                                                                      -- Any
                                                                                                         Any access
                                                                                                                 access site site forfor medication,
                                                                                                                                           medication, administration
                                                                                                                                                               administration devices
                                                                                                                                                                                    devices used,
                                                                                                                                                                                                used, and and rate
                                                                                                                                                                                                               rate ofof
                                                                                                       administration
                                                                                                      administration
                                                                                                      -- Any
                                                                                                         Any adverse
                                                                                                                 adverse drug  drug reactions
                                                                                                                                        reactions
                                                                                                      -- Treatment
                                                                                                         Treatment goals,  goals, plan plan of of care,
                                                                                                                                                   care, and and revisions
                                                                                                                                                                   revisions to  to the
                                                                                                                                                                                     the plan
                                                                                                                                                                                           plan ofof care
                                                                                                                                                                                                      care
                                                                                                      -- Results
                                                                                                         Results of    of diagnostic
                                                                                                                          diagnostic and     and therapeutic
                                                                                                                                                    therapeutic tests  tests and
                                                                                                                                                                               and procedures
                                                                                                                                                                                      procedures
                                                                                                      -- Any
                                                                                                         Any medications
                                                                                                                 medications dispensed dispensed or      or prescribed
                                                                                                                                                             prescribed on   on discharge
                                                                                                                                                                                  discharge
                                                                                                      -- Discharge
                                                                                                         Discharge diagnosis
                                                                                                                          diagnosis
                                                                                                      -- Discharge
                                                                                                         Discharge plan    plan and and discharge
                                                                                                                                           discharge planningplanning evaluation
                                                                                                                                                                          evaluation (See  (See also
                                                                                                                                                                                                  also
                                                                                                       PC.01.02.01, EP
                                                                                                      PC.01.02.01,            EP 1;  1; PC.01.02.03,
                                                                                                                                         PC.01.02.03, EP        EP 6;
                                                                                                                                                                    6; PC.01.03.01,
                                                                                                                                                                        PC.01.03.01, EP      EP 23;
                                                                                                                                                                                                  23; PC.03.01.03,
                                                                                                                                                                                                        PC.03.01.03,


       Organization
       Organization Identification
                    Identification Number:
                                   Number: 9306
                                           9306                                     43 of
                                                                                    43 of 47
                                                                                          47                                                                   Final
                                                                                                                                                               Final Report:
                                                                                                                                                                     Report: Posted
                                                                                                                                                                             Posted 7/21/2022
                                                                                                                                                                                    (/21/2022
                                                                                                                                                                                                    PL 278



                                                                                 FER_45                                                                                  TRIAL EXHIBIT 222
                                                                                                                                                                              Page 43 of 47
                                 Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 46 of 54
                               Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 44 of 47

                                                                The
                                                                The Joint
                                                                    Joint Commission
                                                                          Commission
Standard
sis
Standard        EP
              [ep     Standard
                     Jowoees   Text
                      stndarates
                               Text                                                                  EP
                                                                                                     EP &
                                                                                                        & Addendum
                                                                                                          Addendum Text
                                                                                                                   Text
                     [EPs                                                                                1, 8;
                                                                                                     EPs 1, 8; PC.06.01.01,
                                                                                                               PC.06.01.01, EP
                                                                                                                            EP 1)
                                                                                                                               1)
RI.01.03.01
te   .03.01     1    The
                     The hospital
                     RE  hospital honors
                                  honors the
                                         the patient's
                                             patient's right
                                          ————         right to
                                                             to give
                                                                give or
                                                                     or withhold
                                                                        withhold informed consent.
                                                                         —————————.=.®    consent. | The
                                                                                                     The hospital
                                                                                                          hospital follows
                                                                                                                    follows a
                                                                                                                            a written
                                                                                                                              written policy
                                                                                                                                      policy on
                                                                                                                                             on informed
                                                                                                                                                informed consent
                                                                                                                                                         consent that
                                                                                                                                                                 that describes
                                                                                                                                                                      describes
                                                                                                     the following:
                                                                                                     the following:
                                                                                                     -- The
                                                                                                        The specific
                                                                                                             specific care,
                                                                                                                       care, treatment,
                                                                                                                                treatment, andand services
                                                                                                                                                   services that
                                                                                                                                                               that require
                                                                                                                                                                     require informed
                                                                                                                                                                               informed consent
                                                                                                                                                                                          consent
                                                                                                     -- Circumstances
                                                                                                        Circumstances that  that would
                                                                                                                                  would allow
                                                                                                                                          allow for
                                                                                                                                                 for exceptions
                                                                                                                                                     exceptions to   to obtaining
                                                                                                                                                                         obtaining informed
                                                                                                                                                                                    informed
                                                                                                      consent
                                                                                                     consent
                                                                                                     -- The
                                                                                                        The process
                                                                                                             process used
                                                                                                                        used to to obtain
                                                                                                                                    obtain informed
                                                                                                                                            informed consent
                                                                                                                                                       consent
                                                                                                     -- How
                                                                                                        How informed
                                                                                                              informed consent
                                                                                                                          consent is  is documented
                                                                                                                                         documented in   in the
                                                                                                                                                             the patient
                                                                                                                                                                  patient record
                                                                                                                                                                            record
                                                                                                     Note:
                                                                                                      Note: Documentation
                                                                                                             Documentation may     may bebe recorded
                                                                                                                                             recorded inin aa form,
                                                                                                                                                               form, inin progress
                                                                                                                                                                          progress notes,
                                                                                                                                                                                     notes, or
                                                                                                                                                                                             or
                                                                                                     elsewhere
                                                                                                      elsewhere in in the
                                                                                                                      the record.
                                                                                                                            record.
                                                                                                     -- When
                                                                                                        When a a surrogate
                                                                                                                  surrogate decision-maker
                                                                                                                                decision-maker may  may give
                                                                                                                                                           give informed
                                                                                                                                                                  informed consent
                                                                                                                                                                              consent (See
                                                                                                                                                                                        (See also
                                                                                                                                                                                              also
                                                                                                      RI.01.02.01, EP
                                                                                                     RI.01.02.01,     EP 2)2)




        Organization
        Organization Identification
                     Identification Number:
                                    Number: 9306
                                            9306                                  44 of
                                                                                  44 of 47
                                                                                        47                                                          Final
                                                                                                                                                    Final Report:
                                                                                                                                                          Report: Posted
                                                                                                                                                                  Posted 7/21/2022
                                                                                                                                                                         (/21/2022
                                                                                                                                                                                   PL 279



                                                                               FER_46                                                                        TRIAL EXHIBIT 222
                                                                                                                                                                  Page 44 of 47
                                              Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 47 of 54
                                            Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 45 of 47

                                                                                   The Joint
                                                                                   The Joint Commission
                                                                                             Commission
                                                                                         Appendix
                                                                                         Appendix
                                                                                 Report
                                                                                 Report Section
                                                                                        Section Information
                                                                                                Information
SAFER™
SAFER™ Matrix
       Matrix Description
              Description
All Requirements
All Requirements for    for Improvement
                             Improvement (RFIs)
                                             (RFs) are
                                                    are plotted
                                                        plotted onon the
                                                                     the SAFER
                                                                          SAFER matrix
                                                                                   matrix according
                                                                                           according to to the
                                                                                                           the likelihood
                                                                                                                likelihood the
                                                                                                                             the issue
                                                                                                                                 issue could
                                                                                                                                          could cause
                                                                                                                                                  cause harm
                                                                                                                                                          harm to
                                                                                                                                                                to patient(s),
                                                                                                                                                                    patient(s), staff,
                                                                                                                                                                                  staff, and/or
                                                                                                                                                                                         and/or visitor(s),
                                                                                                                                                                                                 visitor(s), and
                                                                                                                                                                                                              and the
                                                                                                                                                                                                                    the
scope
scope at at which
             which the
                     the RFI
                           RFI is
                                is observed.
                                   observed. Combined,
                                              Combined, these
                                                           these characteristics
                                                                   characteristics identify
                                                                                    identify a
                                                                                             a risk
                                                                                                risk level
                                                                                                     level for
                                                                                                            for each
                                                                                                                each RFI,
                                                                                                                       RFI, which
                                                                                                                             which inin turn
                                                                                                                                         turn will
                                                                                                                                              will determine
                                                                                                                                                    determine the
                                                                                                                                                                the level
                                                                                                                                                                     level of
                                                                                                                                                                            of required
                                                                                                                                                                               required post-survey
                                                                                                                                                                                           post-survey follow
                                                                                                                                                                                                          follow up.
                                                                                                                                                                                                                   up. As
                                                                                                                                                                                                                        As
the risk
the  risk level
           level of
                  of an
                     an RFI
                          RFI increases,
                               increases, the
                                           the placement
                                                placement ofof the
                                                               the standard
                                                                    standard and
                                                                               and Element
                                                                                    Element ofof Performance
                                                                                                  Performance movesmoves from
                                                                                                                            from the
                                                                                                                                  the bottom
                                                                                                                                        bottom left
                                                                                                                                                  left corner
                                                                                                                                                       corner to
                                                                                                                                                              to the
                                                                                                                                                                  the upper
                                                                                                                                                                       upper right.
                                                                                                                                                                               right. The
                                                                                                                                                                                        The definitions
                                                                                                                                                                                             definitions for
                                                                                                                                                                                                          for the
                                                                                                                                                                                                               the
Likelihood
Likelihood to  to Harm
                  Harm a   a Patient/Staff/Visitor
                             Patient/Staff/Visitor and
                                                   and Scope
                                                        Scope areare as
                                                                      as follows:
                                                                         follows:

   Likelihood to
   Likelihood    to Harm
                    Harm a  a Patient/Staff/Visitor:
                               Patient/Staff/ Visitor:
      -- Low:
         Low: harm
               harm could
                      could happen,
                               happen, but
                                         but would
                                              would be be rare
                                                          rare
      -- Moderate:
         Moderate: harm
                      harm could
                              could happen
                                     happen occasionally
                                               occasionally
      -- High:
         High: harm
                harm could
                       could happen
                               happen anyany time
                                              time
   Scope:
   Scope:
      -- Limited:
         Limited: unique
                   unique occurrence
                             occurrence that
                                           that is
                                                 is not
                                                    not representative
                                                         representative of
                                                                         of routine/regular
                                                                            routine/regular practice
                                                                                               practice
      -- Pattern:
         Pattern: multiple
                   multiple occurrences
                              occurrences withwith potential
                                                    potential to
                                                               to impact
                                                                  impact few/some
                                                                          few/some patients,
                                                                                      patients, staff,
                                                                                                  staff, visitors
                                                                                                          visitors and/or
                                                                                                                    and/or settings
                                                                                                                            settings
      -- Widespread:
         Widespread: multiple
                         multiple occurrences
                                    occurrences withwith potential
                                                          potential to
                                                                    to impact
                                                                       impact most/all
                                                                               most/all patients,
                                                                                          patients, staff,
                                                                                                      staff, visitors
                                                                                                              visitors and/or
                                                                                                                       and/or settings
                                                                                                                               settings

The Evidence
The   Evidence of  of Standards
                       Standards Compliance
                                    Compliance (ESC)
                                                   (ESC) oror Plan
                                                               Plan of
                                                                     of Correction
                                                                        Correction (POC)
                                                                                      (POC) forms
                                                                                               forms with
                                                                                                     with findings
                                                                                                          findings of
                                                                                                                   of a
                                                                                                                      a higher
                                                                                                                        higher risk
                                                                                                                                 risk will
                                                                                                                                      will require
                                                                                                                                             require two
                                                                                                                                                      two additional
                                                                                                                                                            additional fields
                                                                                                                                                                        fields within
                                                                                                                                                                                within the
                                                                                                                                                                                        the ESC
                                                                                                                                                                                            ESC oror POC.
                                                                                                                                                                                                      POC. The
                                                                                                                                                                                                             The
organization
organization will
                will provide
                       provide a a more
                                   more detailed
                                          detailed description
                                                    description ofof Leadership
                                                                     Leadership Involvement
                                                                                    Involvement andand Preventive
                                                                                                        Preventive Analysis
                                                                                                                    Analysis to
                                                                                                                              to assist
                                                                                                                                  assist inin sustainment
                                                                                                                                               sustainment of  of the
                                                                                                                                                                  the compliance
                                                                                                                                                                       compliance plan.
                                                                                                                                                                                      plan. Additionally,
                                                                                                                                                                                             Additionally, these
                                                                                                                                                                                                           these higher
                                                                                                                                                                                                                  higher
risk findings
risk findings will
               will bebe provided
                           provided to
                                     to surveyors
                                        surveyors forfor possible
                                                         possible review
                                                                    review or
                                                                            or onsite
                                                                                onsite validation
                                                                                         validation during
                                                                                                    during any
                                                                                                            any subsequent
                                                                                                                subsequent onsite
                                                                                                                             onsite surveys,
                                                                                                                                       surveys, up  up until
                                                                                                                                                       until the
                                                                                                                                                              the next
                                                                                                                                                                   next full
                                                                                                                                                                        full triennial
                                                                                                                                                                             triennial survey
                                                                                                                                                                                        survey occurs.
                                                                                                                                                                                                occurs. The
                                                                                                                                                                                                         The below
                                                                                                                                                                                                              below
legend illustrates
legend   illustrates thethe follow-up
                             follow-up activity
                                        activity associated
                                                 associated with
                                                               with each
                                                                     each level
                                                                           level of
                                                                                  of risk.
                                                                                     risk.


                             SAFER™
                             SAFER™ Matrix
                                    Matrix Placement
                                           Placement                                                                                        Required
                                                                                                                                            Required Follow-Up Activity
                                                                                                                                                     Follow-Up Activity

                                    HIGH/LIMITED
                                   HIGH/PATTERN                                                          •« Two
                                                                                                            Two additional
                                                                                                                  additional areas
                                                                                                                                areas surrounding
                                                                                                                                       surrounding Leadership
                                                                                                                                                      Leadership Involvement
                                                                                                                                                                      Involvement and
                                                                                                                                                                                    and Preventive
                                                                                                                                                                                         Preventive
                                 HIGH/WIDESPREAD                                                            Analysis will
                                                                                                            Analysis    will be
                                                                                                                             be included
                                                                                                                                 included in
                                                                                                                                           in the
                                                                                                                                              the ESC
                                                                                                                                                   ESC oror POC
                                                                                                                                                             POC
                                                                                                         •+ Finding
                                                                                                            Finding will
                                                                                                                      will be
                                                                                                                            be highlighted
                                                                                                                               highlighted for
                                                                                                                                             for potential
                                                                                                                                                 potential review
                                                                                                                                                             review by by surveyors
                                                                                                                                                                          surveyors on
                                                                                                                                                                                     on subsequent
                                                                                                                                                                                         subsequent
                              MODERATE/PATTERN                                                              onsite surveys
                                                                                                            onsite  surveys up up to
                                                                                                                                   to and
                                                                                                                                      and including
                                                                                                                                           including the
                                                                                                                                                       the next
                                                                                                                                                            next full
                                                                                                                                                                  full survey
                                                                                                                                                                        survey or
                                                                                                                                                                               or review
                                                                                                                                                                                  review
                             MODERATE/WIDESPREAD

                                 MODERATE/LIMITED
                                 MODERATE/LIMITED
                                    LOW/PATTERN
                                    LOW/PATTERN
                                  LOW/WIDESPREAD
                                 LOW/WIDESPREAD                                                          •+ ESC
                                                                                                            ESC or
                                                                                                                or POC
                                                                                                                   POC will
                                                                                                                       will not
                                                                                                                            not include
                                                                                                                                include Leadership Involvement and
                                                                                                                                        Leadership Involvement                Analysis
                                                                                                                                                                   Preventive Analysis
                                                                                                                                                               and Preventive

                                      LOW/LIMITED
                                      LOW/LIMITED




            Organization
            Organization Identification
                         Identification Number:
                                        Number: 9306
                                                9306                                                     45 of
                                                                                                         45 of 47
                                                                                                               47                                                             Final
                                                                                                                                                                              Final Report:
                                                                                                                                                                                    Report: Posted
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                                                                                                                                                                                                            PL 280



                                                                                                     FER_47                                                                           TRIAL EXHIBIT 222
                                                                                                                                                                                           Page 45 of 47
                                          Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 48 of 54
                                        Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 46 of 47

                                                                          The Joint
                                                                          The Joint Commission
                                                                                    Commission
                                                                                 Appendix
                                                                                 Appendix
                                                                         Report
                                                                         Report Section
                                                                                Section Information
                                                                                        Information
CMS Summary
CMS Summary Description
            Description

For organizations
For  organizations that
                      that utilize
                             utilize The
                                     The Joint
                                          Joint Commission
                                                Commission for for deeming
                                                                   deeming purposes,
                                                                            purposes, observations
                                                                                         observations noted
                                                                                                         noted within
                                                                                                                 within the
                                                                                                                          the Requirements
                                                                                                                                Requirements forfor Improvement
                                                                                                                                                     Improvement (RFI)
                                                                                                                                                                    (RFI) section
                                                                                                                                                                            section that
                                                                                                                                                                                       that are
                                                                                                                                                                                             are
crosswalked to
crosswalked    to aa CMS
                     CMS Condition
                              Condition ofof Participation
                                             Participation (CoP)/Condition
                                                            (CoP)/Condition for
                                                                              for Coverage
                                                                                  Coverage (CfC)
                                                                                              (CfC) are
                                                                                                     are highlighted
                                                                                                          highlighted in in this
                                                                                                                             this section.
                                                                                                                                   section. The
                                                                                                                                             The table
                                                                                                                                                  table included
                                                                                                                                                         included within
                                                                                                                                                                   within this
                                                                                                                                                                           this section
                                                                                                                                                                                section
incorporates, from
incorporates,   from a a Centers
                          Centers forfor Medicare
                                         Medicare andand Medicaid
                                                          Medicaid Services
                                                                    Services (CMS)
                                                                               (CMS) perspective,
                                                                                       perspective, the
                                                                                                      the CoPs/CfCs
                                                                                                           CoPs/CfCs that that were
                                                                                                                                 were noted
                                                                                                                                        noted as
                                                                                                                                              as noncompliant
                                                                                                                                                  noncompliant during
                                                                                                                                                                 during the
                                                                                                                                                                          the survey,
                                                                                                                                                                               survey, the the
Joint
Joint Commission
      Commission standard
                       standard and and element
                                         element ofof performance
                                                      performance the
                                                                    the CoP/CfC
                                                                        CoP/CfC is is associated
                                                                                      associated with,
                                                                                                   with, the
                                                                                                          the CMS
                                                                                                               CMS score
                                                                                                                      score (either
                                                                                                                               (either Standard
                                                                                                                                        Standard oror Condition
                                                                                                                                                      Condition Level),
                                                                                                                                                                 Level), and
                                                                                                                                                                          and ifif the
                                                                                                                                                                                   the
standard and
standard   and EPEP will
                     will be
                           be included
                                included in
                                          in an
                                             an upcoming
                                                 upcoming Medicare
                                                             Medicare Deficiency
                                                                       Deficiency Survey
                                                                                   Survey (MEDDEF)
                                                                                            (MEDDEF) ifif applicable.
                                                                                                             applicable.

Requirements
Requirements for
             for Improvement
                 Improvement Description
                             Description

Observations
Observations noted
                noted within
                       within the
                               the Requirements
                                     Requirements for for Improvement
                                                          Improvement (RFI)(RFI) section
                                                                                   section require
                                                                                             require follow-up
                                                                                                       follow-up through
                                                                                                                   through the
                                                                                                                            the Evidence
                                                                                                                                   Evidence ofof Standards
                                                                                                                                                  Standards Compliance
                                                                                                                                                                  Compliance (ESC)
                                                                                                                                                                                 (ESC)
process. The
process.   The identified
                identified timeframes
                            timeframes for for submission
                                                submission for
                                                             for each
                                                                  each observation
                                                                        observation are are found
                                                                                             found inin the
                                                                                                        the Executive
                                                                                                             Executive Summary
                                                                                                                          Summary section
                                                                                                                                       section ofof the
                                                                                                                                                    the Final
                                                                                                                                                            Final Report.
                                                                                                                                                                  Report. IfIf a
                                                                                                                                                                               a follow-up
                                                                                                                                                                                 follow-up survey
                                                                                                                                                                                            survey is
                                                                                                                                                                                                   is
required, the
required,  the unannounced
               unannounced visitvisit will
                                      will focus
                                            focus on
                                                   on the
                                                      the requirements
                                                           requirements forfor improvement
                                                                                improvement although
                                                                                                 although other
                                                                                                              other areas,
                                                                                                                     areas, ifif observed,
                                                                                                                                 observed, could
                                                                                                                                             could still
                                                                                                                                                     still become
                                                                                                                                                             become findings.
                                                                                                                                                                      findings. The
                                                                                                                                                                                  The time
                                                                                                                                                                                       time frame
                                                                                                                                                                                             frame to
                                                                                                                                                                                                   to
perform
perform the
         the unannouced
              unannouced follow-up
                             follow-up visit
                                          visit is
                                                is dependent
                                                   dependent on on the
                                                                    the scope
                                                                        scope andand severity
                                                                                       severity of
                                                                                                 of the
                                                                                                    the issue
                                                                                                          issue identified
                                                                                                                 identified within
                                                                                                                            within Requirements
                                                                                                                                     Requirements for     for Improvement.
                                                                                                                                                               Improvement.




           Organization
           Organization Identification
                        Identification Number:
                                       Number: 9306
                                               9306                                           46 of
                                                                                              46 of 47
                                                                                                    47                                                      Final
                                                                                                                                                            Final Report:
                                                                                                                                                                  Report: Posted
                                                                                                                                                                          Posted 7/21/2022
                                                                                                                                                                                 (/21/2022
                                                                                                                                                                                      PL 281

                                                                                          FER_48                                                                   TRIAL EXHIBIT 222
                                                                                                                                                                        Page 46 of 47
                                      Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 49 of 54
                                    Case 9:21-cv-00108-DWM Document 159-67 Filed 10/26/22 Page 47 of 47

                                                                      The Joint
                                                                      The Joint Commission
                                                                                Commission
                                                                            Appendix
                                                                            Appendix
                                                                    Report
                                                                    Report Section
                                                                           Section Information
                                                                                   Information
                                                                      Clarification
                                                                      Clarification Instructions
                                                                                    Instructions

Documents
Documents not not available
                  available at
                             at the
                                the time
                                     time of
                                           of survey
                                              survey
Any
Any required
      required documents
                documents that
                            that are
                                  are not
                                       not available
                                            available at
                                                      at the
                                                         the time
                                                             time of
                                                                  of survey
                                                                     survey will
                                                                            will no
                                                                                 no longer
                                                                                    longer be
                                                                                           be eligible
                                                                                              eligible for
                                                                                                       for the
                                                                                                           the clarification
                                                                                                               clarification process.
                                                                                                                             process. These
                                                                                                                                      These RFIs
                                                                                                                                            RFIs will
                                                                                                                                                 will become
                                                                                                                                                      become action
                                                                                                                                                             action items
                                                                                                                                                                    items
in
in the
   the post-survey
        post-survey ESC
                     ESC process.
                           process.

Clerical
Clerical Errors
          Errors
Clerical
Clerical errors
         errors in in the
                      the report
                          report will
                                  will no
                                       no longer
                                          longer be
                                                  be eligible
                                                     eligible for
                                                               for the
                                                                   the clarification
                                                                         clarification process.
                                                                                        process. The
                                                                                                 The Joint
                                                                                                       Joint Commission
                                                                                                             Commission will
                                                                                                                          will work
                                                                                                                               work with
                                                                                                                                    with the
                                                                                                                                         the organization
                                                                                                                                             organization to
                                                                                                                                                          to correct
                                                                                                                                                             correct the
                                                                                                                                                                     the clerical
                                                                                                                                                                         clerical
error,
error, so
       so that
           that the
                 the report
                      report is
                              is accurate.
                                 accurate. The
                                            The corrected
                                                 corrected RFIs
                                                             RFIs will
                                                                    will become
                                                                          become action
                                                                                     action items
                                                                                            items in
                                                                                                  in the
                                                                                                     the post-survey
                                                                                                          post-survey process.
                                                                                                                      process.

Audit Option
Audit  Option
There will
There   will no
             no longer
                longer bebe an
                             an audit
                                audit option
                                      option as
                                             as part
                                                 part of
                                                      of the
                                                          the clarification
                                                              clarification process.
                                                                             process. With
                                                                                        With the
                                                                                              the implementation
                                                                                                  implementation of
                                                                                                                 of the
                                                                                                                    the SAFER™
                                                                                                                        SAFER™ matrix,
                                                                                                                               matrix, the
                                                                                                                                       the "C"
                                                                                                                                           "C" Element
                                                                                                                                               Element of
                                                                                                                                                       of Performance
                                                                                                                                                          Performance
(EP) category
(EP)  category is is eliminated.
                     eliminated. The
                                  The "C"
                                       "C" EPs
                                           EPs were
                                                were the
                                                       the subject
                                                            subject ofof Clarification
                                                                         Clarification Audits.
                                                                                       Audits.
The
The clarification
     clarification process
                   process provides
                            provides anan organization
                                          organization the
                                                        the opportunity
                                                             opportunity toto demonstrate
                                                                               demonstrate compliance
                                                                                              compliance with
                                                                                                          with standards
                                                                                                                 standards that
                                                                                                                             that were
                                                                                                                                   were scored
                                                                                                                                         scored “not
                                                                                                                                                   “not compliant”
                                                                                                                                                         compliant” atat the
                                                                                                                                                                          the time
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                                                                                                                                                                                   of the
                                                                                                                                                                                      the
survey. The
survey.  The organization
               organization has
                             has 10
                                 10 business
                                     business days
                                               days from
                                                     from the
                                                           the date
                                                                date the
                                                                      the report
                                                                           report is
                                                                                   is published
                                                                                      published on
                                                                                                 on the
                                                                                                    the extranet
                                                                                                        extranet site
                                                                                                                   site to
                                                                                                                        to submit
                                                                                                                           submit the
                                                                                                                                    the clarification.
                                                                                                                                        clarification. The
                                                                                                                                                         The Evidence
                                                                                                                                                              Evidence of  of Standards
                                                                                                                                                                              Standards
Compliance (ESC)
Compliance     (ESC) due
                      due dates
                           dates will
                                 will remain
                                      remain the
                                              the same
                                                  same whether
                                                         whether or or not
                                                                       not the
                                                                            the organization
                                                                                 organization submits
                                                                                               submits aa clarification
                                                                                                          clarification and/or
                                                                                                                         and/or is
                                                                                                                                 is successful
                                                                                                                                    successful in in the
                                                                                                                                                      the clarification
                                                                                                                                                          clarification process.
                                                                                                                                                                         process.

Clarifications may
Clarifications may take
                   take either
                        either of
                               of the
                                  the following
                                      following forms:
                                                forms:

§= An
    An organization
       organization believes
                     believes itit had
                                   had adequate
                                       adequate evidence
                                                 evidence available
                                                            available to
                                                                      to the
                                                                         the surveyor(s)
                                                                              surveyor(s) and
                                                                                           and was
                                                                                                was in
                                                                                                    in compliance
                                                                                                       compliance at at the
                                                                                                                        the time
                                                                                                                            time of
                                                                                                                                  of the
                                                                                                                                      the survey.
                                                                                                                                          survey. (Please
                                                                                                                                                    (Please note
                                                                                                                                                             note that
                                                                                                                                                                  that actions
                                                                                                                                                                       actions
taken
taken during
       during or
              or immediately
                 immediately after
                              after the
                                      the survey
                                          survey will
                                                 will not
                                                      not be
                                                          be considered.)
                                                             considered.) The
                                                                            The organization
                                                                                 organization must
                                                                                               must use
                                                                                                     use the
                                                                                                         the clarification
                                                                                                             clarification form
                                                                                                                           form to
                                                                                                                                to support
                                                                                                                                    support their
                                                                                                                                             their contention.
                                                                                                                                                   contention.

§= The
    The organization
          organization has
                        has detailed
                             detailed evidence
                                      evidence that
                                                  that was
                                                        was not
                                                             not immediately
                                                                  immediately available
                                                                                  available at
                                                                                             at the
                                                                                                the time
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                                                                                                               the survey.
                                                                                                                   survey. The
                                                                                                                            The clarification
                                                                                                                                 clarification must
                                                                                                                                                must include
                                                                                                                                                      include an
                                                                                                                                                               an explanation
                                                                                                                                                                    explanation asas to
                                                                                                                                                                                     to
why the
why   the surveyor(s)
           surveyor(s) did
                       did not
                            not have
                                have access
                                      access toto the
                                                  the information
                                                       information oror why
                                                                        why itit was
                                                                                 was not
                                                                                       not provided
                                                                                           provided toto the
                                                                                                         the surveyor(s)
                                                                                                              surveyor(s) at
                                                                                                                          at the
                                                                                                                             the time
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                                                                                                                                           the survey.
                                                                                                                                               survey. However,
                                                                                                                                                        However, any any required
                                                                                                                                                                          required
documents that
documents     that are
                   are not
                       not available
                           available at
                                      at the
                                         the time
                                             time ofof survey
                                                       survey are
                                                                are not
                                                                    not eligible
                                                                        eligible for
                                                                                   for the
                                                                                       the Clarification
                                                                                           Clarification Process.
                                                                                                          Process. These
                                                                                                                     These RFIs
                                                                                                                            RFls will
                                                                                                                                  will become
                                                                                                                                       become action
                                                                                                                                                 action items
                                                                                                                                                         items in
                                                                                                                                                                in the
                                                                                                                                                                   the post-survey
                                                                                                                                                                        post-survey ESC
                                                                                                                                                                                      ESC
 process.
process.

§= Please
    Please do
            do not
                 not submit
                      submit supplemental
                              supplemental documentation
                                             documentation unless
                                                            unless requested
                                                                    requested by
                                                                              by The
                                                                                  The Joint
                                                                                      Joint Commission.
                                                                                            Commission. IfIf additional
                                                                                                             additional information
                                                                                                                        information is
                                                                                                                                    is requested,
                                                                                                                                       requested, the
                                                                                                                                                  the organization
                                                                                                                                                      organization will
                                                                                                                                                                   will
be
 be required
    required to
              to highlight
                  highlight the
                            the relevance
                                 relevance to
                                           to the
                                              the standards
                                                  standards in
                                                            in the
                                                               the documentation.
                                                                   documentation.




         Organization
         Organization Identification
                      Identification Number:
                                     Number: 9306
                                             9306                                       47 of
                                                                                        47 of 47
                                                                                              47                                                   Final
                                                                                                                                                   Final Report:
                                                                                                                                                         Report: Posted
                                                                                                                                                                 Posted 7/21/2022
                                                                                                                                                                        (/21/2022
                                                                                                                                                                            PL 282



                                                                                     FER_49                                                               TRIAL EXHIBIT 222
                                                                                                                                                               Page 47 of 47
   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 50 of 54
  Case 9:21-cv-00108-DWM Document 159-62 Filed 10/26/22 Page 1 of 5




          MNA Position Statement Regarding Vaccinations May 18, 2021
Purpose
Historically, the Montana Nurses Association (MNA) has strongly supported immunizations to
protect the public from highly communicable and deadly diseases such as measles, mumps,
diphtheria, pertussis, and influenza, moreover, has supported appropriate evidence based vaccination
policies for registered nurses and health care workers. Under certain circumstances, MNA
understands the need for mandatory vaccines (exemptions noted below), especially due to the several
recent and significant measles outbreaks in the United States, as well as the global pandemic of
COVID-19.
Statement of MNA Position
Effective protection of the public health necessitates that all individuals who are able to do so receive
immunizations against vaccine-preventable diseases according to the best and most current evidence
outlined by the Centers for Disease Control and Prevention (CDC) and the Advisory Committee on
Immunization Practices (ACIP). Accordingly, all health care personnel (HCP), including registered
nurses (RNs) and advance practice registered nurses (APRNs), should be vaccinated according to
current recommendations for immunization of HCP by the CDC and Association for Professionals in
Infection Control and Epidemiology (APIC).
Consistent with state and federal law, MNA strongly supports exemptions from immunization for
medical contraindications or sincerely held religious beliefs. For example, the United States Equal
Opportunity Employment Commission (EEOC) has issued guidance that “once an employer is on
notice that an employee’s sincerely held religious belief, practice, or observance prevents the
employee from receiving the vaccination, the employer must provide a reasonable accommodation
for the religious belief, practice, or observance unless it would pose an undue hardship under Title
VII of the Civil Rights Act.” For additional guidance from the EEOC, including on the relationship
between federal disability protections and vaccine requirements in the workplace, visit
https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-act-and-
other-eeo-laws.
MNA understands that some RNs and APRNs may not be able to obtain vaccinations as a result of
the above noted contraindications and the MNA supports employers making accommodations in
these circumstances. Under the recently enacted Montana House Bill 702, individuals exempted from
vaccination may be required to adopt measures or practices in the workplace to reduce the chance of
disease transmission and expect employers to offer reasonable accommodations in such
circumstances. The MNA encourages RNs and APRNs to work together with their employers to
ensure that such accommodations are tailored to reduce disease transmission and encourages all
nurses and HCP to stay up to date on and follow policies guided by current, evidence-based CDC and
ACIP recommendations.
                                                        Approved by MNA Board of Directors May 18, 2021

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MNA 00149

                                             FER_50                                    TRIAL EXHIBIT 215
                                                                                              Page 1 of 5
   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 51 of 54
  Case 9:21-cv-00108-DWM Document 159-62 Filed 10/26/22 Page 2 of 5




Appropriate personal protective equipment (PPE), along with evidence-based policies and practices,
should be made available for all health care workers, whether they choose to vaccinate or not.
MNA strongly recommends that registered nurses be vaccinated against COVID-19. However, as the
Covid-19 vaccine is currently under EUA (emergency use authorization) we recognize that without a
well-established safety profile, the risk benefit analysis could be such that nurses choose not to be
vaccinated. MNA recognizes and supports those nurses choosing to wait to be vaccinated until final
FDA approval or more evidence based safety data about the Covid-19 vaccine effectiveness and/or
medical contraindications is developed.
MNA does not believe nurses should be retaliated against by employers if they choose NOT to be
vaccinated and supports employers accommodating all nurses and HCP who choose against
vaccination at this time.
Still, the MNA recognizes that nurses have a professional responsibility and an ethical duty to protect
patients at all levels—as individuals, families, groups, communities, and populations. We recognize
the immense power of vaccines in the history and protection of public health, and encourage all
nurses, HCPs, and community members to consider vaccination as an important step each one of us
can take to protect ourselves, each other, and the patients we work so hard to care for. If any
individual has concerns regarding getting vaccinated, please reach out to your local public health
department and discuss your particular decision with your health care provider.
As novel diseases emerge, such as COVID-19, MNA supports ongoing scientific research and
development of safe, easily accessible, and affordable vaccinations for these public health threats.
Vaccinations must be available to everyone!


Vicky Byrd, MSN, RN
CEO
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406-459-2915




                                                        Approved by MNA Board of Directors May 18, 2021


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MNA 00150

                                             FER_51                                   TRIAL EXHIBIT 215
                                                                                             Page 2 of 5
   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 52 of 54
  Case 9:21-cv-00108-DWM Document 159-62 Filed 10/26/22 Page 3 of 5




      MNA Position Statement Regarding Vaccinations September 1, 2021
Purpose
Historically, the Montana Nurses Association (MNA) has strongly supported immunizations to
protect the public from highly communicable and deadly diseases such as measles, mumps,
diphtheria, pertussis, and influenza, moreover, has supported appropriate evidence based vaccination
policies for registered nurses and health care workers. Under certain circumstances, MNA
understands the need for mandatory vaccines (exemptions noted below), especially due to the several
recent and significant measles outbreaks in the United States, as well as the global pandemic of
COVID-19.
Statement of MNA Position
Effective protection of the public health necessitates that all individuals who are able to do so receive
immunizations against vaccine-preventable diseases according to the best and most current evidence
outlined by the Centers for Disease Control and Prevention (CDC) and the Advisory Committee on
Immunization Practices (ACIP). Accordingly, all health care personnel (HCP), including registered
nurses (RNs) and advance practice registered nurses (APRNs), should be vaccinated according to
current recommendations for immunization of HCP by the CDC and Association for Professionals in
Infection Control and Epidemiology (APIC).
Consistent with state and federal law, MNA strongly supports exemptions from immunization for
medical contraindications or sincerely held religious beliefs. For example, the United States Equal
Opportunity Employment Commission (EEOC) has issued guidance that “once an employer is on
notice that an employee’s sincerely held religious belief, practice, or observance prevents the
employee from receiving the vaccination, the employer must provide a reasonable accommodation
for the religious belief, practice, or observance unless it would pose an undue hardship under Title
VII of the Civil Rights Act.” For additional guidance from the EEOC, including on the relationship
between federal disability protections and vaccine requirements in the workplace, visit
https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-act-and-
other-eeo-laws.
MNA understands that some RNs and APRNs may not be able to obtain vaccinations as a result of
the above noted contraindications/exemptions and the MNA supports employers making
accommodations in these circumstances. Under the recently enacted Montana House Bill 702,
individuals exempted from vaccination may be required to adopt measures or practices in the
workplace to reduce the chance of disease transmission and expect employers to offer reasonable
accommodations in such circumstances.


Approved by MNA Board of Directors




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MNA 00151

                                             FER_52                                    TRIAL EXHIBIT 215
                                                                                              Page 3 of 5
   Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 53 of 54
  Case 9:21-cv-00108-DWM Document 159-62 Filed 10/26/22 Page 4 of 5




MNA encourages RNs and APRNs to work together with their employers to ensure that such
accommodations are tailored to reduce disease transmission and encourages all nurses and HCP to
stay up to date on and follow policies guided by current, evidence-based CDC and ACIP
recommendations.
Appropriate personal protective equipment (PPE), along with evidence-based policies and practices,
should be made available for all nurses and health care workers, whether they are able to vaccinate or
not.
Vaccination requirements for employment as a professional nurse are not new to nurses. MNA
strongly recommends that registered nurses be vaccinated against COVID-19, especially now with
FDA approval (Pfizer-BioNTech full FDA approval 8/23/2021 for ages 16 and over--Moderna
vaccine FDA application for full approval has been submitted and is awaiting approval). This
vaccine, along with other FDA approved vaccines, will continue to be encouraged by MNA.
MNA does not believe nurses should be retaliated against by employers if they cannot be vaccinated
and supports employers accommodating all nurses and HCP who, due to the exemptions noted,
cannot be vaccinated.
MNA recognizes that nurses have a professional responsibility and an ethical duty to protect patients
at all levels—as individuals, families, groups, communities, and populations. We recognize the
immense power of vaccines in the history and protection of public health, and encourage all nurses,
HCPs, and community members to consider vaccination as an important step each one of us can take
to protect ourselves, each other, and the patients we work so hard to care for. If any individual has
concerns regarding getting vaccinated, please reach out to your local public health department and
discuss your particular decision with your health care provider.
As novel diseases emerge, such as COVID-19, MNA supports ongoing scientific research and
development of safe, easily accessible, and affordable vaccinations for these public health threats.
Vaccinations must be available to everyone!


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Approved by MNA Board of Directors




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MNA 00152

                                             FER_53                                   TRIAL EXHIBIT 215
                                                                                             Page 4 of 5
    Case: 23-35014, 11/06/2023, ID: 12820494, DktEntry: 39, Page 54 of 54
   Case 9:21-cv-00108-DWM Document 159-62 Filed 10/26/22 Page 5 of 5




                                                                 MNA Resolution #3: VACCINATIONS




                                               MNA Resolution #3
                                             MNA and VACCINATIONS

Whereas MNA has strongly supported immunizations to protect the public from highly communicable and deadly
        diseases, such as, but not limited to, measles, mumps, diphtheria, pertussis, influenza, and hepatitis B;

Whereas MNA has supported appropriate evidence-based vaccination policies for registered nurses and health care
        workers;

Whereas MNA supports that all health care personnel (HCP), including registered nurses (RNs) and advance practice
        registered nurses (APRNs), should be vaccinated according to current recommendations for immunization;

Whereas under certain circumstances, MNA understands the need for mandatory vaccines as a job requirement with
        exemptions noted for medical and sincerely held religious beliefs;

Whereas vaccine requirements as a professional nurse is not new to the profession, MNA supports the Centers for Disease
        Control (CDC) advocacy for and the Food and Drug Administration (FDA) approval of vaccines, especially due
        to the several recent and significant measles and pertussis outbreaks in the United States, as well as the global
        pandemic of COVID-19;

Whereas effective protection of public health necessitates that all individuals, who are able to do so, receive
        immunizations against vaccine-preventable diseases according to the best and most current evidence and best
        practice; and

Whereas MNA understands that some RNs and APRNs may not be able to obtain vaccinations as a result of the above
        noted contraindications/exemptions, however, over 85% of MNA professional nurse membership surveyed are
        fully vaccinated against COVID-19; now, therefore, be it

Resolved, that MNA supports HCP that are exempted from vaccination may be required to adopt measures or practices in
         the workplace to reduce the chance of disease transmission and MNA expects employers to offer reasonable
         accommodations in such circumstances;

Resolved, that MNA encourages RNs and APRNs to work together with their employers to ensure that such
        accommodations are tailored to reduce disease transmission and encourages all nurses and HCP to stay up to date
        on and follow policies guided by current, evidence-based CDC and Association for Professionals in Infection
        Control and Epidemiology (APIC) recommendations;

Resolved, that MNA requests that employers provide the appropriate personal protective equipment (PPE), along with
        evidence-based policies and practices, making these available for all nurses and HCP, whether they are able to
        vaccinate or not;

Resolved, that MNA does not believe nurses should be retaliated against by employers if they cannot be vaccinated and
        supports employers accommodating all nurses and HCP who, due to the exemptions noted, cannot be vaccinated;

Resolved, that MNA recognizes that nurses have a professional responsibility and an ethical duty to protect patients at all
         levels—as individuals, families, groups, communities, and populations; and

Resolved, that MNA recognize the immense power of vaccines in the history and protection of public health, and
        encourage all nurses, HCPs, and community members to consider vaccination as an important step each one of us
        can take to protect ourselves, each other, and the patients we work so hard to care for.




                                                                              Approved by MNA HOD 10/8/2021                   1

MNA 00153

                                                      FER_54                                           TRIAL EXHIBIT 215
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